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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

AMERICAN PUBLIC HEALTH
ASSOCIATION; IBIS REPRODUCTIVE
HEALTH; INTERNATIONAL UNION,
UNITED AUTOMOBILE, AEROSPACE,
AND AGRICULTURAL IMPLEMENT
WORKERS (UAW); BRITTANY
CHARLTON; KATIE EDWARDS; PETER
LURIE; and NICOLE MAPHIS,

Plaintiffs,
Case No. 1:25-cv-10787-WGY
v.

NATIONAL INSTITUTES OF HEALTH;
JAY BHATTACHARYA, in his official
capacity as Director of the National Institutes
of Health; UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and ROBERT F.
KENNEDY, JR., in his official capacity as
Secretary of the United States Department of
Health and Human Services,

Defendants.

[PROPOSED] RULE 54(b) PARTIAL FINAL JUDGMENT

For all the reasons stated on the record on June 16, 2025, Plaintiffs American Public Health
Association (““APHA”), Ibis Reproductive Health, International Union, United Automobile,
Aerospace, and Agricultural Implement Workers (“UAW”), Brittany Charlton, Katie Edwards,
Peter Lurie, and Nicole Maphis (collectively, “Plaintiffs”) are entitled to judgment on their claim

that the challenged “Directives” (specified below in paragraphs 1(a)-(j)) and “Resulting Grant
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Terminations”! are arbitrary and capricious in violation of the Administrative Procedure Act, 5
U.S.C. § 706(2)(A). Pursuant to Federal Rule of Civil Procedure 54(b), and for all the reasons
stated on the record, the Court finds that there is no just reason to delay entry of judgment on that
claim.

It is hereby ORDERED, ADJUDGED, AND DECREED that:

1. The following Directives from the National Institute of Health (“NIH”) and U.S.
Department of Health & Human Services (“HHS”), taken as a whole, are DECLARED to
be final agency action, arbitrary and capricious, and unlawful, in violation of 5 U.S.C. §
706(2)(A):

a. The February 10, 2025 directive issued by the Acting Secretary of HHS entitled
“Secretarial Directive on DEI-Related Funding.” AR0004-05.?

b. The February 12, 2025 memorandum entitled “NIH Review of Agency Priorities
Based on the New Administration’s Goals.” AR0009.

c. The February 13, 2025 memorandum entitled “Supplemental Guidance to Memo
Entitled NIH Review of Agency Priorities Based on the New Administration’s
Goals.” AR0016.

d. The February 21, 2025 “Directive on NIH Priorities” entitled “Restoring Scientific
Integrity and Protecting the Public Investment in NIH Awards.” AR2930-31.

e. The March 4, 2025 memorandum issued by NIH, entitled “Staff Guidance — Award
Assessments for Alignment with Agency Priorities — March 2025.” AR2136-42.

f. The March 13, 2025 directive issued by Michelle Bulls, entitled “Award Revision
Guidance and List of Terminated Grants via letter on 3/12.” AR1957-68.

' The term “Resulting Grant Terminations” refers to any terminations of any grants (including
subawards and supplements) of Plaintiffs or members of Plaintiff associations APHA and UAW
by the National Institutes of Health (including any of NIH’s constituent institutes and centers), on
the basis of one or more of the Challenged Directives, the Challenged Directives as a whole, or
any of the reasoning therein, but specifically limited to, those specific grant terminations, including
non-competitive renewals, that Plaintiffs identified in the spreadsheets submitted to the Court and
served upon defendants on May 27, 2025 and June 13, 2025, which spreadsheets are Attached
hereto as Exhibits A and Exhibit B, respectively.

? References herein to the administrative record produced by Defendants on June 2, 2025 match
the page numbers in the record (e.g., “AR0004” corresponds to “NIH_GRANTS_ 000004”).

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g. The March 20, 2025 memorandum issued by Sean R. Keveney, the Acting General
Counsel at HHS, entitled “Termination of COVID-19 Grants.” AR2591.

h. The March 25, 2025 memorandum issued by NIH, entitled “NIH Grants
Management Staff Guidance — Award Assessments for Alignment with Agency
Priorities — March 2025.” AR3218.

i. The May 7, 2025 memorandum issued by Michelle Bulls, entitled “NIH Grants
Management Staff Guidance — Award Assessments for Alignment with Agency
Priorities - DRAFT.” AR3547-77.

j. The May 15, 2025 memorandum issued by Michelle Bulls, entitled “NIH Grants
Management Staff Guidance — Award Assessments for Alignment with Agency
Priorities - DRAFT.” AR3516-46.

k. The undated memoranda titled “NIH Grants Management Staff Guidance — Award
Assessments for Alignment with Agency Priorities — Draft.” AR3231-3350.

2. Pursuant to 5 U.S.C. § 706(2), the Directives set forth in Paragraphs 1(a)-(j) of this
Judgment are hereby OF NO EFFECT, VOID, ILLEGAL, SET ASIDE AND
VACATED.

3. The Resulting Grant Terminations pursuant to the Directives are DECLARED to be
unlawful, arbitrary and capricious final agency actions under 5 U.S.C. § 706(2)(A).

4. Pursuant to 5 U.S.C. § 706(2), the Resulting Grant Terminations are hereby OF NO
EFFECT, VOID, ILLEGAL, SET ASIDE AND VACATED.

5. Judgment shall enter in favor of Plaintiffs and against Defendants on Count I.A and I.C of
the Complaint.

6. The Court retains jurisdiction to enforce this Judgment.

The Clerk is directed to enter judgment in conformity with the foregoing forthwith.

June 23, 2025 Wim 44.
HON. WILL *¥QUNG
Judge of the United Statgs

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CERTIFICATE OF SERVICE

I hereby certify that on June 23, 2025, a true and correct copy of the above document was
filed via the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of

record.

June 23, 2025 /s/ Suzanne Schlossberg
Suzanne Schlossberg

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EXHIBIT A
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American Public Health Association, et al. v. National Institutes of Health, et al. , No. 1:25-cv-10787-WGY
Plaintiffs’ List of Grants Impacted by the Directives (May 27, 2025}

This demonstrative is provided by Plaintiffs’ counsel, pursuant to the Court's order on May 22, 2025, and to aid the Court in
its understanding of the manner in which the Directives have been implemented as to Plaintiffs in APHA, et al v. NIH, et
al. It contains information that Plaintiffs’ counsel have been able to obtain and compile to date as to grant and program
terminations. Inclusion of a grant or program on this list indicates that Plaintiffs’ counsel have a good faith basis to believe
that the entire grant or program and/or a supplement, parent, subpart, program or other award related to the grant or
program has been terminated. Plaintiffs’ counsel! are continuing to analyze information regarding the grants that have been
impacted by the Directives and will plan to provide supplemental lists as verification occurs. Plaintiffs reserve all rights to
provide additional information regarding the impacts of the Directives on Plaintiffs and maintain that the resolution of
Plaintiffs’ claims—both as to liability and as to remedy—does not require the identification or individualized review of all
impacted grants.

The Directives and terminations are unlawful in each of the following ways ("REASONS FOR EVERY GRANT’):

(1) They are in excess of statutory authority and contrary to statute (42 U.S.C. §§ 282(b)(4)-(6), 282(m)}(1), 284(b)(1)(A),
284(b)(3)), in violation of 5 U.S.C. §§ 706(2){A), 706(2)(C).

(2) They are contrary to regulation (45 C.F.R. § 75.372), in violation of 5 U.S.C. § 706(2)(A).
(3) They are arbitrary and capricious, in violation of 5 U.S.C. § 706(2)(A).

(4) They violate the separation-of-powers principle and the Due Process Clause of the U.S. Constitution, and they
accordingly violate 5 U.S.C. § 706(2)(B).
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Plaintiffs’ Spreadsheet of Grant Terminations

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5/27/2025

Disparities in Multiple Chronic Olseases
(RCC RD-MICD}

Project Number Grant Title Reason Terminatlon is Illegal

1861HD117134-01 Supportive and restrictive factors and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ere also
mental health in LGBT sdolescent and In excess of statutory authority and contrary to statute—and elso violate the separati
young adult populations of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42

U.S.C. §§ 282(b){8}(O}{1}, 282(m)(2}{(B(1i}, 283p, 285¢, and/or 2894-2.

RO1DA054236 Project SMART: Social media Anti-vaping [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ere also
Messages ta Reduce ENDS Use Among In excess of statutory authority and contrary to statute—and also violate the separatl
Sexual and Gender Minority Teens of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42

U.S.C. §§ 282{b){8)(D){t}, 282(m)(2}(B) (iii), 283p, 28St, and/or 289a-2.

RO1HD115551 Jnd ding multilevel pred s See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
affecting family formation among sexua! [In excess of statutory authority and contrary to statute—and also vialate the separath
and gender minority couples of-powers principle of the U.S. Constitutlon—because of, among other statutes:

because of, among other statutes: 42 U.S.C. §§ 282(b)(8)(D) {ti}, 282(m){2){B){lil), 283p,
28St, and/or 2893-2.

5R01MD015256-05 Sexual orlentation-related disparities in See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

obstetrical and perinatal health In excess of statutory authority and contrary to statute—and also vialate the separatt
lof-powers principle of the U.S. Canstitutl b of, among other statutes: 42
U.S.C, §§ 282(bH SONI), 262{m)(2}(B) (ii), 283p, 285t, and/or 289a-2.

SROIMO015256-0551 Sexual arientation-related disparities In See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

obstetrical and perinatal health In excess of statutory authority and contrary to statute—and also violate the separati
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282{6){8{Opil}, 282(mn)(2)(B)(Ni), 283p, 285t, and/or 289a-2.
SRO1HD109320-02 Advancing novel survey tools toincrease [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
participation and Improve sexual and In excess of statutory authority and contrary to statute—and also violate the separati
productive health data quality of-powers princlple of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b)(8){D) til), 282(m){2}(B) (iN), 283p, 285t, and/or 289a-2.
3RO1HD109320-0251 Advancing novel survey tools toincrease [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
participation and Improve sexual and In excess of statutory authority and contrary to statute—and also violate the sep
reproductive health data quality of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{6}{8){O){ii}, 282(m)(2}(8) (iti), 283p, 285%, and/or 289a-2.
5RO1MD016384-03 An Innovative, Prospective Model to See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Und d Risk snd ive Factors for |In excess of statutory authority and contrary to statute—and also violate the separati
Sexual Assault Experiences and Cutcomes Jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
[Among Sexual Minority Men U.S.C. §§ 282(b}(8){O}(ti}, 282(m)(2}(8) (tii), 283p, 285t, and/or 289a-2,

SR2Z1MO018S09-02 Develop and Pilot Eva! ofan See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Online Mentoring Program to Prevent In excess of statutory authority and contrary to statute—and also violate the sep
Adversitles Among Trans and Other Genderjof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
|Minority Youth U.S.C. §§ 282(b)(8){O}{ tI), 282(m)(2}(B) (ttl}, 283p, 285t, and/or 289a-2.

SRO1AA031213-02 The tmpact of Minority Stress on Alcohol- [See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
[Related Sexual Assault among Sexual In excess of statutory authority and contrary to statute—and also violate the sep
[Minority College Students: An lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
Intersectional, Mixed-Methodotagical U.S.C. §§ 282(b}(8}{O} i), 282(m}(2}(B) (ip, 23p, 285, and/or 289a-2.

Study

5®02M0017873-03 Sexual Assault Recovery Among Sexual See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
Minority Women: A Longitudinal, Multi- [In excess of statutory authority and contrary to statute—and also violate the separati
Leve! Study of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42

U.S.C, §§ 282(b)(8HOHII}, 282(rn}(2}(B)(itt}, 283p, 285, and/or 289a-2.
IRISAA03C898-01A1 Reconstruction of an SGM-specific sexual [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
violence peer support program (SSS+} In excess of statutory authority and contrary to statute—and also violate the sep
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b)(8O} Et}, 282(m)(2}(8) (itt), 23p, 25, and/or 289a-2.
1R34AA030662-01A1 An Online Famtly-based Program to See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
Prevent Alcohol Use and Dating end Sexual {In excess of statutory authority and contrary to statute—and also violate the sep
Violence among Sexual and Gender of-powers principle of the U.S. Constitut! b of, among other statutes: 42
Minority Youth U.S.C. §§ 282(b)(8)(O)¢iip, 262(mm)(2}(B} (tii), 283p, 285t, and/or 289a-2.
4IR21MH136855-01 Over-the-Counter PrEP: Acceptability, See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Feasibility, and Potential impact of Access |In excess of statutory authority and contrary to statute—and also violate the
without a Prescription (OFFSCRIPT) of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O)(ii}, 26A(m)(2}(B} (i), 283p, 2SSt, and/or 289a-2.

SR33TWO1166S-06 Development and Testing of a Mobile See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ere also
Application to Enh HIV Pr i In excess of statutory authority and cantrary to statute—and also violate the sepzrati
Cascade in Malaysian MSM lof-pawers principle of the U.S. Constitution—because of, among other statutes: 42

U.S.C. §§ 282(b)(8}{D)(it}, 282{m)(2}(B)(ill), 283p, 285t, and/or 2893-2.
3U24MD0172S0-0451 R h Coord ig Center to Red Sae REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute—and also violate the
lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b}(3{D)(i}, 262(mnp{2){6) (iii), 2863p, 28St, and/or 289a-2.

Disparities In Multiple Chronic Diseases
{RCC RO-MCD)

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| Project Number { Grant Title | R Termination Is tItegal
5U24MD017250-04 Re h Coordinating Center to Red See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute—and also violate the sep
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8}(O} (li), 282(m)}{2)(B){|Iil}, 283p, 285t, and/or 289a-2.

5T32MH019139-35

Behavioral Set a,

infection

hin Hiv

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
In excess of statutory autharity and contrary to statute—and also violate the sep:
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8{(DHII}, 22{h), 282(m}{2)(B) (ti), 2830 (b)(2), 2863p, 265t, 2G5t-1(a}(b},
288(a)(4), and/or 289a-2.

3U01MD019398-0351 Increasing financtal and health equity See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
among low Income black youth and young [In excess of statutory authority and contrary to statute—and also violate the sep
adults - DEIA Supplement ‘of-powers princlple of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8}{O)(ii), 282(m)(2)(8)(tt), 283p, 285t, and/or 288a-2.
3U01MD019398-03S2 t ing fi I and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
among low income black youth and young |In excess of statutory authority and contrary to statute—and also violate the sep
adults lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282{b)(8}(O)(1}, 282(m)(2}(B}(ii}, 283p, 285t, and/or 289a-2.
3U02MD019398-0383 Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
among low income black youth and young |in excess of statutory authority and contrary to statute—and also violate the sep
adults - Supplement lof-powers p ple of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b}{8}(O)(ti), 282(m)(2}(B}(ii}, 283p, 285t, and/or 289a-2.
'5U01MD019398 Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
among low income black youth and young |in excess of statutory authority and contrary to statute—and also violate the separati
adults lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8}{D)(ti}, 282(m}(2){B) {iil}, 283p, 28St, and/or 289a-2.
1R01M0020284-01 Measures of structural stigmatization and [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
discrimination for HIV research with Latine Jin excess of statutory authority and contrary to statute—and also violate the separation}
sexual and gender minorities of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b}{3}(D)(it}, 282(en}(2}{B) (iii), 283p, 285t, and/or 289a-2.
3ROIAA029076-0451 Improving Messurement of Alcohol Use [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
and Other Disparities by Sex, Sexual in excess of statutory authority end contrary to statute—and also violate the separation}
Grientation, end Gender Identity through jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
Community Engagement U.S.C. §§ 282(b}(8)(D){il}, 282(m}{2}(8}{iti), 283p, 2BSt, and/or 289a-2.
SROLAAG2S076-04 Project Recognize: Improving See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Measurement of Alcohol Use and Other _fin excess of statutory authority and contrary to statute—and also violate the separatt
Oisparities by Sex, Sexual Orientation, and jof-powers principle of the U.S. Constitution—because of, emong other statutes: 42
Gender Identity through Community U.S.C. §§ 282(b}{8)(D){i), 282(m){2}(8)(H), 283p, 285t, and/or 289a-2.
Engagement
SROLAA030017 A Randomized Controlled Trial of a Game- [See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
Based Inter ion to Red: Alcohol Use |in excess of statutory authority and contrary to statute—and also violate the separation;
among Sexual and Gender Minority Youth |of-p principle of the U.S. Constitution—because of, among ather statutes: 42
U.S.C. §§ 282{(b){8}(O){ti), 282(m)}(2{S}itii), 283p, 285t, and/or 289a-2.
4R21AA031548-01A1 Daily tmpect of Sexual Minority Stress on /See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Alcohol-Related Inti Partner Viol tn excess of statutory authority and contrary to statute—and also violate the
among Bisexual+ Young Adults: A Couples’ jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
Daily Dlary Study U.S.C. §§ 282(b)(8)(O) (it), 282(s)(2)(B}(tii}, 283p, 285t, and/or 289a-2.
1RO1AA031637-01A1 The Role of Loca! Structural Stigma In See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Alcohol Related Inequities among SGM in excess of statutory authority and contrary to statute—and also violate the separation}
Young Adults of-powers principle of the U.S. Constitution—because of, among other statutes: 42
.S.C, §§ 282(b)(SHO)(tip, 282(m}(2)(BHitil), 283p, 285t, and/or 289a-2,
1T32DA0S7926-01A1 Building an Interprofessional and diverse [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
workforce in substance use and pain in excess of statutory authority and contrary to statute—and also violate the separation:
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8){O}(Il), 282(h), 282{em)(2}{B) (iii), 2830 (b){2), 283p, 28St, 285t-1(a}{b},
288(a}(4), and/or 289a-2.
1RO10A059240-01A1 Characterizing Intersectional Geospatial [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Stigma and Affirmation Landscapes and In excess of statutory authority and contrary to statute—and also violate the separation
Their influance on Black and Latino of-powers principle of the U.S. Constitution—because of, among other statutes: 42
Bisexual Men At Risk for Substance Abuse |U.S,C, §§ 282(b}(8){D){iI), 282(m)(2)(8)(Iti}, 283p, 28St, and/or 289a-2.
and HIV
ROLDA0S9480-01A1 Elucidating minority stress infl on [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
b use at the | of sexual [in excess of statutory authority and contrary ta statute—and also violate the separation}
orientation snd rurality of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}{3}(0)(ii}, 282(m){2){8){iii}, 283p, 2BSt, and/or 289a-2.
1ROIDAC600E6-01 Combination of THC and CBD as aNovel [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

Treatment for Co-Occurring Opioid
Addiction and Chronie Pain

in excess of statutory authority and contrary to statute—and also violate the separation:
‘of-pawers principle of the U.S. Constitution—because of, amang other statutes: 42

U.S.C. §§ 282(h}, 2830 (6)(2), 285t-1(a)(b), and/or 288(a)(4).

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Plaintiffs’ Spreadsh

of Grant Termii

Project Number Grant Title | Ri Termination Is (Itegal
1R01DA061661-01 Optimizing a Just-in-Time Adaptive See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
intervention to Increase Uptake of In excess of statutory suthority and contrary to statute—and also violate the separation]
Chemsex Harm Reduction Services in of-powers principle of the U.S. Constitutton—because of, among other statutes: 42
MSM: A Micro-randomized Tria! U.S.C. §§ 282(b)(8H{O}(it}, 282(m)(2}(B){iil), 2683p, 285t, and/or 289a-2.
R21DAG62591 Optimizing long-acting injectable PrEP See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
strategies for sexual minority men who use [in excess of statutory authority and contrary to statute—and also violate the separation}
methamphetamine of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(O){li), 282(en)(2)(E){Iti), 2863p, 285t, and/or 289a-2.
3RO01AGC63771-0551 Effects of Sacial Networks and Policy See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Context on Health among Older Sexual and [in excess of statutory authority and contrary to statute—and also violate the separation}
Gender Minorities in the US South of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}(il), 282(em)(2}(B){lti}, 283p, 285t, end/or 289a-2.
5RO1AG063771-0S Effects of Social Networks and Policy See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Cantext on Health among Older Sexual and [In excess of statutory authority and contrary to statute—and also violate the separati
Gender Minorities in the US South of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(S}{D}{il}, 282(m)(2}(B)(Itl), 2683p, 285t, and/or 289a-2.
Ki2GM068524 San Blego IRACDA Scholars Program See REASONS FOR EVERY GRANT. tn addition, the Directives end terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285t-1(a)(b), and/or 288(a}(4).
3R01AG077934-03S1 Structural Racism and Discrimination in See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Sexual and Gender Minority Health In excess of statutory authority and contrary to statute—and also viclate the separati
lInequities - Supplement of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b}(8){D}{Ii}, 282(m)(2}(6){IN), 283p, 285t, and/or 289a-2.
5RO1AGO77934-03 Structural Racism and Discrimination In See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Older Men's Health Inequities In excess of statutory authority and contrary to statuteand also vialate the separation}
of-powers princlple of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(6)(8}{D}(ii}, 282(m)(2)(6) (iii), 283p, 285t, and/or 289a-2.
5UM2HD111102-63 Adol Medicine Trials Ni kfor [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
HIV/AIDS Interventions (ATN) Scientific In excess of statutory authority and contrary to statute—and also violate the separation}
Leadership Center of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{6}{8}{D}{ii}, 282{(m)(2}(6) {iit}, 283p, 285, and/or 289a-2.
R34MH126894 Making Universal, Free-of-Charge See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Antiretroviral Therapy Work for Sexual and [In excess of statutory authority and contrary to statute—and also violate the seperation}
Gender Minority Youth In Brazil lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{bHSHOHII}, 282(m)(2}{6)(iti}, 283p, 285t, and/or 289a-2.
SROIMH128049-04 Tcher, Take Charge: Increasing PrEP See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Awareness, Uptake, and Adherence In excess of statutory authority and contrary to statute—and also violate the separation}
Through Health Care Empowerment and —jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
Addressing Soclal Daterminants of Health U.S.C, §§ 282(b}H8){O}II}, 282{m)}(2}(B) iti}, 283p, 285%, and/or 289a-2.
Among Racially Diverse Trans Women in
the Deep South
SR34MH129208-03 3T-Prevent: Piloting a multi-level, See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
k Inter strategy to In excess of statutory authority and contrary to statute—and also violate the separati
expend HIV and bacterlal STI pr tl f-p principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282{b)(8}(O}{i}, 282(m)(2){B}(iii}, 283p, 285t, and/or 289a-2.
3R24NS132283-0151 PURPOSE: Positively Uniting R hers of/ See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Pain to Opine, Syntheslize, and Engage lin excess of statutory authority and contrary to statute—and also violate the separation!
lof-powers principte of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8)(D) {ii}, 282{m)(2){8} {iii}, 2823p, 28St, and/or 289a-2.
1R24NS132283-01 PURPOSE: Positively Uniting Researchers of[See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Pain to Opine, Synthesize, and Engage in excess of statutory authority and contrary to statute—and also violate the separati
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
S.C. §§ 282(b}(8)(D}{ii}, 282(m){2}{B}{iti), 283p, 285t, and/or 289a-2.
ARFIMH132360-01 Grief digital intervention to increase COVID-]See REASONS FOR EVERY GRANT.
19 among individuals with
anxiety or depression
5ROIMH133821-02 The Secloecotogy of Sexual Minority See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Stigma: Data Harmonization to Address in excess of statutory authority and contrary to statute—and also violate the separation;
Confounding Blas and t i Cross- f-p iple of the U.S. Constitution—-because of, among ather statutes: 42
Level Mental Health Effects U.S.C. §§ 282(b}{(8)(0)[ti}, 282(m)(2}(B)(iti), 283p, 285t, and/or 289a-2.
1RO1MH138335-01 Bisexual edolescents’ snd young adults’ See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also

Jeldat Id

risk for depression and
Developmenta! trajectories, risk and
protective factors, end underlying
mechanisms

in excess of statutory authority and contrary to statute—and also violate the separation;
lof-powers principle of the U.S. Constituti b of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}(i)}, 282(m}(2)(B} (ii), 2683p, 285t, and/or 2894-2.

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Project Number

Grant Title

Reason Termination is Illegal

5K23DK139454-02

Structural Racism as a "Third hit” on kidney
of Black individuals with APOL2
risk alleles

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
in excess of statutary authority snd contrary to statute—and also violate the separati
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8}(D) (ii), 282(h), 282(m)(2){B}{iti), 2830 (b}(2), 283p, 285t, 285t-1(a}(b},
288(a)(4), and/or 289a-2.

5T32GM141862-04

(BioSTeP: NIH G-RISE program at UC
Merced

See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also
in excess of statutary authority snd contrary to statute—and also violate the separati
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2}, 285t-1(a)(b), and/or 288(a}{4).

1R01GM155395-01

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority end contrary to statute—and also violate the sep
'of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8}(D)}{ii}, 282(h), 282(m}{2}(B) (iit), 2830 (b)(2}, 283p, 28St, 28St-1(a}(b},
288{a)(4), and/or 289a-2.

1K99GM155594-01

Characterization of the metastatic TIME by
subcellular spatial profiling

See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
in excess of statutory authority and contrary to statute—and also violata the separation
of-powers principle of the U.S. Constitution—because of, amang other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}(2), 285t-3(a)(b), and/or 288(a)(4).

1U19A1171110-01

QCRG Pandemic R Prog

See REASONS FOR EVERY GRANT.

Evidence for Translation into Practice
(CABARET)

SROIAI172092-03 Enhanced COhort methods for HIV See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Research and Epidemiology (ENCORE) in excess of statutory authority and contrary to statute—and also violate the separation;
gender Inthe United jof-powers principle of the U.S. Constitution —because of, among other statutes: 42
States U.S.C. §§ 282(b}{8)(O){ii), 282(mH2HB){iit), 283p, 28St, and/or 289a-2,
SRO1AI174862-03 }Cab ir PrEP: A ble Robust See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute—and also violate the separation:
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8)(O}{ii), 282(r}{2}(B} {ii}, 283p, 28St, and/or 289a-2.

1F31A1181431-01A1

F 1 of Chiamydi fh H
Infections: Evaluation of vacelnation and
post-exposure prophylactic antibiotic use
las population-level strategles

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b){2), 285t-1(a}{b}, and/or 288(a}{4).

Initiatives for Diverse Engagement —

to

RO1CA265945. Testing effective methods to recruit sexual /See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
land gender minority cancer patients for _ fin excess of statutory authority and contrary to statute—and also violate the separation}
cancer studies of-powers principte of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8){D}{Il}, 282(en}(2)(B){Ill), 283p, 285t, and/or 289a-2.
SK9SNS129753-02 Cell type-specific mechanisms of history- [See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
dependent perceptual blasesin sensory _|in excess of statutory authority and contrary to statute—and also violate the separation}
cortex of-powers principle of the U.S, Constltution—because of, among other statutes: 42
U.S.C, §§ 282(h), 2830 (b)(2), 285t-1(a}(b), and/or 288{a}(4).
F31GM1S1838-02 Und g the role of colled-coil See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in
domains In regulating liquid-liquid phase of y authority and contrary to statute—and also violate the separation-of-
of p biles in cell principte of the U.S. Constitutlon—because of, among other statutes: 42 U.S.C. 8§
Avision 282(h), 2830 (b)(2}, 285t-2(a}(b), and/or 288(a}(4).
1KS9AGO86530-01 Alzhelmer's Disease and Related Dementia [see REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in
Neuropathologies and Exp to Traffic of y authority and contrary to statute—and atso violate the separation-of-
Pollution Mixtures powers principte of the U.S. Constitutlon—because of, among other statutes: 42 U.S.C. 88
282(h), 2830 (b}{2), 285t-1(a}(b), and/or 288(a}(4).
R25MH129290 Short Trainings on Methods for Recruiting, [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Sampling, and Counting Hard-to-Reach In excess of statutory authority and contrary to statute—and also violate the separation}
Populations: The H2R Training Program fp inciple of the U.S. Const nm—because of, among other statutes: 42
Us. $. C. §§ 282{b)(8)(OXt, 282{m)(2}(B} (iii), 283p, 285t, and/or 289a-2.
DP2AI164315 Gne Ballroom: Understanding See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
tonal Stigma to Op the HIV jin excess of statutory authority and contrary to statute—and also violate the separation}
Pp lon Conti among Vull bf fp principle of the U.S. Constitution—because of, among other statutes: 42
Poputations in the United States U.S.C. §§ 2B2(b}(8}(D) ii}, 282(m)}{2)(GY{iii}, 283p, 28St, and/or 289a-2.
1F31DA060046-01 Oopamina Projections to the Amygdalain See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Goal-Directed and Habit Learning in excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830(b}(2), 28St-1{a)(b), and/or 288{a}(4).
US4DA060049-02 Advancing Tobacco Regulatory Science to |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso
Reduce Health Disparitles In excess of statutory authority and contrary to statute—and alse violate the separation;
of-powers principle of the U.S. Constitution—because of, gmong other statutes: 42
U.S.C. §§ 282(b}{8)(D){ii), 282(m}{2}{8) {tit}, 283p, 2BSt, and/or 289a-2.
1R24DA061180-01 PRIDE-CARES: Patient-Responsive See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

tn excess of statutory authority and contrary to statute—and also violate the separation

LGBTQ+ C ity Action in R
{Et bt k 2 Use Disord

f-p inciple of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)()(D1Ci), 282(m)}(2)(B}(tii), 283p, 285t, and/or 289a-2.

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of Grant Terminati

Restoring equity to measuring and

v partner

Pi BP
violence (Remap-IPV)

Project Number | Grant Title | Reason Termination is illegal
1R010A061345-01 Race & Place: The Impacts of Racial See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Inequity on Substance Use and HIV in excess of statutory authority and contrary to statute—and also violate the separation:
Outcomes in Los Angeles lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. $§ 282(b)(8}(D)(ii}, 282(m}{2HE){iii}, 2863p, 285t, and/or 289a-2.
1F31DA061593-01 Cammunity and big-data system See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
approaches to Identifying and in excess of statutory authority and contrary to statute—and also violate the separatian|
understanding the health impact of of-powers principle of the U.S. Constitution—because of, among other statutes: 42
xylazine U.S.C. §§ 282(h), 283e (b)(2), 28St-1{a)(b), and/or 288(a}(4}.
1K9S0A062328-01 The role of valence encoding amygdala See REASONS FOR EVERY GRANT. In additlon, the Directives and terminations are also
‘bles tn avoid behavl in excess of statutory authority and contrary to statute—and alse violate the separation
lof-powers principle of the U.S. Constitution—because of, among ather statutes: 42
U.S.C. §§ 282{(h}, 2830 (b)(2), 285t-2(a}{b), and/or 288(a}{4).
8KOGDA062S70-02 I (gating the role of microgli See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
lecular rhythms in the nuct in excess of statutory authority and contrary to statute—and also violate the separation;
accumbens In OUD of-powers principle of the U.S. Constitutton—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285¢-1(a}{b), and/or 288(a}(4).
RO1AG073440-03 Examining Health Comorbiditles and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Healthcare Utillzation Disparities among —_|in excess of statutory authority and contrary to statute—and also violate the separatl
Older Transgender and Cisgender Adults in |of-powers principle of the U.S. Constitution—because of, among other statutes: 42
the U.S. U.S.C. §§ 282(b}(8)(D)(t), 282(m)(2}(B}{IIl}, 283p, 285t, and/or 28Sa-2.
1ROLAGO89099-01 Social Networks and Cognitive Health See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
1g Black and Latino sexual minority in excess of statutory authority and contrary to statute—and also violate the sep
men in Nd of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8){D}{Il), 282{m){2)(B)(itl}, 283p, 285t, and/or 289a-2.
ROIHD10S655-0451 Understanding and Supporting See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Reproductive D Among Wi In excess of statutory authority and cantrary to statute—and also violate the separati
with Devalopmental Disabilities that Affect |of-powers principle of the U.S. Constitution—because of, among other statutes: 42
Cognition U.S.C, §§ 282(b}{8){D}(II), 282(h), 282{m)(2)(B)(Hi), 2830 (b}{2}, 283p, 285t, 285t-1(a}{b),
288(a}{4), and/or 285-2.
SK12GM106996-09 IRACDA at UCLA See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the seperati
lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b){8}(D)(i}, 282(h), 282(m}(2}{8}{iil), 2830 (b){2), 2383p, 28St, 285t-1(ah{b),
288(a){4}, and/or 289-2,
SU01HD108738-03 Harnessing the power of text messaging to [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
duce HIV incid: inadol mates fin excess of statutory authority and contrary to statute—and also violate the separation}
across the United States of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(D}{ii), 282(m){2)(BX{itl), 283p, 285t, and/or 289a-z.
R21H0109536 Evaluating Teen-Parent Dynamics in See REASONS FOR EVERY GRANT.
Adol COVID-19 Vaccine Accep
and Uptake
RO1HD110428-01A1 Modeling Adolescent Health Care Decision-|See REASONS FOR EVERY GRANT,
Making for Vaccines: A Community- Based
Partictpatory Approach
2R21HD110617-01A1 Development and Initia! Trial of Brief See REASONS FOR EVERY GRANT. in addition, the Directives and terminations are also
|{nterventions to Help Parents of in excess of statutory authority and contrary to statute—and also violate the separation]
Stigmatized Youth Reduce Distress and of-powers principte of the U.S. Constitution—because of, among other statutes: 42
Strengthen Attachment U.S.C, §§ 282(b)(8){O){Il), 282{m)({2)(8) {itl}, 283p, 285t, and/or 289a-2.
ROIMH115765 A couples-based approach to HIV See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
pri fon for gender and In excess of statutory authority and contrary to statute—and also violate the separation]
their male partners [of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(){iij, 282(m)}(2}(B)(iil}, 283p, 285, and/or 289a-2.
1R04HD115985-01 The California Abundant Birth Project See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Evaluatton: Advancing Birth Equity thraugh Jin excess of statutory authority and contrary to statute—and also violate the separation]
Guaranteed Income for Pregnant People —_jof-powers principle of the U.S. Constitutlon—because of, among other statutas: 42
U.S.C. §§ 282(b){8}(O}(ii}, 282(en}(2){6) (iil), 283p, 285t, and/or 289a-2.
R2SHD116367 See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, amang other statutes: 42
U.S.C. §§ 282(6}(8)(D){ii), 282(m}{2}(8) (itl), 283p, 285t, and/or 289a-2,

3P30A1117943-2081

Third Coast Center far AIDS Research

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation:
ft.

P inciple of the U_S. Constitutt b of, among other statutes: 42
U.S.C. §§ 282(b){8)(O){ti), 282¢m){2}(BHiti), 283p, 285t, and/or 289a-2.

SROIMH11824S-05

Biopsychosocial mechanisms underlying
ti izing psychop sy ina

prospective, population-based cohort of

sexual ralnority young adults

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are elso
in excess of statutory authority and contrary to statute—and also violate the saparatlon|
of-powers principle of the U.S. Constitution—because of, among other statutes: 42

U.S.C. §§ 282(b)(SHOKIt}, 282(m)}(2}(B}(ill), 283p, 285t, and/or 289a-2.

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Project Number | Grant Title | Reason Termination Is Illegal
R25MH119858 SHINE Strong: Building the pipeline of HIV [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
behavioral scientists with expertise in trans|In excess of statutory authority and contrary to statute—and also violate the sep
popul: health lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b}{8)(O)(ii), 282(h), 282(m)(2}{B} (iil), 2830 (b){2), 283p, 285t, 235t-1(a){b},
288(a){4}, and/or 289a-2.
ISR33MH120236-04 Suicide Prevention for Sexual and Gender |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Minority Youth in excess of statutory authority and contrary to statute—and also violate the sep
lof-powers principte of the U.S. Constitution—because of, among other statutes: 42
U.S.C. $§ 282(b)(8)(D)(ti}, 282(m)}{2){B}{ iii}, 283p, 2BSt, and/or 28Sa-2.
SROIMH121194-04 Monitoring Microaggressions and See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

Adversities to Generate Interventions for
Change (MMAGIC} for Black Women Living
with HIV

in excess of statutory authority and contrary to statute —and also violate the sep
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b}(8)(D}{ii), 282(m){2}(8){itl}, 283p, 285t, and/or 289a-2.

5K99NS126639/RO0NS126639

Mitoch
neurons

drial fidelity in li

See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation:
of-powers principle of the U.S. Constitution—beceuse of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b)(2), 285t-2(a}{b), and/or 288(a)({4).

5R2SMH126703-0S

Pipeline to Graduate Education and
Careers In Behavioral and Social Science
Research for URM Undergraduates:
Addressing HIV In Sexual and Gender

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principie of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(AO}{Il}, 282(h), 282(rm}(2)(B) {III}, 2830 (b)(2}, 283p, 285t, 285t-1(a}(b},

Minarity Communities 288(a}(4), and/or 289a-2,
5T32MH126772-04 Culturally-f d HIV Ad See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
through the Next Generation for Equity In excess of statutory authority and contrary to statute—and also violate the separation]
{CHANGE) Training Progrem lof-powers principle of the U.S. Constitutlon—because of, among ather statutes: 42
U.S.C. §§ 282(b){8)(O}{11), 282(h), 282(m)(2HB} til), 2830 (b){2}, 283p, 28St, 285t-1(a}{b},
288(a){4}, and/or 2898-2.
SR2IMH128114-02 Strengthening the HIV care for [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
|transgender women living with HIV in in excess of statutory authority and contrary to statute—and also violate the separation}
Malaysia of-pawers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(D)(ii}, 282( mh 2HB){iii), 283p, 285t, and/or 289a-2.
5RO1MH128130-04 STI Resp and R d See REASONS FOR EVERY GRANT. tn addition, the Olrectives and terminations are also
Under Pr&P (STIRRUP) in excess of statutory authority and contrary to statute—and also violate the separation}
cf-powers principle of the U.S. Constitution—because of, amang other statutes: 42
U.S.C. §§ 282(b}(8)(D}{ii), 282(m)(2}{B){Ht), 283p, 285t, and/or 289a-2.
3R01MH128729-0382 Project STRIVE (STudents Rising above)- |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Offsetting the health and mental! health in excess of statutory authority and contrary to statute—and also violate the separation}
costs of resitience of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b)(8}(D)(i), 282(h), 282(m}(2)(B}{III), 2830 (b}(2), 283p, 28St, 285t-1(a}(b),
288{a}(4), and/or 2898-2.
7R01MH129175-03 gies to Prevent HIV Acquisition See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Among Transgender MSM In the US in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282()(8){O}(il), 282(m)(2)(B)(It}, 283p, 285t, and/or 289a-2.
34MH129187 Brothers huitding brothers by breaking See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
barriers (B6): A resilience-focused In excess of statutory authority and contrary to statute—and also violate the separation
intervention for young Black gay and of-powers principle of the U.S. Constitut! b of, among other statutes: 42
Ibisexua! men living with HIV U.S.C. §§ 282(b)(8}(D)¢ii}, 282(m){2){B) (ill), 283p, 28St, and/or 289a-2,
5%34MH129189-03 Data-driven, peer-led messaging using See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
soctal media influencers to increase PrEP jin excess of statutary authority and contrary to statute—and also violate the separation
awareness and uptake among transgender jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
women U.S.C. §§ 282(b}(8)(D) (ii), 282(m){2{B)(ii), 283p, 285t, and/or 289a-2,
ROLMH129285 A multi-level approach to improve HIV See REASONS FOR EVERY GRANT. In addition, the Olractives and terminations are also
prevention and care for transgender in excess of statutory authority and contrary to statute—and alsa violate the separation:
of color of-powers principle of the U.S, Constitutton—becnuse of, among other statutes: 42
U.S.C. §§ 282(b)(3)(D}{li), 282(m)(2)(BHIil), 283p, 285, and/or 289a-2,
SRO1MH130375-02 A longitudinal and experience sempling See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
I Igatlon of rejectl itivity and its Jin excess of statutory sutharity and contrary to statute—and also violate the separation
role in sexual minority adolescents’ mental |of-powers principle of the U.S. Constitutton—because of, among other statutes: 42
health U.S.C, §§ 282(b)(8}{D)(il), 282(m)(2)(B) {itl}, 283p, 285t, snd/or 289a-2.
R34MH132405-01 MyPr&P Plus: Develapment and Pilct See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Testing of Novel Pre-Exposure Prophylaxis [In excess of statutory authority and contrary to statute—and also violate the separation]
Support Tools for Transgender Women of-powers principte of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(D)(Ii), 282(m)(2)(B} (ti), 283p, 285t, and/or 289a-2.
SROIMH132415 Und ding the R I Ecology ofa | See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Future HiV Vaccine in excess of statutory authority snd contrary to statute—and also violate the separation

of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8)(D} {il}, 282(m)(2}(8)(tH), 283p, 28St, and/or 289-2.

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Plaintiffs’ Spreadsh

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of Grant Terminati

| Project Number

Grant Title |

R Termination fs (legal

5ROIMH133543-02

(mplementing sustainable evidence-based
mental healthcare in low-resource
ide to ad

mental health equity for sexual and gender
minority individuals

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
In excess of statutory authority and contrary to statute—and also viclate the i
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b}{8){O)}(il}, 282(m)(2}{8) (iit), 283p, 285t, and/or 289a-2.

1RG2MH133710-01A1 Targeting Minority Stressors to lmprove See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Eating Disorder Symptoms in Sexual In excess of statutory authority and contrary to stetute—and also violate the separatl
Minority Individuals with Eating Disorders of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282{b)(8}(0) (ti), 282{en}(2)(B}(iti}, 283p, 285t, and/or 289a-2.
4ROODK133804 Utilizing a human stem cell modelofthe [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
esophagus to understand racial disparities in excess of statutory authority and contrary to statute—and also violate the separation}
during injury repair lof-powers principle of the U.S. Const! b of, among other statutes: 42
U.S.C, §§ 282(b)(8)(D)(i}), 282(h}, 282(m}(2){8}{iil), 2830 (b)(2), 283p, 285t, 285t-1(a}(b),
|288(a}(4), and/or 2898-2.
1K23MH134111-01 Using youth-engsged methods to develop [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
and evaluate a measure for disardered in excess of statutory authority and contrary to statute—and also violate the separation
eating behaviors in transgender and lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
gender-diverse youth U.S.C. §§ 282(b}(8}(0)(i)}, 282(m)(2)(8){ii!), 283p, 285t, and/or 289a-2.
1F31MH134720-01A1 Understanding Patient Level See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also
I ton D i Related to jin excess of statutory authority and contrary to statute—and also violate the separation;
Long-acting injectzble HIV Pre-Exp f-p principle of the U.S. Constitution—because of, among other statutes: 42

Prophylaxis among Young Men Who Have
Sex with Men Living in Rural Areas

U.S.C. §§ 282(b}(8)(D}{ii), 282(h), 282(m)(2}(B)(ii), 2830 (b)(2), 2839p, 285t, 285t-1fa)(b),
288{a}(4), and/or 289a-2.

5RO1MH134721-02

A randomized clinical trial of client-

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

d care coordi to Imp pre-[in excess of statutory authority and contrary to statute—and also violate the separation
exposure prophylaxis use for Blackmen —_—jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
who have sex with men U.S.C. §§ 282(b)}(8)(O){ti), 282(m}{2)(B} tii), 283p, 285t, and/or 289a-2.
4R210K134815-01A1 Transforming mativational Interviewing See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
‘ into a computable model for automated —_|in excess of statutory authority and contrary to statute—and also violate the separation]
patient dlabetlc counseling. of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8}(O)(ti), 282(m)}(2)(BHiil), 283p, 285t, and/or 289a-2.
1R34MH134912-01A1 Youth Empowerment and Safety See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Intervention for Systems-involved Sexual in excess of statutory authority and contrary to statute—and also violate the separati
land Gender Minority Youth at Risk of of-powers principle of the U.5, Constitution—because of, among other statutes: 42
Suicide U,5.C. §§ 282(b}(SH{D}(Il}, 282(m)(2}(8){Iil), 283p, 285t, and/or 289a-2,
SK99MH135061-02 Oxytocin recep ignaling modu! See REASONS FOR EVERY GRANT. in addition, the Directives and terminations are also
social hi via hipp pal CA2/3_ jin excess of statutory authority and contrary to statute—and also violate the separation}
function of-powers principle of the U.S. Canstitutlon—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285t-1{a}(b), and/or 288(a)(4).
3RO10K135099-0251 Diversity Supplement for: Impact of a See REASONS FOR EVERY GRANT. In sdditlon, the Directives and terminations are also
Healthy Checkout Policy on Healthfulness [In excess of statutory authority and contrary to statute—and also violate the separation;
lof Grocery Environments and Sales of-powers principle of the U.S. Canstitutlon—because of, among other statutes: 42
U.S.C. §§ 282{b}(8){O)(iij, 282(h), 282(m)}(2){8}(tii}, 2830 (b}{2}, 283p, 28St, 285t-1(a}{b},
288(a){4), and/or 289a-2.
R36MH135619 Transcriptomie contributions to the See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
development and evolution of the human [in excess of statutory authority and contrary to statute—and also violate the separation:
cerebral cortex of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8)(D)(ii}, 282(h), 282(m)}(2}{8)(Hi}, 2830 (b}{2}, 283p, 285t, 285t-1(a}(b},
288(a}(4), and/or 2893-2.
5F32MH135634-02 The psychological underpinnings of gender |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
disparities in adolescent mente! health in excess of statutory authority and contrary to statute—and also violate the separation|
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}{8)(O){fi), 282(h), 282(m){2)(BH{til}, 2830 (b}(2), 283p, 285t, 285t-1(a}(b),
288(a)(4), and/or 2898-2.
ROIMH135738 Know your status: A cluster randomized [See REASONS FOR EVERY GRANT.
icontrolied trial comparing healer-Initiated
HIV counseling and testing to standard of
tare in rural South Africa
SFSSNS135767-02 Neural basis of movement inhealthand [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
disease in excess of statutory suthority and contrary to statute—and also violate the sepzration|
of-powers principie of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(h), 2830 (b)(2), 285t-1(a}{b), and/or 288(a)(4).
1K99MH135993-01 Neural circuit dynamics of spatial reward [See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also

memory

fof-powers principle of the U.S. Constitution—because of, among other statutes: 42

in excess of statutory authority and contrary to statute—and also violate the separation,

U.S.C §§ 282{(h), 2830 (b}(2), 285t-2(a}(b), and/or 288(a}(4).

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Plaintiffs’ Spreadsheet of Grant Terminations

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Project Number | Grant Title R Termination fs (Itegal
1R21DK136084-01A1 Mobile pop-up units for diabetes See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
p ion among Hi in rural in excess of statutory authority and contrary to statute—and also violate the separation}
Indi of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{b}(8H(D)(ii), 282(m)(2}(BH{iil), 283p, 285t, and/or 289a-2.
1F31MH136729-01A1 Determining the role of discriminationin [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
i Ip tion and in excess of statutory authority and contrary to statute—and also violate the separation;
response among sexual minority people _fof-powers principle of the U.S. Constitution—because of, among other statutes: 42
with OCD: A machine learning approach = JU.S.C. §§ 282(b}(8)(D)({II}, 282(h), 282(m){2}(6) (ii), 2830/ b}(2), 283p, 285t, 285t-1(a}(b},
288(a)(4), and/or 289a-2.
5010K137259-02 Renal transplant Equity through See REASONS FOR EVERY GRANT. tn addition, the Directives end terminations are also
[Partnership And Structural Transformation jin excess of statutory authority and contrary to statute—and also violate the separation]
{REPAST} of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(BH(O}{li), 282(m}{2)(B}{iil}, 283p, 285t, and/or 289a-2.
1U01DK137262 CommunityRx - Chranic Kidney Disease See REASONS FOR EVERY GRANT. tn addition, the Olrectives and terminations are also
{CRx-CKO): An EMR-integrated community |in excess of statutory authority and contrary to statute—and also violate the separation]
resources referral intervention to address [of-powers principle of the U.S. Constitution—because of, among other statutes: 42
structural racism and kidney health U.S.C. §§ 282(b)(S}(D)(ii}, 282(m}{2)(BHIIl), 283p, 285t, and/or 289a-2.
disparities tn rural North Carolina
SU020K137269-02 Mitigating the Effects of Structural Racism [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
lon Chronic Kidney Disease Disparities in excess of statutory authority and contrary to statute—and also violate the separation}
lamong African Americans of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(Op(ti}, 22(m}(2)(B}( til), 283p, 2a5t, and/or 289a-2.
5U010K137272-02 NAVIGATE Kidney: A Multi-Level See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Intervention to Reduce Kidney Health in excess of statutory authority and contrary to statute—and also violate the separation}
Disparities of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b)(8)[OM{It), 282(m}(2)}(B}( til), 283p, 285t, and/or 2B9a-2,
K23MH137389-01 ALIVE: Development and feasibility of a See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
psychosocial Intervention for sexual and jin excess of statutory authority and contrary to statute—and also violate the separation}
gender minority autistic adults of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)}(8}{(O}(ti), 282(h), 282(m}{2)(8)(iIK}, 2830 (b}(2}, 283p, 285, 285t-2(a}(b},
288(a)(4), and/or 289a-2.
1R01MH13769S-01 Measuring and Mapping Trajectories of See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also
Risk and Resilience far Suicidal Thoughts _|in excess of statutory authority and contrary to statute—and also violate the separation:
land Behaviors in Sexual and Gender of-powers principle of the U.S. Constitution—because of, arnong other statutes: 42
Minority Preteens U.S.C. §§ 282(b}(8}(O}{tI), 282(m){2)(B)(iil), 283p, 28St, and/or 289a-2.
1R34MH137753-01 Developing and pilot testing aneHealth — |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
decision support tool for young trans in excess of statutory authority and contrary to statute—and also violate the separation}
to imp inf d dacisi of-powers principle of the U.S. Constitution—because of, among other statutes: 42
making about PrEP U.S.C. $§ 282(b)(8}(D}tl}, 282(m)(2)(B}{IIl), 283p, 285t, and/or 289a-2,
1R01MH140023-01 Mental Health Effects of Marriage Policy: [See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
Evidence from Linked Administrative Data jin excess of statutory authority and contrary to statute—and also viclate the separation;
In New Zealand of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8{D}(il}, 282(m)(2)(8){iNl), 283p, 285t, and/or 289a-2.
SROOGM140269-04 Evolution of Cargo Transport See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also

In excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.5.C. §§ 282(h), 2830 (b)(2}, 285t-1(a}(b), and/or 288(a)(4).

1K98DK140511-01

Fey Receptor-Mediated
Pharmacogenomics of Antibody Therapies
in Type 1 Clabetes

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
In excess of statutory authority and contrary to statute—and also viclate the separation}
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282{(h), 283e (b)(2), 285t-1{a}{b), end/or 288(a)(4).

5T34GM141986-04

[Maximizing Access to Research Careers

{MARC} at University of Hawail at Manoa

See REASONS FOR EVERY GRANT. In addition, tha Directives and terminations ere also
In excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
ULS.C. §§ 282(h}, 2830 (b){2)}, 265t-1(a}{b}, and/or 288(a)(4).

SK99GM146016/4R00GM146016-03

Regulation of zinc-dep

morphological restructuring, zinc

trafficking and low zinc homeostasis in C,
elegans and human model systems

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
In excess of statutory authority and contrary ta statute—and also violate the separation]
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{h}, 2830 {b)(2), 285t-1(a}{b}, and/or 288(a)(4).

K996M146243-01 The genet! | of 1 t See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
and behavior in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282(h}, 283e (b)(2}, 28St-2{a}(b), and/or 288(8)(4).
SK99GM147825-02 Understanding and rewiring cellular See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are alsa

with F

¥ ic biology
spproaches

in excess of statutory authority and cantrary to ststute—and also violate the separation]
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}{2), 285t-1(a)(b), and/or 288(a}(4),

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of Grant Terminati

pp phase and
chromatin organization in maintaining
genomic integrity

Project Number Grant Title | R Termination is (legal
SKSSGM148819-02 Etucidating the epigenetic regulation of See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
jextracellular matrix and virus-induced In excess of statutory authority and contrary to statute—and also violate the sep
fibroblast activation sf-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282{h}, 2830 {b){2}, 28St-1(a)(b), and/or 288(a)(4).
SROIHL149778-05 Cardiovascular Health of Sexual and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Gender Minorities in the Hispanic in excess of statutory authority and contrary to statute—and also violate the sep
Community Health Study/Study of Latinos jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
(SGM HCHS/SOL) U.S.C. §§ 282(b}(8}(D) (ii), 282(m}{2)}{B){iii), 283p, 28St, and/or 289a-2.
K99GM151467-02 Nuclear and chromatin aberrations during [See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also
non-apeptotic cell death in C. elegans and |in excess of statutory authority and contrary to statute—and also violate the sep
mammals lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b}{2), 285t-1{a){b), and/or 288(a}(4).
K99GM151473 Characterizing the role of tumor See REASONS FOR EVERY GRANT. In additlon, the Directives and terminations are also

in excess of statutary authority and contrary to statute—and also violate the separation
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}(2), 285t-1(a)(b), and/or 288(a}(4).

SK98GM152834-02/4RO0GM152834-03

lela ti hy

Regulation of stress by
tyrosine phosphorylation of antioxidant

enzymes

See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation:
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}(2), 285t-1(a)(b), and/or 288(a)(4).

SK99GM152835-02

Testing the functional consequences of
rapid ic ONA and protet
evolution

See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 {b}(2), 285t-1(a}(b), and/or 288(a)(4).

Raclat end Ethnic Disparities in
Cardiovascular Disease

1K99GM154059-01A1 RNA and genome regionalization ingiant [See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
single cells: implications for cellular in excess of statutory authority and contrary to statute—and also violate the separation}
patterning of-powers principle of the U_S. Constituttion—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285t-1(a){b), and/or 288(a}{4).
KS9GM154061 ig UPF3 paralog function in See REASONS FOR EVERY GRANT. In addition, the Directivas and terminations are also
Nonsense-Mediated mRNA Decay and In excess of statutory authority and contrary to statute—and also violate the separation]
Genetic Compensation of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285t-1(a}{b), and/or 288(a}(4).
3R01A1155739-0451 Diversity Supph ~Er f See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
surveillance of albendazole resistance in excess of statutory authority and contrary to statute—and also violate the sep
markers In human infective helminths of-powers principte of the U.S. Constitution—because of, among other statutes: 42
using dual amplicon metabarcoding U.S.C. §§ 282(h}, 2830 (b)(2), 285t-1(a}{b), and/or 288(a}(4).
1K99GM157463-01 Buttding Dendrite Architecture via See REASONS FOR EVERY GRANT. In additton, the Directives and terminations are also
Microtubule Nucleation in excess of statutory authority and contrary to statute—2nd also violate the separation}
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 28St-1(a}(b), and/or 288(a)(4).
KS9GM157504 Une ding eukaryotic pi See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
assembly regulation In excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S. Canstitution—because of, among other statutes: 42
U.S.C, §§ 282{h), 2830 {b){2), 285t-1(a)}{b), and/or 288(a)(4).
1K99GM159354-01A1 Metabo! ! 1 of pi i See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
lasia end plasi In excess of statutory authority and contrary to statute—and also violate the separation
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282{(h), 2830 (b)(2), 285t-1(a)(b), and/or 288(a)(4).
SRO1HL160326-05 igma and the non icable di See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
syndemic In aging HIV positive and HIV In excess of statutory authority and contrary to statute—and also violate the separation:
negative MSM of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(D)(ii}, 282(m)(2){B} (iii), 283p, 28St, and/or 289a-2.
3P01A1165075-01512 Broad neutralization of pandemic threat coSee REASONS FOR EVERY GRANT.
RO1AI169239 Upteke, safety and effectiveness of COVID- [See REASONS FOR EVERY GRANT.
19 Vaccines during Pregnancy
5KSSHL169908-02 Exemining the Role of Structural Factors In

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are
also in excess of statutory authority and contrary to statute—and also violate the

s principle of the U.S. Constitution—because of, among other
statutes: 42 USC. §§ 282(b)(8}(D)(ii), 282(h), 282(m)(2)(B){iii}, 2830/b)(2), 283p,
285t, 285t-1(a}(b), 288(a)(4), and/or 289a-2.

SK99A1173544-02

Improving phage-based medicine with
Immunsengineering

See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
th excess of statutory authority and contrary to statute—and also violate the separation!
of-powars principle of the U.S, Constitution—because of, among other statutes: 42
ULS.C. §§ 282(h}, 2830 (b)(2), 285t-1(a}{b), and/or 288(a)(4).

1K9SHL173668-01

Resistance Exercise in the Prevention and
Treatment of Heart Failure with Preserved
Ejection Fraction (HFpEF)

Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also viotate the separatt
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(h}, 2830 (b)(2), 285t-1(a}(b), and/or 288(a}(4).

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tisk of gestational dizhetes among Asian
Amerteans: an integrative approach of
metabolomles, lifestyles, and social
determinants

Project Number Grant Title Reason Termination Is (Illegal
1K99A1182451-01. Molecular understending of maternal See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
t 1 to p! in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(h), 2830 (b)(2), 285t-1{a}{b), and/or 288(a}(4).
RO1CA237670 Project RESIST: Increasing Resistance to See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Tobacco Marketing Among Young Adult —_‘fin excess of statutory authority and contrary to statute—and also violate the separation]
Sexual Minority Women Using the of-powers principle of the U.S. Constitution—because of, among other statutes: 42
li tation Message Approach U.S.C. §§ 282(b){S}(O}(ti), 282(m}{2)(BHIIl}, 283p, 28St, and/or 289a-2.
1U54CA267730-01 Fostering institutional Resources for See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Science Transformation: The FLORIDA- in excess of statutory authority and contrary to statute—and also violate the separation}
FIRST Health-science Brigade of-powers principta of the U.S. Constitution—because ef, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2}, 285t-1(a}{b), and/or 288(a}(4).
SUS4CA267776-04 NIH FIRST Cohort Cluster Hiring Initiative at]See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
tcahn School of Medicine at Mount Sinai [in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2839 (b)(2), 285t-1(a}{b), and/or 288(a}(4).
1UC2CA293786 IComPASS Health Equity Research Hubat [Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Yale in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8)(D}(Il), 282(m)(2}(B}(iil}, 283p, 28St, and/or 289a-2.
us4mood7s598 Accelerating Excell in Transtational See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Science (AXIS) in excess of statutory authority and contrary to statute—and also violate the
of-powers principta of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830/ b)(2), 28St-1(a)(b), and/or 288{a)(4).
5T37MD008636-10 Transdiselplinary Health Disparities See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Research Training for Native Hawallans andlin excess of statutory authority and contrary to statute—and also viclate the separation
Pacific Students of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b)(8){O}(II), 282{mn)(2)(8){Ihi), 283p, 285t, and/or 289a-2.
5D43TW012274-03 Integrated Networks of Scholars in Global [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Health Research Training (INSIGHT} In excess of statutory authority and contrary to statute—and also violate the separation:
lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282{O}{8}{O}(il}, 282(m)(2)(B){tti), 283p, 285, and/or 289a-2.
1RO1HG013145-01 Trans/Forming Genomics: Guidance for See REASONS FOR EVERY GRANT. In eddition, the Directives and terminations are also
R ch tnvolving Tr der and In excess of statutory authority and contrary to statute—and also violate the separation:
Gender Diverse People of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282{6}{8}{O}(II}, 282(m)(2}{8){iit), 283p, 285t, and/or 289a-2.
SROIMDO1349S-05 Health disparities, stress pathways, and See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
stress-related comorbidities among MSM _|in excess of statutory authority and contrary to statute—and also violate the separation]
living with HIV of-powers principle of the U.S. Canstitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b}{8}(D)¢i}, 282(m)(2)(B}(ti}, 2683p, 285t, and/or 289a-2.
SROIMBO016864-03 K-VAC: Ki ky Vaccinating Appalachi. See REASONS FOR EVERY GRANT.
Communities
RO1MD016880-03 Increasing COVID-19 vaccine uptake See REASONS FOR EVERY GRANT.
among Latinos through a targeted clinical
and Ity-behavloral interventi
4ARCOMD016964-03 Compreh p l analysis of [See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also
genetic and regulatory differences in excess of statutory authority and contrary to statute—and also violate the separation;
[between individuals with African and ‘of-powers principle of the U.S. Constitution—because of, among other statutes: 42
European ancestries across four brain U.S.C. §§ 282(b}(8)(O) (il), 282(h), 282(m}{21B) (ti), 2830/ b}(2), 2893p, 2BSt, 285t-2(a)(b),
regions 288(a)(4), and/or 289a-2,
PSOMD017349 Chicago Chronic Condition Equity Network |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority end contrary to statute—and also violate the separation]
lof-powers principle of the U.S. Constitution—because of, among ather statutes: 42
U.S.C. §§ 282{b){8)(O){H), 282(m}(2}{8){Hi), 283p, 285¢, and/or 289a-2.
SRO1MD027364-03 REDES: a peer network and mobile health {See REASONS FOR EVERY GRANT.
(mHealth) enhanced CHW model to
Fnaximize COVID-19 vaccination among low
Income Latinos
1K99MD018451-02A1 Advancing Indigenous Cancer Health Equity|See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
through a Community-Centered tn excess of statutory authority and contrary to statute—and also violate the separation!
Framework of-powers principle of the U.S, Constitution—because of, among other statutes: 42
ULS.C, §§ 282(b)(8)(D){f), 282(h), 282(m){2)(B}(ill}, 2830f b)(2), 283p, 285t, 285t-1(a}(b},
288(a)(4), and/or 289a-2.
ROIMDO18459 [Etucidating the high and heterogeneous [See REASONS FOR EVERY GRANT. in addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute—and also violate the separation}
af-powers principle of the U.S. Constituttion—because of, among other statutes: 42
U.S.C. §§ 282(b)(SHD)(tip, 282(m){2)(B}( lil}, 283p, 285t, and/or 289a-2.

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|_ Project Numb Grent Title ‘| Reason Termination [s Itlegal
RkOi1MO0018S23 A Multilevel, Multiphase Optimization See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Strategy for PrEP: Patients and Providers in |in excess of statutory authority and contrary to statute—and also violate the separati
Primary Care of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282(b}{8){O}{1i}, 282{(m)(2){8) (ltl), 283p, 285, and/or 289a-2.
SRO1MD018679-02 Understanding the Rale of Structural See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Oppression for Suicide Risk among Black —_ [in excess of statutory authority and contrary to statute—and also violate the sep
Sexual and Gender Minority Adolescents _|of-powers principle of the U.S, Constitutlon—because of, among other statutes: 42
and Young Adults U.S.C. §§ 282{b}8}(O}{ii), 282(mn)(2}(B}(ti}, 2983p, 28St, and/or 2893-2.
SKS9MD019060 A Olgital Health Intervention to increase [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Condom Use Among Adolescent Sexual _[in excess of statutory authority and contrary to statute—and also violate the sep
Minority Males of-powers principte of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8}{D)(ii}, 282(h), 282(m)}{2}(BK{iti), 2830/ b}(2), 283p, 28St, 28St-1(a)(b},
288(a}(4), and/or 289a-2.
1K99MD019292-01 A Multilevel Social Capital Approach to See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Address Cervical Cancer Screening and in excess of statutory authority and contrary to statute—and also violate the separation,
Follow Up Delays among Latinas in Safety- jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
Net Settings U.S.C. §§ 282(b}(8)(D) (Ii), 282(h), 282{rm){2}(B) (ti), 2830/ b)(2), 283p, 285t, 285t-1(a}(b),
288{a}(4), and/or 2890-2.
R22MO0019345-01A1 Ecological ¥ of daily [See REASONS FOR EVERY GRANT, In addition, the Olrectives and terminations are also
minority stressors and cannabis and in excess of statutory authority and contrary to statute—and also violate the separation.
tobacco co-use among sexual minority of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
adults U.S.C, §§ 282(b6)(8)(O}(ii}, 282(m)(2KB){Hi), 2638p, 285t, and/or 289a-2.
1P50M0D019475-01 The institute for Health Equity Research [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Catalyst Center in excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S. Constituttan—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(ONit), 282(h), 282{m)(2){B){Iil), 263o/ b)(2), 283p, 285t, 28St-4(a)(b),
288(a)(4), and/or 289a-2.
1R21M0019829-01 The Roles of Parental Mental Health and = |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Help-Seeking: Utilizinga Family Systems —_[in excess of statutory authority and contrary to statute—and also violate the separation;
‘Approach to Upstream Suicide Prevention jof-powers principle of the U.S, Constitution—because of, among other statutes: 42
for Sexual Minority Youth §I.5.C. §§ 282(6)(8H{O}{ii), 282(m)}(2)(8){Iil), 2863p, 285t, and/or 289a-2.
1F321MD01S996-01 Advancing Perinatal Health Equity through |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
a Community-engaged Model of in excess of statutory authority and contrary to statute—and also violate the
Healthcare Services of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8){Op(il}, 282(h), 282(m)(2}{6}(iii}, 283e/ b)(2), 283p, 285t, 285t-1(a)(b),
288(a)}(4), and/or 2853-2.
1F31MD020261-01 Und ding the M ial Drivers of |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Cardiovascular Health in the Rural South —_|In excess of statutory authority and contrary to statute—and also violate the separation}
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}(ii), 282(h}, 282(m}(2}{B}{lii), 2830/ b){2}, 283p, 285t, 285t-1(a)(b),
288(a){4}, and/or 289a-2.
SROINRO20309-04 Harnessing the power of technology to See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also

develop a population-based HIV
prevention program for trans girls

in excess of statutory authority and contrary to statute—and also violate the separation]
f-p principle of the U.5. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(D)(i}, 282(m}{2)(8){iii), 2683p, 285t, and/or 289a-2.

S§K59DC020570-02/4R00DC020570-03

Identifying neural circuits that support
effortful listening

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority end contrary to statute—and also violate the separation
of-powers principle of the U.S, Constitutlion—because of, among other statutes: 42
U.S.C. §§ 282(h)}, 2830/ b}(2), 285t-2(a)(b), and/or 288(a}{4).

SROINRO20846-02 #TranscendentHealth - Adapting anLGB+ |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Inclusive teen preg: ¥ Pp i in excess of statutory authority and contrary to statute—and also violate the separation}
program for transgender boys of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}{i), 282(m)(2)(B}(ill}, 283p, 285t, and/or 289a-2.
1U24NR021014-02 Advancing Health Equity Through See REASONS FOR EVERY GRANT. In addition, the Olrectives and terminations are also
I lve Ci ¥ C. ity Building, in excess of statutory authority and contrary to statute—and also violate the t
Data Science & Delivering Community- of-powers principle of the U.S. Constitution—because of, among other statutes: 42
Centered Structural Interventions & ULS.C. $§ 282(b}(BHD){li}, 282(m){2)(B}{Iil}, 283p, 285t, and/or 289a-2.
Outcomes: Drexel’s ComPASS Coordinating
Center (C3)
OT200025276 PRIDEnet for the All of Us Research See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Program in excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282{6}{8)(D}(1i), 282(m}(2){B)(ii}, 283p, 285t, and/or 289a-2.
SROIAAO29044-04 1 tonal A hes to Populatt See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

Level Health Research: Role of HIV Risk and

In excess of statutory authority end contrary to statute—and also violate the separation]

M | Health tn Alcohol Use Disp
among Diverse Sexual Mincrity Youth

F.p principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8}(D)(ii}, 282(m){2){B}{iii), 283p, 28St, and/or 289a-2.

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Project Number Grant Title Reason Termination Is (legal
SROLAA029088-03 A unified protocol to address sexual See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
minority women's minority stress, mental jin excess of statutory authority and contrary to statute—and also violate the separation;
health and hazardous drinking of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}{(O}{ti), 282(m)(2)(GH iii), 283p, 285t, and/or 289a-2.
4ROCAA030601-03 Stigma, Romantic Relationships, and See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
Alcohol! Use Among Transgender and in excess of statutory authority and contrary to statute—and also violate the separation]
Nonbinary Young Adults of-powers principte of the U.S, Constltution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8O}II}, 282(h), 282(m}(2)(B) (iii}, 2830/ b}(2), 283p, 285t, 285t-2(a}{b},
288{a)(4), and/or 289a-2.
S5F32AA030722-02 Examining differential effects of state See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
equality-promoting policies on harmful tn excess of statutory authority and contrary to statute—and also violate the separation}
alcohol use among sexual and gender of-powers principle of the U.S. Constitution—because of, among other statutes: 42
minority adults in the U.S.: an U.S.C. §§ 282(b)(8}(O}(il), 282(h), 282{m}{2}(6)(it}, 283ef b)(2), 283p, 285t, 285t-1(a}{b),
econometrics approach for causal 288(a}(4}, and/or 289a-2.
Inference
AR1SAA030898-02A1 Reconstruction of a SGM-specific sexual [See REASONS FOR EVERY GRANT. In addition, the Directives and terminatlons are also
violence peer support program (SSS+} in excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S, Constitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b}(8){D}{Il), 282{m){2)(B)(Iii}, 283p, 285t, and/or 289a-2.
1F31A4031420-01A1 Examining Proximal A: b See REASONS FOR EVERY GRANT. !n addition, the Directives and terminations are also
Minority Stress, PTSD Symptoms, and In excess of statutory authority and contrary to statute—and also violate the separation
Alcohol Use among Bl+ College Students —_ [of-powers principle of the U.S. Constitution—because of, among other statutes: 42
with Trauma Histories U.S.C. §§ 282{b}HSHO}Iti), 282(h), 282(m){(ZHE}iii)}, 2930/ b}{2), 2B3p, 285t, 28St-1{a}(b},
288(a}{4), and/or 289a-2.
SRO1ES034303-03 Research Employing Enviranmental See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
Systems and Occupational Health Polley —_{ in excess of statutory authority and contrary to statute—and also violate the separation]
[Analyses to Interrupt the impact of lof-powers F ple of the U.S, Constitutt b of, among cther statutes: 42
Structural Recism on Agricultural Workers |U.S,C. §§ 282({b}{8}(D)(ii}, 282(m)(2}{B} (iil), 283p, 285t, and/or 2892-2.
land Thelr Respiratory Health (RESPIRAR)
OT20D035659-01 Macro-level Health Considerations of See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
|Community and Criminal Justice System —_‘[in excess of statutory authority and contrary to statute—and also violate the separation]
Relationships in North Texas of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}{8)(D)(ii}, 282(m)(2){B}{iti), 283p, 285t, and/or 289a-2.
AKS9EB036553-01 AN ADAPTIVE FRAMEWORK TO See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

SYNTHESIZE AND RECONFIGURE
BACTERIAL VIRUSES (PHAGES) TO
COUNTER ANTIBIOTIC RESISTANCE

in excess of statutory authority end contrary to statute—and also violate the separation
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830/ b}(2}, 285t-1(a}(b), and/or 288(a}{4).

SU0IDA036939-10

Multitavel Influences on HIV and Substance
Use ina YMSM cohort

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation}
of-powers principle of the U.S. Constitution—because of, emong other statutes: 42
U.S.C, §§ 282(b}(8)(D) (ii), 282(m)(2{B)(ii), 283p, 285t, and/or 289a-2.

8P2CHD041023-24S2

"Minnesota Population Center" (Note: this
ts a Diversity Supplement of the Parent
Grant}

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutary authority and contrary to statute—and also violate the separation}
lof-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}{H), 282(h), 282(m}{2)(BM{iii), 283o/ b}(2), 283p, 285t, 285t-1(a}{b},
288(a)(4), and/or 289a-2.

3P30A1050409-2651 Center for AIDS Research at Emory See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
University in excess of statutory authority and contrary to statute—and also violate the separath
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}{ii), 282(m)}{2)(B}(IIl}, 283p, 285k, and/or 289a-2.
RO10A052016 Substance use and DNA methylation at the [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Intersection of sex and gender in excess of statutory autharity and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}{D)fil}, 282{m){2)(8) {II}, 283p, 285t, and/or 289a-2.
ROSDA0S2651. Improving Sexual Minority Health: See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Differences in Substance Use, Substance —_ [in excess of statutory authority and contrary to statute—and also violate the separation]
Use Treatment, and Associated Chronic of-powers principle of the U.S. Constitution—because of, among other statutes: 42
Diseases among Rural versus Urban U.S.C, §§ 282(b)(8}{D}{il}, 282(m)(2)(B) (ti, 283p, 285¢, and/or 289a-2.
Populations
3RO1DA05S673-0351 Pp! itled, "Exploring the See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
accessibility, acceptability, and utilization {In excess of statutory authority and contrary to statute—and also violate the separation
ofa y-based harm red: of-powers principle of the U.S. Constitution—because of, among other statutes: 42
vending machine among persons with U.S.C. §§ 282{b)(8)(D)(it), 282(h), 282(m}(2){S}{iti), 2830/ b}(2), 283p, 28St, 285t-1(a}{b),
limited opportunity structures.” 288(a){4), and/or 2893-2.
ROZDAOS623S Structural Influences on See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

Methamphetamine Use among Black Gay
and Bisexual Men in Atlanta

in excess of statutory authority and contrary to statute—and also violate the separation
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8}(D) (il), 282(m){2)(B){iii), 283p, 285t, and/or 269a-2.

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| Project Number Grent Title Reason Termination Is (Itegal
5RO1DA056287-02 Comparatlve- and cost-effectiveness See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
research determining the optimal in excess of statutory authority and contrary to statute—and also violate the separation}
Intervention for advancing transgender of-powers principle of tha U.S, Constitution—because of, among other statutes: 42
women tiving with HIV to full vira! U,S.C. §§ 282(b)(8)(O}(ti), 282(m)}(2)(B}(til}, 283p, 285t, and/or 289a-2.
suppression
5RO1DA056888-03 Op ig PrEP Impl lon and Cost- [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
effectiveness among Sexual and Gender —_[in excess of statutory authority and contrary to stetute—and also violate the separation]
Minority Individuals with a Suk Use |of-p inciple of the U.S, Constitution—because of, among other statutes: 42
Disorder U.S.C. §§ 282({b){8}(D){ti}, 282(m}(2KB){ttl), 283p, 28St, and/or 289a-2.
SRO1DA0S38642-02 Testing a multistage model of risk factors |See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
for cannabis use utilizing a measurement [in excess of statutory authority and contrary to statute—and also violate the separation:
burst design among sexual minority lof-powers principle of the U.S. Constitution—because of, emong other statutes: 42
women, sexual minority gender diverse U.S.C. §§ 282(b}(8)(D)(ii), 282(m)(2}(B}{iti), 283p, 285t, and/or 289a-2.
individuals, and h I women
SROIMD012793-0S Advancing novel methods to and |See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
analyze multiple types of discrimination for lin excess of statutory authority end contrary to statute—and also violate the separation}
population health research of-powers principle of the U.S. Constitution—because of, among other statutes:
tbecause of, among other statutes: 42 U.S.C. §§ 282(b)(8}(O){ii), 282(m}(2) (Bp til}, 283p,
28St, and/or 289a-2.
3R01M0015165-0451 Multitevel Physical Activity tntervention for [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Low income Public Housing Residents in excess of statutory suthority and contrary to statute—and also violate the separation;
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b}(8){D}{ii}, 282(h}, 282{en}(2}(B){tHi), 2830 (b}(2), 283p, 285t, 2B5t-1(a}(b},
288(a)(4}, and/or 289a-2.
ST32MHO20004 Research Training in Late-Ufe NeuroPsychia|See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separation;
lof-powers principle of the U.S. Constitution —because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}{2}, 285t-1(a)(b), and/or 288(a}(4).
1R01NRO20583-01 Ending the HIV Epidemic with Equity: An All/See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ere also
facility Intervention to Reduce Structural [in excess of statutory authority and contrary to statute—and also violate the separation}
Racism and Discrimination and Its impact ef-powers principle of the U.S. Constitution—because of, among other statutes: 42
on Patient and Healthcare Staff Wellbeing |U.S.C. §§ 282(b}(8)(D}(ti), 22ferr}(2}{B} (tii), 283p, 28St, and/or 289a-2.
ROINRO21098 Evaluating the Impl ion and De- See REASONS FOR EVERY GRANT.
i of Pand Era SNAP
E: ton Policles on Diet and Health: A
Mixed Methods Project
1F31NRO21239-01 Persona! Healthcare Networks of [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Transgender and Gender-Diverse Adults —_jin excess of statutory authority and contrary to statute—and also violate the separation]
After Gender-Affirming Surgery of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(b){8){D) (ii), 262(m)(2}(B}(iti}, 283p, 2BSt, and/or 289a-2.
ROOAA028049 1A rnixed-methods approach to See REASONS FOR EVERY GRANT. In addition, the Directives and terminations gre also
i ding stress and | ds In excess of statutory authority and contrary to ststute—and also violate the separation]
drinking among same-sex female couples fof-powers principle of the U.S. Constitution—because of, smong other statutes: 42
U.S.C, §§ 282(b)(8){O)(il), 282(m}(2}{8}(iil}, 283p, 285t, and/or 289a-2.
T320A031099-13 rt Abuse Epid: logy Training See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Program (SAETP) at Columbla University —_ [in excess of statutory authority and contrary to statute—and also violate the separation]
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{h}, 2830 {b}(2), 285t-1(a}{b}, and/or 288(a)(4).
2KO1DE033040-01A1 Devel 1 h in the See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
formation and function of sensory-motor |in excess of statutory authority and contrary to statute—snd also violate the separation]
ircuits responsible for suckling and of-powers principle of the U.S. Constitution—because of, among other statutes: 42
mastication. U.S.C, §§ 282(h), 2830 (b}(2), 285t-1(a}(b), and/or 288(a}(4).
u0100033248 TransHealthGUIDE: Transforming Health {See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
for Gender-Diverse Youth Using In excess of statutory authority and contrary to statute—and also violate the separation]
Interventions to Drive Equity of-powers principle of the U.S. Canstitutlon—because of, among other statutes: 42
U.S.C, §§ 282(b){8)(0)(i), 282{m)(2)(B}(iii}, 2983p, 285t, and/or 289a-2.
30T20D035592 Proyecto Juntos See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are alse

In excess of statutory authority and contrary to statute—and also violate the separation]
of-powers principle of the U.S. Canstitutlon—because of, among other statutes: 42
U.S.C, §§ 282(6){8{D){i), 282{m)(2}(B)( Hi}, 283p, 285t, and/or 283a-2.

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Integrating HIV Prevention, Gender-
Affirmative Medical Care, and Peer Health
Navigation for Transgender Women in the
Americas: A Vanguard Study

Seo REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
In excess of statutory authority and contrary to statute—and also violate the separation]
of-powers princlple of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b){8}{D}{il}, 282(m)(2)(B) {iti}, 283p, 285, and/or 289a-2.

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Project Number Grant Title Reason Termination fs (Illegal
3R01AG075734 Training the Long-Term Services and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Supports Dementia Care Workforce in In excess of statutory authority and contrary to statute—and also violate the i
\Provision of Care to Sexual and Gender of-powers principte of the U.S. Constitution—because of, among other statutes: 42
Minority Residents U.S.C. §§ 282(b)(8){D)(li), 282{rm){2}(8){iil}, 283p, 285t, and/or 289a-2.
ISUM2HD111076-03 Operations end Collaborations Center - See REASONS FOR EVERY GRANT.
Adal Medicine Trials Ni kK for
HIV/AIDS Interventions (ATN) Operati
land Collsborations Center (UM2 Clinical
Trial Optional}
1K23HD112599-01A1 Caregiver declsian making for sessona! See REASONS FOR EVERY GRANT.
pt ¥ for child:
1R21HD116080-01 Confidentiality in use of health insurance [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
coverage for reproductive health services [In excess of statutory authority and contrary to statute—and also violate the sep
of-powers principle of the U.S. Constitution—because of, among other statutes:
because of, among other statutes: 42 U.S.C, §§ 282(b}(8)(D)(ii}, 282(em}(2)(B}({iii), 283p,
285St, and/or 289a-2.
ROIMH130007 Und ding the | lay t See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Parent and Child Contributions In Parent- [In excess of statutory authority and contrary to statute—and also violate the separati
Child Anxiety Transmission lof-powers principle of the U.S. Constitutlon—because of, among other statutes: 42
U.S.C. §§ 282{b}{8}(O}{ti), 282(h), 282(m}(2}(B} {tii}, 2830 (b){2), 283p, 285%, 285t-1(a)(b),
288(a){4), and/or 289a-2.
SK99MH133994-02 Comp fand develop | [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
mechanisms of memory-guided deciston- jin excess of statutory authority and contrary to statute—and also violate the separati
making of-powers pte of the U.S. Constituti E of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 {b){2}, 28St-1(a)(b), end/or 288{a)(4).
1R36MH135609-01 An tonal app! h to tr der [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
and/or nonbinary college student mental in excess of statutory authority and contrary to statute—and also violate the separation:
jhealth: The role of gender identity, of-powers principle of the U.S. Constitution—because of, among other statutes: 42
race/ethniclty, sock ic status, and ]U.S.C. §§ 282(b}(8)(D)(ii), 282(m){2}(BHiti), 283p, 285t, and/or 289a-2.
campus policy
SK9SNS135649-02 Computational Methods for Precise See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Hofographic Control and Mapping of in excess of statutory authority and contrary to statute—and also violate the separation;
Neural Clreults of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b){2), 285t-1(a}(b}, and/or 288(a){4).
5K99GM144750-02 Oynamic mechanisms of transcriptional See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
coactivator function in Notch signaling in excess of statutory authority and contrary to statute—and also violate the separation
of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h), 2830 (b)(2), 285t-1(a}{b), and/or 288(a)(4).
SK99GM148723-02 Stress tolerant annual kilifish: a new See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
model for the cellular stress response In excess of statutory authority and contrary to statute—and also violate the separatl
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C, §§ 282(h), 2830 (b)(2), 285t-1(a)(b), and/or 288{a}(4).
1R15GM152943-01 "Mathematical Modeling and Scientific See REASONS FOR EVERY GRANT.
Computing for Infectious Disease
Research."
5K98GM153720-02 Dissecting the synaptic and circuit See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
hh underlying olf: y-driven — fin excess of statutory authority and contrary to statute—and also violate the separation]
social behavior of-powers principle of the U.S. Canstitution—because of, among other statutes: 42
U.S.C, §§ 282(h)}, 2830 (b)(2), 285t-1(a}{b), and/or 288(a)(4).
1K99GM1S4060-01 ITULPS Integ ial ciliary fi See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
In excess of statutory authority and contrary to statute—and alse violate the separation;
of-powers principle of the U.S. Canstitution—because of, among other statutes: 42
U.S.C, §§ 282(h), 2830 {b){2), 285t-1(a)(b), and/or 288{a}(4).
1K99GM157508-01 Unraveling the role of molecular capacitors |See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
that obscure cryptic genetic variation In in excess of statutory authority and contrary to statute—and also violate the separation:
Astyanax mexicanus during the evolution —jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
lof eye loss U.S.C. §§ 282(h), 2830 (b}(2), 285t-1(a)(b), and/or 288(a)(4).
SK9SHL166700-02 t igating ret hips b See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
jnaturalistic light exposure and sleep in excess of statutory authority and contrary to statute—and also violate the separation{
of-powers principle of the U.S, Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b}(2), 285t-1(a}(b), and/or 288(a){4).
SP01A1168148-02 k piral-Phagocyte Dy tes In see REASONS FOR EVERY GRANT.
Leptospirosis
1U19A1171401-01 Metropolitan AntiViral Orug Accelerator {See REASONS FOR EVERY GRANT.
RO1CA251478 Local Flavor Policies to enhance equity in [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

h

in excass of statutory authority and contrary to statute—and also violate the separation|
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(b)(8)(O}{ii), 282(h), 282(m)}{2)(6) (Iti}, 2830 (b}(2), 283p, 28St, 285t-1(a}(b),

288(a)(4), and/or 289a-2,

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Plaintiffs’ Spreadsheet of Grant Terminations

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| Project Number Grant Title | Reason Termination is Illegal

R34CA283483-02 Multi-level school-based intervention to [See REASONS FOR EVERY GRANT.
improve HPV vaccine uptake and
completion in South Africa

SKS9M0018629-02 Racism-related stress and birth outcomes [See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ere also
among Latinas: New tools for maximizing in excess of statutory authority and contrary to statute—and also violate the separati
conceptual and methodological validity principle of the U.S. Constitution —because of, among other statutas: 42

Us 5s, C. §§ 282(b){8)(O)(ii), 282(hj, 282(m}(2}{8}{ii)), 2830 (b){2}, 2B3p, 285¢, 285t-1(a}(b},
/288(a){4}, and/or 289a-2.

SKO1AG0S6669-05 The Epidemiology of Alzheimer’s Disease [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also
and Related Dementias in Sexual and in excess of statutory authority and contrary to statute—and also violate the separation]
Gender Minority Older Adults: Identifying Jof-powers principle of the U.S. Constitution—because of, among other statutes: 42
Risk and Protective Factors U.S.C. §§ 282(b}{8}(D)(ii}, 282(rm}(2}{B) (iil), 2839p, 28St, and/or 2893-2.

SR24AG066599-03 Building Community and Research See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Engegement among Sexual and Gender in excess of statutory authority and contrary to statute—and also violate the sepgration;
Minority Older Adults at Risk for of-powers principle of the U.S. Constitution—because of, among other statutes: 42
{Alzheimer’s Disease and Related U.S.C. §§ 282(b}(8}(D)(ii}, 282(rm}(2}{8}{iii), 283p, 285t, and/or 289a-2.
Dementias

SRO1AG083177-02 Enhancing Measurement and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
Characterization of Roles and Experiences fin excess of statutory authority and contrary to statute—and also violate the separation;
of Sexual and Gender Minority Caregi f-p principle of the U.S. Constitution—because of, among other statutes: 42
of Persons living with Alzheimer's Disease U.S.C. §§ 282(b)(8)(D){ii}, 282(m)}{2}{B}{iil), 283p, 28St, and/or 289a-2,
and Related Dementias

2732GM135742-06 UCSC IMSO See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also

in excess of statutory authority and contrary to statute--and also violate the separation;
lof-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282(h}, 2830 (b)(2), 285t-4(a)(b), and/or 288(a)(4).

SROIMDO18280-03

Assessing Cervical Cancer Healthcare
tnequities In Diverse Populations: The
ACHIEVE Study

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
in excess of statutory authority end contrery to statute—and also violate the separation:
of-powers principle of the U.S, Constitution—because of, among ather statutes: 42
U.S.C. §§ 282(b}(8)(0}(ii), 282(m){2}(B) (it), 283p, 285t, and/or 289a-2.

SRO1CA274564-03

Impact of Alfostatic Load and
Neighborhood Contextual Facters on
Breast Cancer in the Women’s Health
[initiative

See REASONS FOR EVERY GRANT, In addition, the Directives and terminations are also
in excess of statutory authority and contrary to statute—and also violate the separations
of-powers principle of the U.S. Constitution—because of, among other statutes: 42
U.S.C. §§ 282{6)(8)(D){H), 282(m}{2}(B) (it), 283p, 28St, and/or 289a-2.

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American Public Health Association, et al. v. National Institutes of Health, et al.
No. 1:25-cv-10787-WGY
Plaintiffs’ Supplemental List of Grants Impacted by the Directives (June 13, 2025)

This demonstrative is provided by Plaintiffs’ counsel, as a supplement to the original demonstrative
provided on May 27, 2025 pursuant to the Court’s order on May 22, 2025, to aid the Court in its
understanding of the manner in which the Directives have been implemented as to Plaintiffs in
APHA, et al v. NIH, et al. It contains information that Plaintiffs’ counsel have been able to obtain
and compile to date as to grant and program terminations. The terminations that were included in
Plaintiffs’ May 27, 2025 submission are contained in rows 1-234. Rows 235-367 contain the
supplemental submissions. Inclusion of a grant or program on this list indicates that Plaintiffs’
counsel have a good faith basis to believe that the entire grant or program and/or a supplement,
parent, subpart, program or other award related to the grant or program has been terminated.

This list likely does not represent the complete universe of terminated grants and grant programs
impacting Plaintiffs. Plaintiffs reserve all rights to provide additional information regarding the
impacts of the Directives on Plaintiffs and maintain that the resolution of Plaintiffs’ claims—both
as to liability and as to remedy—does not require the identification or individualized review of
all impacted grants.

The Directives and terminations are unlawful in each of the following ways (“REASONS FOR
EVERY GRANT”):

(1) They are in excess of statutory authority and contrary to statute (42 U.S.C. §§ 282(b)(4)-(6),
282(m)(1), 284(b)(1)(A), 284(b)(3)), in violation of 5 U.S.C. §§ 706(2)(A), 706(2)(C).

(2) They are contrary to regulation (45 C.F.R. § 75.372), in violation of 5 U.S.C. § 706(2)(A).
(3) They are arbitrary and capricious, in violation of 5 U.S.C. § 706(2)(A).

(4) They violate the separation-of-powers principle and the Due Process Clause of the U.S.
Constitution, and they accordingly violate 5 U.S.C. § 706(2)(B).
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Plaintiffs"

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af Grant

June 13,2025

RowNumber Profect Number Grant Title Reason Termination fa egal
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations arealso in excess of statutory
and contrary to statute—and also violate th ofthe U.S.
Supportive and restrictive factors and mental health m c f, among other 3 42 U.S.C. 8 282(bHB)DYE, 282(m}(2){B)(t}), 283p, 285t, and/or
1 1RG1HD11713401 LGBT adolescent and young adult populations 2894-2.
See REASONS FOR EVERY GRANT. In addkion, the Diractves and terminations are also in excess of statutory
Project SMART: Social media Ant-vaping to and contrary to statute—and also violate th oftheU.S.
Reduce ENDS Use Among Sexial and Gender Minority ci of, among other 7 42 U.S.C. 88 282(bKaNDHUN, 282 (m}{2)(3)((4}, 283p, 285, and/or
2 ]RO1DA054236 Teens 2694-2.
]scoREAS REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ame atso in excess of statutory
and contrary to statute—and atso violate the fp fthe U.S.
muttilevel family of, among other 1, among other 42US.C, 84 282(bHBNOKH),
3 RO1HD115554 tomaton among semal and gender minority couples exinica\bi, 283p, 2851, and/or 2894-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
and contrary to statute—and also violate the sep t-p Fa tthe U.S.
Sexual ated in and Constttuth f, among other 42 U.S.C. 38 282(b}(BNONT, 282(mX2){B}(0), 283p, 285¢, and/or
4 SRO1MDO15256-05 Perinatal heatth 289-2. _.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
ty and contrary to Statute—and also violate tple of the U.S,
Sexual lated disparities in and c of, among other 42U.5.C. $8 282(018)(0N, 282(mK2HBHG), 2843p, 2A5t, and/or
5 S$RO1MD015256-0581 health 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations aro also in excess of statutory
euthorny and contrary to statute—and atso violate th fT the U.S.
Advancing novel survey tools to in Participati f, gs 42U,5.C. 48 2a2tbyaKOIGH, 282(m\X2){BKG), 2B3p, 235¢, and/or
6 5R01HD109320-02 and imp Wand heath dataquathy [289e2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara also In excess of statutory
authomty and contrary to tatut 1d also vbotate th pla of the U.S.
Advancing rovet survey tools to increase participation « of, among other 42U.S.C. $3 2824b){8}(0)8, 282{m)(2{BKE), 283p, 285t, and/or
7 3RO1HD109320-0251 and improve sexual and reproductive health data quailty |2552-2.
Ses REASONS FOR EVERY GRANT. In addition, the Directives and terminations aro also In excess of statutary
An f Model to | Risk and ¥ end contrary to stetute—and also violate th pte of the U.S.
Pratective Factors for Sexual Assault Experiences and c f, among other 4205.6. 85 282(oNe)DN, 282(m}(2XB){iz), 283p, 285t, and/or
a $R01MD016384-03 Outcomes Among Sexual Minorty Men 2898-2.
See REASONS FOR EVERY GRANT. tn addition, the Dhrectves and terminations are also in excess of statutory
Pitot ofan Online and contrary to statute—and also violate the fthe U.S.
Program to Prevent Adversttes Among Trans and Other /Consthutlon—becaussof, among other statutes: 42 U.S.C. 85 282(b)(aNOH, 262(m}{2K8)H}, 283p, 285t, and/or
9 SR21MD018509-02 Gender Minorty Youth 2892-2.
See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also in excess of statutory
The Impact of Minortty Stress on Alcohol-Related Sexual jared contrary to statute—end atso violate the separation-of-powers principle of the U.S.
Assautt among Sexual Minority Collega An Cc f, among other statutes: 42 U.S.C. §$ 282(bSDHE), 282(mK2)(BHa), 283p, 285t, and/or
10 SRO1AAN31213-02 Intessectional, Mbed-Methodoto; Stu 2692-2.
See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also in excess of statutory
jauthomy and contrary to statute—and also viotata the separation-of-powers principte of the U.S.
Seayal Assault Recovery Among Sexual Minority Women: [Ci f, amang other 42U.S.C, 68 282(bKSNDXN), 282(mK2KBXE), 283p, 28St, and/or
11 SROIMDO175973-03 A Longitudinal, MultHLevel Study 2892-2.
|Sce REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statute—and also violate th Mincipte of ta U.S.
In ofan SGM-specith L peer 1, among other 542 U.S.C. 8 282(bH@NONE, 262(MNAHBKE). 263p, 265t, and/or
12 1R15A, O1A1 Support SSS+ 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and ate also in excess of
An Online Famay-based Program to PreventAlcohol Use authority and contrary to statute—and also fp tircipte of tho U.S.
and Dating and Sexuat Senal and ft, 2 42U.S.C. 59 282(bH8KOKR, 282(m\(2KBNE), 283p, 285t, and/or
13 1R34AA030652-01A1 Gender Minorty Youth 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also fn excess of statutory
Over-the-Counter PrEP: Acceptability, Feastbihy, and eunorny and contrary to statute—and also ple atthe U.S.
Potential tmpactof, f, among other 42US.C.49 262(b\aXDN0, 282 (m\2)BM}. 293p, 295, and/or
14 1R21MH136855-01 (OFFSCRIPT} 20962,
Sce REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ara also in excess of statutory
autnorty end contrary to statute—end also violate the ple of the U.S,
Oevetopmentand Testing of aMobite to f, among other 4a2U: si Cc. $8 282(bHayOKE, 282(m\2)BKH), 283p, 285t, and/or
18 SR33TWO11665-06 Enhance HIV Prevention Cascade in Mataysian MSM pe902,
See REASONS FOR EVERY GRANT. In addition, the Directves end are also In excess of
authorty and contrary to Statute—end atso violate th: fp pte of the U.S.
Research Coord! Center to Reduce in of, smangath 42U,S.C. 68 282bN8}(O)E), 282{(m)(2XBH), 283p, 285t, end/or
16 3U24M0017250-0481 Multipte Chronic Diseases (RCC RD-MCD) 2008?
See REASONS FOR EVERY GRANT. In addition, the Directives and temminations are also In excess of statutory
authority and contrary to statute—and also violate th ofthe ls.
Ce Center to Reduce D in ¢ f, among other : 42.U.S.C. 58 282(0NSHOHN, 2e2{mH2KBEE, 283p, 288t, and/or
17 5U24MD017250-04 Muttple Chronic Diseases (RCC RD-MCD} 2893-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives and temninations am atso in excess of statutory
euteorty and contrary to ststute—end also violate the f the U.S.
f, mong other 42U,S.C. 88 282(0N8NDYE, 282(h), 262(mH2KBNE), 2830 ()K2),
18 S5T32MH019139-35 B Research in HIV Infection ae, 285t, 265t-1 (aX), 288(2)(4), and/or 2899-2.
Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authomy 2 and contrary to statuto—and also violate the separation-of-powers principle of the U.S.
Increasing financial and health equity among lowincome [C f, among other 2 42 U.S.C. $$ 282(b SONU), 282(m)(2{BKE), 283p, 285¢, and/or
19 3U01MD019398-0351 black youth and young adults «DEA 289e-2. .
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ase also in excess of statutory
authorty and contrary to statute—and also viotate the rincipte of the U.S.
nereasing finenctal and health equity among towincome |C of, among other 42U.S.C. 54 2B2ibHEKDIM, 282(m)}{2}(B)(8), 2633p, 285t. and/or
20 3U01MD019398-0382__ [black yauth and young adults 263a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excass of statutory
authority and contrary to statute—and also violate th i oftheu.s.
Increasing financiat and health equity among towincame |C f, 8 42U,S.C. 89 282{bHE)ONa), 282¢m}{2KBHED, 2983p, 28St, and/or
21 3U01MD019398-03S3 _ | btack youth and young adults - Supplement 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Dlrectives and terminations &re also in excess of statutory
jand contrary to statute—and also violate the ofthew.s,
Increasing financial and health equity among lowincome [Constit f, among other 42.U.S.C. 38 262(b}aNDHIN, 282(m}(2){B)(It), 283p, 285t, andor
22 §U01MD01939a Ibisckyouth and young adults 2890-2.

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Sec REASONS FOR EVERY GRANT. In addition, the Directives and terminations arealso In excess of statutory
authortly and contrary to statute—and also violate le of the U.S.
of and ¢ f, among other 42 U.S.C, 85 282(b)e)(0}, 262(m}(2XB)ih, 283p, 285t, and/or
23 4RO1MD020284-01 _|tor Hiv research with Latine sequal and gender 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also In excess of statutory
Improving Measurement of Alcohol Use and Other and contrary to statute—and also violate the f-power {the U.S.
Disparities by Sex, Sexual Orlentation, and Gender Identity [Ci f, among other 42 U.S.C. 8$ 282(b}{8)[D}(H], 282¢m}(2)(B)Ui}, 2863p, 285t, and/or
24 3RO1AA029076-0451 through Communhy Engagement 28982.
Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations ate also in excess of statutory
Project of Alcohol y and contrary to statute—and atso ylolate the separation-of-pawers principle af the U.S.
Use and Other Dispartties bys Sex, Sexuat 0: and f, among other statutes: 42 U.S.C. $8 282(b}S){DH i), 262(m}(2)(B)ti}, 263p, 28St, and/or
25 SROIAA029076-04 Gender identity through Communty Engagement 2895-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
A Cc Trial of aG: Based and contrary to statute—and also violate the separation-of-pawers principleof the U.S.
tatervention to ReduceAlcohol Useamong Sealand = |G fF, among other statutes: 42 U.S.C. $8 282(b}(2)(D){il), 282(m}{2K{B}itll), 263p, Z6St, and/or
26 '5RO1AA030017 Gender Minortty Youth 2892-2.
‘See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Daily Impact of Seual Minorty Stress an Alcohol-Related fand contrary to statute—end also violate the separatlon-of-powers principte of the U.S.
Tntimate Partner Violence among Bisexual+ YoungAdutts: [C1 f, among other 42U.S.C. 68 282(b)BND)I), 262{m)} (2B). 2863p, 285t, and/or
27 1R21AA031548-01A1 A Couples' Dally Olary Study 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
and contrary to statute—and also viotate the fthe U.S.
Ths Role of Local Structural Stigmain Alcohol Related | Ci b of, among other 242. U.S.C. 69 282 (byeNOICh, 282{m)(2}(8){til), 283p, 285t, and/or
28 1R01AA031637-01A1 among SGM Young Adults 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and teminations are also In excess of statutory
hortty and contrary to statute—and also violate the k pte of the U.S.
Building an interprofessional and diverse workforce in ‘ of, among other 142 U.S.C. 59 282(bNaxD}, 282(h), 282{nK{2(B)(U, 2830 (b){2},
29 1T320A057926-01A1 and pain 283p, 285¢, 285t-1(2}(b), 288{a}(4), and/or 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and tem inations are also in excess of statutary
cl Patiat Stigma and and contrary to s tatut 1d also violate the rincipte of the U.S.
Aftimation | and Their onBtackand |C st, é 42.8.6, 88 2824b} BNO, 282(m)(2)(B)EN, 283p, 285t, and/or
30 41R01BA059240-01A1 Latino Bisexual Men At Risk forSubstanceAbuse and HIV {289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and tem nations are also In excess of statutory
ty and contrary te statute—and also ftheYy.s.
Elucidating minortty stress influences on tobacco useat C if, among other $42 U.S. C. 35 2B2{b} H@xDY, 28) atm}(2) (8)(it), 283p, 285t, and/or
31 [Rot DA0S9480-01A1 the intersection of sexual onentation and rurality 2894-2,
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory
Combtnation of THC and CBD as a Novel Tr for tr and contrary to statute—and also #-powers principle of the U.S.
32 18010; 01 Ca-O1 Optold and Chronic Pain ¢ because of, among other statutes: 42 U.S.C. $9 282(h), 2830 (b)(2I, 285t-1(a)(b), and/or 288{a)(4).
See REASONS FOR EVERY GRANT. in addition, the Directlves and terminations are also in excess of statutory
¢ aJustin-Th p' to and contrary to itatute d also vialate iinciple of the U.S,
Uptake of Ch Harm Redi Servicesin |C #, among other 42U.S.C. 38 282(b}{8 ND), 282(m\2)B}(I8), 283p, 286t, and/or
33 1R01DA061661-01 MSM: A Mict That 2899-2.
See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and alsa violate the f-powers principleof the U.S.
0: long-acting PrEP forsexuat |C f, among other 42 U.5.C. 86 282(b){8)(OM, 282(m)(2KE}(N), 2863p, 285t, and/or
34 f21DA062591 men who use 2894-2.
See REASONS FOR EVERY GRANT. In addition, the and are also In excess of statutory
Effects of Soctal Networks and Polley Contexton Health | authority and contrary to statute—and also violate the rin ciple of the U.S.
among Older Sexual and Gender Minorities in the US ci b of, among other 42 U.S.C, 88 202 HON, 282(m)(2}(B) Ui), 283p, 285t, and/or
35 3R01AG063771-0551 South 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ¢ are also In excess of statutory
Effects of Soctal Networks and Policy Contexten Health | autharity and contrary to statute—and also violate th f-p le of the U.S.
among Otder Sexual and Gender Minorities in the US Constitution—because of, among other statutes: 42 U.S.C. 88 282tb)B)(DME, 262(m}(2}(G)ih), 2863p, 285, and/or
36 5R01AG063771-05 South 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
authority and contrary to statute—and also violate pleofthe U.S.
37 K12GM068524 San Diego IRACDA Program Constitution—because of, among other statutes: 42 U.S.C. 85 282(h), 2830 (b 12), 285t-1 {a)(b), and/or 28B(a}{4).
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutory
authority and contrary to statute—and atso violate th: 7the U.S,
Aacism and in Sexuat and cs f, among other 42 8.0. 55 2a (by8){O}(, 2B2(mIf2yeEKEH, 283p, 28St, and/or
38 }3RO1AGO77934-0387 Gender Minorty Health Inequtties - Supptement 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violate the separatlon-of-powess principle of the U.S.
Structural Racism and Discrimination in Older Men's ic f, among other: = 42 U.S.C. $8 282(bHSHOHil), 262(m)}{2}(B\tii], 283p, 266%, and/or
39 SRO1AGO779346-03 Health 2892-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are aiso in excess of statutory
autharty and contrary to statute—and also violate the separation-of-powers principte of the U.S.
Adotescent Medicine Trials Network for HIV/AIDS. Consthuts f, among other 42 U.S.C. §8 282(bj(S)XD}(i), 282¢en}{2}(8)(il), 263p, 285, and/or
40 5UM2HD111102-03 [Interventions (ATN) Sctentific L ip Center 289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutary
authortty 3 and contrary to statute—and also violate fthe U.S.
Making Universat, Free-of-Charge Antiretroviral Therapy Cc ft, ng Statutes: 42 U.S.C. 58 2e2{oK8 XD), 282{en)\2}BYI, 2863p, 285t, and/or
41 R34MH126894 [Work for Seaial and Gender Minority Youth in Brazil 289-2.
Tcher, Take Charge: Increasing PrEP Awareness, Uptake, |See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutory
and Adherence Through Health Care and th and contrary to Statute—and also violate tinciple of the U.S.
ing Social D of Health Among t b 1, among other 42.8.0. $5 282{b}{8)(D)(M, 282(my(2KB)(E). 283p, 285t, and/or
42 SROIMH128049-04 Racially Diverse Trans Women In the Deep South 2894-2,
See REASONS FOR EVERY GRANT. In addition, the Directves and terminations ate also in excess of statutory
3T-Prevent: Plloting a multHevel, and contrary to statute—and also vielate th ofthe U.S.
intervention strategy to expend HIV and bacterfal STI Constituts of, among other 2 42 U.S.C. 83 282(b)(8 OM), 282(MK2NBHii), 2863p, 285%, and/or
43 5R34MH129208-03 ‘prevention 2899-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also In excess of statutory
authorty and contrary to statute--and atso violate the oftheU.S,
PURPOSE: Posittvely Uniting Researchers of Pain to Cc of, among other 42,8. C, a8 282{0)18 SOC), 282 (myexeyien, 283p, 285t, and/or
44 3R24NS132283-0151 Opine, Sy and Engage 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations afta also In excess of statutory
éuthority and contrary to statute—and also violate th rincipte of the U.S.
PURPOSE: Positively Uniting Researchers of Pain to Constitutlon—beceuse of, among other statutes: 42 U.S.C. 88 2B24bNe SDE), 282{m)(2}(B) {ili}, 23p, 285t, and/or
45 1R24N5132283-01 Opine, Synthesize. and Engage 289a2.

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Brief dighal ntervention to increase COVID-19 vaccination
46 1RFIMH132360-01 among Individuals with enxety ordepression See REASONS FOR EVERY GRANT.
Sce REASONS FOR EVERY GRANT. In addition, theD and are also In excess of ry
The Socicecolagy of Sexual Minority Stigma: Data ity and contrary to statute—and also violate top oftheU.S.
Harmonization to Address Confounding Bias and f, among other 42U,5. . 58 282{H8)DMI, 282(mi2}{B)(i), 2863p, 285t, and/or
47 §RO1MH133821-02 jaesteate Cross-Level Mental Health Effects 2892-2.
Biswual adolescents’ and young adults’ risk for See REASONS FOR EVERY GRANT. In addition, the Directives and ih are also in excess of
and suicidal C and contrary to stature—and also violate the sep. fp Mthe U.S.
risk and factors, and y C 8 statutes: 42 U.S.C. 58 282(0(BNON, 282(m}2KBKA), 283p, 285t. and/or
43 1R01MH138335-01 mechanisms 2898-2.
‘See REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in excess of statutory
and contrary to Statuto—and also f-p i fthed.s.
{Structural Racism as a "Third hit" on kidney of Jc g statutes: 42 U.S.C. 85 282bNB)ND\A, 282(h), 282(mh2HB}E), 2830 (b)(2),
49 SK23DK139454-02 Btack individuals with APOL1 risk alteles 2863p, 2851, 285t- fab), 288(a)(4), and/or 2692-2.
See REASONS FOR EVERY GRANT. [n addition, the Directlves and temainations are also In excess of statutory
and contrary to statute—and also rinciple ofthe U.S,
50 $132GM141862-04 [IBloSTeP: NIH G-RISE progrem atUC Merced Consttution—because of, anong other statutes: 42 U.S.C. 59 282mm), 2830 wyl2), 285t-1(2)(b), and/or 28B{ay4).
[See REASONS FOR EVERY GRANT. (n addkicn, the Directives and terminations are also in excess of statutory
fand contrary to statute—and also vialate pleoftheU.s,
1, among other 42U.S.C. 88 282{bKeNDNN, 282(h), 282(m)(2}(BHki). 2830 (b){2),
51 4RO1GM155395-01 Promoting inclusive Exceltence 203p, 285t, 285t-1(a}ib), 288(a)(4}, and/or 28982.
See REASONS FOR EVEAY GRANT. In addition, the Directives and terminations are also in excess of statutory
Ic ofthe TIME by flat ity and contrary to statute—and also violate ofthe U.S.
52 4K99GM155594-01 |spatial profiling Consttution—because of, among other statutes: 42 U.S.C. 88 282th), 2830 (b}2}, 285t-1(a (aX), andyor 288(ay(4).
[53 1U99A1171110-04 QCRG Pandemic Response Program See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
) Enhanced COhort methods for Hiv end and contrary to statut d also violate the sep f the U.S,
Epidemiology (ENCORE) among womenin = [C of, ig 42U,5.C. 88 282(5H8)(ONE, 282(mX2)(B}(4), 283p, 285¢, and/or
54 5RO1AI172092-03 the Unted States 2993-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and are alsa in excess of
and contrary to Statute—and atso violate th: fp ifthe U.S.
Cabotegravir PrEP: Actionable Robust Evidence for ci of, among other 42.8.0. §8 282{b{8 (ON), 282(m)(2)(B Hii), 2683p, 285t, and/or
55 §RO1A1174862-03 Translation Into Practice (CABARET) 2893-2.
Pi ofc y ft See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
& of and p: phy and contrary to statut id atso violate the f the U.S.
56 1F319A1181431-01A1 antibiotic use as pepuaton ove s strategies Consthution—hecause of, among others statutes: 42 U.S.C, 38 202(n), 2830 ){2}, 265t-1(akb), and/or 268(ay4).
‘See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authorky and contrary to statuto—and also violate f-pow tincipte of the U.S.
Testing effectve methods to recruh sexual and gender Cc of, 42U.5.1 .c, a6 2B2OKAHONA, 282(m)(2)(B NG), 283p, 285t, and/or
S7 ROICAZGS945 minority cancer patients for cancer studies 289e2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations arealso in excess of statutory
Cell type-specific Isms of ry fity and contrary te statute—-and also violate th ple of the U.S.
58 5K99NS12975302 1p biases in sensory cortex Canstitution—because of, among other statutes: 42 U.S.C. $5 282{h), 2830 ( (b)(2}, 285¢-1{a}{b}, and/or 286{aK4).
Understanding the rote of coxed-codl domains In See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are alsa in excess of statutory
Uguid-iqud phase of protein authority and contrary to statute—and also violate tthe Ws.
§9 F31GM151838-02 tin cell division Consthution—because of, emang other statutes: 42 U.S.C. 85 2: 282(h), 2630 (b)(2), 285t-1{a){b), and/or 288(a)(4).
Alzheimers Disease and Related Dementia Sea REASONS FOR EVERY GRANT. [n addition, the Directives and teminations are atso In excess of statutory
and to Traffic Pottution authonty end contrary to statute—and also violate the ipte of the U.S,
60 1K99AG086530-01 Motures Constitution—because of, among other statutes: 42 U.S.C. 88 282th), 2830 (bX2), 285t-1(ayb), and/or 288(a}{4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso in excess of statutory
Short on for ig and énd contrary to statute—end also violate the sep fs the U.S.
Counting Hard-to-Reach Populations: The HOR Training c f, among other 42 U.S.C. 282(bN8}{D}), 282(m}2)(@)(5). 283p, 255t, and/or
61 #26MH129290 Program 2892-2.
‘See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
One \ Stigmato and contrary to statute—and also viotate the separatien-of-powers principie of the U.S,
Op the HIVE c among c of, among other 421.8.C. 68 282(b)SNONil), 282(m}{2}(BNE), 2863p, 265t, and/or
62 OP2A1164315 Vulnerable Populations in the United States 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
o tot Gom-Directed 9 | authorty and contrary to statute—and also violate {the U.S.
63 1F30 01 and Habit Leeming Constitution—because of, among other statutes: 42 U.S.C. 53 262m), 2830(b)(2}, 285¢-1 (a}(b), and/or 286(a){4).
Sea REASONS FOR EVERY GRANT. In addition, the Directves and terminations are also In excess of statutory
autharty and contrary to statute—and also violate rinciple of the U.S,
Advancing Tabacco Regulatory Science to Aeduce Health |C b f, among 42US. 0. 88 282{b(8 (0X0, 282(m{2}(B)(4), 2683p, 265t, and/or
64 usa 02 Oisy 289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
PRIDE-CARES: Pationt-Ri forONerse and contrary to statuta—and also f-pov tthe U.S.
Ei = LGBTQ+¢ Action In to [Gr f, among other statutes: 42 U.S.C, $9 262(0}(8XD), 282(m}2XB)(G), 2983p, 265t. and/or
65 1R24DA061150-01 Eliminate Substance Use Disorder 289a-2,
[Sco REASONS FOR EVERY GRANT. tn addition, the Directves and terminations areaiso in excess of statutory
authority and contrary to statuta—and also violate aftheU.S,
Race & Place: The Impacts of Racial Inequity on Cc f, among other 42.8.6. $9 262(b}{a NOK, 282(m)(2)}{8}(Id}, 283p, 285t, and/or
66 1R01DAG61345-01 Substance Use and HIV Outcemes in Los Angeles [ezas
Community and big-data system approaches to See REASONS FOR EVERY GRANT. [n addition, the Directives and wealso in ewes of
identifying and the health impacto and contrary to statute—and atso violate rincipie of the U.S.
l 1F310A061593-01 lazing Constitution: of, smong other statutes: 42 U.S.C. 88 26: om 2830 (b}{2}, 285t-1{a}{b), and/or 288{a}(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations arpalso In excess of statutory
The role of valence ding in and contrary to statute—and also violate th f the U.S,
68 4K99DA0G2328-01 avoidance behavior Constituton—because of, among other statutes: 42 U.S.C, $6 2821 in). 2830 (b){2), 26St-1 {a}ib), and/or 268(a}(4).

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory

theroteof ¥ and contrary to statute—and also t-powers f the U.S.
69 BKOODAC62570-02 the nucteus sccumbens in OUD Constttution—becausaof, among other statutes: 42 U.S.C. 88 282(h). 2830 (b}I2}, 285t- 1 (8)(), and/or 28B{a}{4 }.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutary
Exemining Heaith Comorbidites and Healthcare aurnorty and contrary to Statute—and also violate ofthet.s.
Utization Disp among Older and f, among other 42U,5. C. 85 282(b)(exD¥, 282{m}(2KB}t, 2834p, 285t, and/or
70 RO1AG073440-03 Cisgender Adults in the U.S. 2es52.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also In excess of statutory
authority and contrary to satute—ond alse violate powers f the U.S,
Social Networks and Cognitve Health among Black and =| f, among other 42.U,5.C. $5 282(b)}(8}(D) {i}, 282(mI{2IBHE, 283p, 285t, and/or
71 4R01AG089099-01 Latino sexual minartty men in NJ 289-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are aiso tn excess of statutory
\ ding and Supporting Reproductive Cecisi rity anid contrary ta statute—end also violate ofthe U.S.
Among Women with { Disabiltdes that ci ft, among other statutes: 42 U.S.C. 85 282(0N8}(O}G, 282(h)}, 282(mK2)BHM), 2830 (b}(2},
72 RO1HD105655-0481 Aifect Cognition 2863p, 285t, 285t-1(ayb}, 2B8(a}t4), and/or269a-2.
See REASCNS FOR EVERY GRANT. tn addition, the Directives and terminations are atsa in excess of statutory
jumomty and contrary to statute—and also violate th: ftheU.S,
f, among other 3 42.U.S.0. 88 282(0y8NOMR, 282(h), 262{mK2XBKH), 2830 be),
73 SK12GM106996-09 JIRACDA atUcla 283, 285t, 28St-1(ayb), 288(a)(4), and/or 269a-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives end terminations are also in excess of statutory
authortty and contrary to statute—and aso violate fp: Ipie of the U.S.
t the power of text toreduceHiv = |C ft, among other 42US.6.88 282(0(SHDKE, 282(m}(2\B)G}, 2683p, 295t, andor
74 §U01HD108738-03 incidence In adolescent mates across the Unked States 2899-2.
& Teen-Parent D la covID-
75 R21HO109536 19 Vaccine Acceptance and Uptake See REASONS FOR EVERY GRANT.
Health Care Decks for
76 1RG71HD170428-01A1 Vacelnes: A Community-Based Participatory Approach [See REASONS FOR EVERY GRANT.
Sea REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in excess of statutosy
D p and Initial Trial of Bret to Help and contrary to statute—znd also viotete the separatlon-of-powers principle of the U.S,
Parents of Stigmatized Youth Reduce Distress and Constiuth of, among other 42U.S.C. 68 282(b}{S}D){N), 282(m]}{2}(B}A), 263p, 2BSt, andor
77 1R21HD110617-01A1 28922.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are atso in excess of statutory
authority and contrary to statute—and also viotate the fthe U.S.
|A couples-based app toHIVe for f, among ather 42U.S.C. 88 2B2(bBxDMi, 282(m\{2\BXE). 283p, 285t, and/or
78 O7MH115765 Jbansgeaderwomen and their mate partners 2894-2.
See REASONS FOR EVERY GRANT. In addition, and are also in excess of
The Caltfomia Bath Project and contrary to statute—end also violate fp Fincipic of the U.S,
Advancing Bith Equity through (ncomefar = [Ci f, 8 42U.S.C. 5§ 282(0NSNDNG, 282(m)(2XBXE). 283p, 285t, and/or
79 1R01HO115985-01 Pregnant Peopte 2892-2.
See REASONS FOR EVERY GRANT. In addition, th and are also in excess of y
autharty and contrary to statuto—end also f-p ofthe U.S,
R equity to and g perinatal f, ig statutes: 42 U.S.C. 5 282{oH8)1D), 282(m}(24B)(i), 2583p, 2651. and/or
80 R25HD116367 pe {Remep-tPV) 20902,
See REASONS FOR EVERY GRANT. In addition, the Directives and tenniinations are also in excess of statutory
authorty and contrary to statute—and also f-pow ipleoftha U.S,
I, among other 42U,S.C. $8 282(bH8)DKE), 282 (m}(2KBKU), 2683p, 2851, and/or
81 3P30A1117943-1081 Third Coast Genter for AIDS 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations &re also (n excess of statutory
Biopsychesocial mechant derlying & y and contrary to statute—and also violate ofthew.S.
psy gy in aprosp pop based ce , among other 42US.C. 38 282(b Ke OH, 282(m}(2){B)(}, 283p, 2951, and/or
B2 SRO1MH118245-05 cohort of sexual minorty young adults foeoez
See REASONS FOR EVERY GRANT. tn addition, tha Directles and teminations are also in excess of statutory
aathonty and contrary to statute—and also violate the sep of theU.S.
SHINE Strong: Buding the pipeline of HIV f, among other 242 U.S.C. 85 282(DNBNOVE, 282(h), 282(mN2HBKEN, 2630 (bX2),
83 R25MH119858 with exp tn vans population heath se 1» 28S, 2851-1 (ab), 268(a)(4), and/or 288a-2.
‘See REASONS FOR EVERY GRANT. [n addition, the Directes and terminations are aiso in excess of statutory
authorty and contrary to statute—end atso violate f-powers f the U.S.
of, emongother 42 U.S.C. 88 282(DKS OME), 282(m|(2XBNE), 283p, 285t, and/or
a4 §R33MH120236-045 Suicide Prevention torSeual and Gender Minority Youth_/289a-2.
‘See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In exess of statutory
Mieroagg) and to and contrary to statute—and also violate th Fin ithe U.S.
Interventions for Change (MMAGIC) for Black Women C of, emong other 42U,8. C. a8 2B2ONSI(D)M, 282{m}(2XB}E), 2863p, 285t, and/or
85 6RO1MH121184-04 Using wih HIV 2894-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also In excess of statutoly
6K99NS126639/RO0NS1 authority and contrary to statute—ond also violate tthe U.S.
86 26639 Mitochondrlal fidelity in mammatian neurons Consthution—becauso of, among other statutes: 42 U,5.C, $5 282(h), 2830 (b)(2), 285t-1 {a)(b), and/or 288(a)i4),
Pipeline to Graduata Education and Careers in Behavioral {See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara also in excess of statutory
and Soctal Sek R h for URM hortly and contrary to statuto—and atgo violate the separation-of-powers principte of the U.S.
Addressing HIV in Sexual and Gender Minority C f, mang other 42. U.S.C. 85 282(6}(8}{D}(I), 262(h)}, 262{m}N2){B){ti}, 28390 (bH2),
87 SR25MH126703-05 Communities 2863p, 265t, 285t-1(ayid), 288(a}(4}, and/or 2890-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and teminations are also in excess of statutory
jauthorty and contrary to statute—snd atso violate the rth f the U.S.
eC focused HIV through the Next [C if, among other 42U,S.C. 8 282{bX8)(0}, 282{h), 282(m)(2KBXE), 2830 {oH2),
83 5132MH126772-04 Generatlon for Equity (CHANGE) Training Program 283p, 285t, 285t-1 (ao), 268(a}(4}, and/or 2693-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statute—and aso violate the separation-of-powers principle of the U.S.
si the HIV for 1, among other 42 U.S.C. 88 282(b)(8}(0){2), 282(m)(2{BXi), 283p, 285t, and/or
89 §R21MH128114-02 jwomen living with HIV in Malaysia seo0?,
‘See REASONS FOR EVERY GRANT. In addition, and are also in excess of vy
authority and contrary to statute—and also viotate the sep i-powers: oftheU.S.
STIR and Under Pr&P C f, a 42U,S.C. 55 2B2{H8 DKA), 282 (m}(2HBKE), 263p, 285t, and/or
90 $RO1MH128130-04 STIRRUP) 2892-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are alsa In excess of statutory
and contrary to Statute—and also oftheU.s.
Project STRIVE Rising ebove) - Ott the |e f, amongother 42 U.S.C. 88 262(b}(aNDNE, 282(h), 282(m\(2BYKi), 2830 (b)(2),
a1 3RO1MH128729-03S2__ health and mental health costs of resilience 263p, 2851, 285t-1(ayb). 288(a)(4}, and/or289a-2.

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authorty 4 and contrary to statute—and atso violate pte of the U.S.
to Prevent HIV Acquisition Among Ti c f, among other 42U,S,C. 88 287(bK8NDHI, 282(m}{2\(BNG), 2833p, 285t, and/or
82 7RO1MH129175-03 MSM In the US 2699-2.
See REASONS FOR EVERY GRANT. [n addition, the D and are also in excess of statutory
Brothers bultding brothers by breaking bantiers (BS): A authorty and contary to statute—and also violate tthe U.S.
resklence-focused intervention for young Black gay and = | C f, smong other 42U;5.C. $$ 2e2[eNeXDN, 282(m}2)(8)G), 283p, 265t, and/or
93 |R34MH129187 men living with HiV 2898-2.
Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are aiso in excess of statutory
Data-driven, peered messaging using social media authorty ond cantrary to statute—end stso violate fp Ipte of the U.S.
to increase PrEP awareness and upteke c f, among otter: 7 42 U.S.C. $8282 {bNSNOKA, 282(m}{2}(B)H), 2863p, 285t, and/or
94 SR34MH129189-03 among transgender women 2896-2.
See REASONS FOR EVERY GRANT. tn addition, the DirectWves and terminations are also in excess of statutory
Buthority 8nd contrary to statute—and also violate the separation-of-powers principle of the U.S,
Amutt-level approach to improve HIV p end f, among other 42U.S.C, 58 282(b)(BNOMi), 282(m}{2(B}El), 283p, 265:, and/or
95 ROo1MH129285 care for transgender women of color pe002.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Al and exp of y and contrary to statute—and also violate the fp fthe U.S.
rejection sensitivity and its rote in seaal minority Constitutto n==because of, among other statutes: 42 U.S.C. §§ 282 {bXENDIE), 282(mi 2) B)tl), 2863p, 2652, and/or
96 SRO1MH130975-02 mental health 289-2.
See REASONS FOR EVERY GRANT. In addkian, the Directives and terminations are also in excess of statutory
MyPreP Plus: Development and Pitot Testing of Navel Pre-| autnarty and contrary to statute—and also violate the fp incite of the U.S,
Exposure Prophylais Support Tools for of, among other 742 U.S.C. 59 2e2(oKE KDI, 2H2(M}{2}(BMiil), 2BSp, 28St. and/or
97 R34MH132495-01 Women 7e502.
Sea REASONS FOR EVERY GRANT. In addition, the Directives and are also tn excess of vy
authortly and contrary to statute—and also violate f-p rinciple of the U.S.
Understanding the Regianal Ecotogy of a FutureHIV Ci of, among other 42U,5.C. §4 2a2oyeKD}M, 252(m{2HB)H), 2Sp, 265t. and/or
38 SROTMH132415 Vaccine 289a-2.
hased mental Ses REASONS FOR EVERY GRANT. In addition, the Directives and itions are also in excess of
healthcare in tow-resource community settings authorty and contrary to statute—and also vi rinciple of the U.S.
nationwide to advance mental health equity for seaual Constkution—because of, among other statutes: 42 U.S.C. $9 282(bHBNDKA, 282 (m}(2KBKS), 283p, 285t, endfor
89 §RO1MH133543-02 and gender minority 283a-2.
Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Ti Minorty to Eating Osonter and contrary to statute—and also ofthe Us.
in Sexual Minosty Individuals with Eatng € 7, among other 42.U,S.C. 8 282(b){@ DK, 282(m\2KB)(), 2983p, 285t. end/or
100 1RB1MH133710-01A1__[D 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and teminations are also in excess of statutory
Jeuthorty and cantraty to statute—and also ple oftheU.S,
Uthizing a human stem cell modet of th h to among other 342. U.S.C. $8 282(b}{8xDKO, 282(h), 282(m}2KBKE), 2830 (bX2),

101 AROODK1336804 Understand racial disparities during Injury repair [ze2p, 265t, 285t-1(a}(b), 288(a)(4}, and/or269a-2.

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory

Using youth-engaged methad's to develop and evaluates authodty and cantrary to statute—and also violate fp fthe U.S.
fordt eating In of, among other 242 U.S.C. 88 282{0118 MOKA), 282(mK2}(8}(0), 23p, 245t, end/or
102 1K23MH134111-01 and gender-diverse youth 70502,
Understanding Patient Levet Implementation See REASONS FOR EVERY GRANT. In addition, the Directives and temingtions are alse tn excess of statutory
c Related to Long-acting Injectable HIVPre- | suthority end contrary to statute—and also violate fthe U.S,
Exposure Prophylaxis among Young Men Who HaveSax | of, among other: P42 U.S.C, 88 282(b)B]OM), 282(h), 282 (m}(2}{8}(h), 2830 (b}(2),
103 1€31MH134720-01A1 with Men Living In Rural Areas 2893p, 285t, 285t-1(a)(b), 288(a}(4), and/or 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
Atandomized ctinical tal of cltent- dcsre hority and contrary to statute—and also violate th ithe U.S,
ition to improve pre-exp prophy usefor |C of, among other statutes: 42 U.S.C, §5 2824OKB)(O}C, 282{m H2}B) it), 2B3p, ZSt, and/or
104 5RO1MH134721-02 Black men who have sexwith men 2898-2,
See REASONS FOR EVERY GRANT. tn addition, the Directives anc terminations are also In excess of statutory
authority and contrary to statute—and also violate th t-powers f the U.S.
into af, among other 42 U.S.C, $5 282(bNeHD}i}, 282¢h}, 282(m)(2KBKE), 2830 (b}2),
165 1R210K134815-01A1 model for automated patient diabetic counseling. 2839, 285t, 285t-1 (a)(b}, 288{a)(4), and/or 28922.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Youth Emp end Safety tor Sy and contrary to statute—and also violate the sep Fp Ss ple of the U.S.
Sexual and Gender Minorty Youth at Risk of c if, among other 42 U.S.C, 88 282(b\8HDKD, 282(m}(2K8}(), 283p, 2851, and/or
106 1R34MH134912-01A1 Suicide 2893-2.
Seo REASONS FOR EVERY GRANT. Int addition, the ves and are atso in excess of y
Onytocin receptor Sccial and contrary to statuto—and also violate fap en f the U.S.
107 5K39MH13506102 via hippocampal CA2/3 tunction Constkution—becausa of, among other statutes: 42 U.S.C. 58 282th), 2830 (b}(2). 285t-1 (ay), and/or 288(a}{4),
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
y tor: impact of aHeaithy C and contrary ta statute—and atso violate ofthe U.S.
Poiky on Healthtu Grocery and Cc ft, among other 742 V5.0. 88 282(ox8)(D}i), 282(h}, 282(mY2KBXH), 2830 (52),
108 3R010K135099-0251 Sales 2683p, 265t, 265t-1(ayd), 288(a)(4), and/or 2692-2.
See REASONS FOR EVERY GRANT. In addition, th and are also in excess of
authorty and contrary to statute—and also viotate the separatlon-of-powers principte of the U.S.
tT tothed and f, among other 42 U.S.C. 58 282{b)lS}(D)H), 282ch), 2BAtmN2NG)KD, 2830 (b)(2),
109 R36MH135619 evolution of the human cerebral cortex 283p, 285t, 265(-1(a}(b), 208(a}{4), and/or 2892-2.
Seo REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
autharty end contrary to statute—and also violate ofthe ws.
The psychotogkal underpinnings of geaderdisparttles in |Constitution—because of, among other statutes: 42 U.S.C. 58 2e2{bHEND\ED, 282(h), 282{mK2)(BHE), 2830 (b)(2),
110 |5F32MH13$634-02 adolescent mental health 283p, 2651, 285t- 1 (a(b), 288(a}{4), and/or269a-2.
Knowyourstatus: A cluster randomized controlled triat

comparing healer-Initiated HIV counseling and testing to
411 fROIMH135738 of care in rural South Africa Sce REASONS FOR EVERY GRANT.

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and atso violate the sep pleoftheuU.S.
112 5P99NS13576702 Neural basis of movementin health and disease Consttution—because of, among other statutes: 42 U.S.C. $8 282th), 2830 (b){2), 2851-1 (ax), and/or 288(a}4).

See REASONS FOR EVERY GRANT. In addhion, the Directives and are also in excess of

authorty and contrary to statute—and also viotate th fof ipte of the U.S.

113 1K99MH135993-01 Neural circuttdy of spatial reward memary Constiution—because of, among other statutes: 42 U.S.C. 3§ 282{h}, 2830 (b}{2), 285t-4 (ab), and/or 268(2}(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations aro also In excess of statutory
authorty and contrary to statute—and also violate the separation-of-powers principle of the U.S.

Mobile pop-up units far smong « b of, zg 42U.5.C, §§ 292(b}HeHO KM, 282¢m2XBHE), 2863p, 285t, and/or
1344 ARZ1DK136084-01AT Hispanics In rural Indiana 2894-2.

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See REASONS FOR EVERY GRANT. fn addition, the Directes and terminations are aso in excess of statutory
o theroleof tion in clinical authortly and contrary to statute—and also viotata the tp fthe U.S.
and gsemual c f, amang other 42U,S.C. 58 2e2(b){SKD ME, 282%), 282(mM2KBXE), 2830/bX2),
115 1F31MH136729-01A1 people with OCD: A machina leaming approach 1283p, 265t, 285t-t(a(b), 288(a{4), and/or 289-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authartty and contrary to statute—2nd also violate the separatlon-of-powers principle of the U.S.
Renal Equity through P And Cc of, among other 42.U.5.C, $4 282(by8)(D)il), 282(m)(2 NBM), 283p, 286t, and/or
116 6U01DK137259-02 Stuctural Transformation (REPAST) 2899-2.
CommunityRx- Chronic Kidney Disease (CRx-CKO): An «| Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
EMR: referral end contrary to statute—and atso viotate the separation-of-powers principte of the U.S,
to address strietural racism and kidney heatth Cc f, among other 42U.S.C, §§ 282(bKSNDKE), 282iMH2KBHY), 2863p, 2651, and/or
117 1U01DK137262 in eral North Carolina 289-2.
|5es REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—end also viotate the separatlon-of-powers prncipte of the U.S.
Mitigating the Effects of Structural Ractsm on Chronic Constiution—b f, amang other 42U.S.C. §8 282(b)(BNOMI), 282im}{2}(BHUi), 263p, 26St, and/or
118 §U010K137269-02 Kidney Disease Disparties among Affican Americans 2992-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statute—and atso violate the ipte of the U.S.
NAVIGATE Kidney: A MulthLevel toReduce [C f, among other: 342 U.S.C. 88 282(bN@NDMA, 282(m2}(BXG), 283p, 285t, and/or
119 §U010K137272-02 ]Kidney Health Dispartties 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and are also In excess of
authority and contrary to statute—end also violate the top Ipte of the U.S.
ALIVE: Ds and of apsy f f, among other 42U.S.0. 98 262{DNSNOV, 282(h), 282(m)(2)B){iti), 2830 (b}{2),
120 K23MH137389-01 Jintervention for sexual and gender minorty autistic adults |283p, 2851, 285t-4(a)(b), 288(a}{4), and/or 289a-2.
See REASONS FOR EVERY GRANT. In additicn, the Directives and terminations are also in excess of statutory
and Mapping of Risk and and contrary to statute—and also violate taciple of the U.S.
tor Suicidal Thoughts and Behaviors in Sexual and Gender |Consttution—because of, among other statutes: 42 U.S.C. 88 282{0NSNDYE, 282(mMK2KBXE), 283p, 285t, and/or
121 1R01MH137695-01 Minonty Preteens 2894-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Developing and pilot testing an eHealth decision support authority and contrary to statut d also viotate the incipte of the U.S,
tool faryoung trans women to imp! d ¢ of, among other 4214,8.C, 98 282 (PXSHOIE, 282(m\{2 HMB}Hl), 263p, 26St, and/or
122 1R34MH137753-01 making about PrEF 2892-2.
Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also tn excess of statutory
authority and contrary to statute—and also violate f-p ls fthe U.S,
Mental Health Effects of Mariage Polley: trom f, among other 42 U.S.C. 88 282[0}8)(D)E, 282(my2KONE), 2862p, 285t, and/or
123 1RO1MH140023-01 Linked Administrative Oata tn New Zealand 7a9e2,
See REASONS FOR EVERY GRANT. (tn addition, the Directives and terminations are aisa in excess of statutory
authorfly and contrary to statute—and ntso violate the separatlon-of-powers principle of the U.S.
124 5ROOGM140269-04 Evolution of Cargo Transport Constitutlon—because of, among other statutes: 42 U.S.C. 88 262(h), 2839 (bX2), 285t-1 (ay), and/or 288(a}(4},
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations aze also in excess of statutory
Fey ptor-Mediated Pi of ly y and contrary (o statute—and also violate th Hactpte of the U.S.
125 1K99DK140511-01 Therapies in Type 1 Diabetes Consttutia f, among others 3 42 U.S.C. $3 282 (0). 2830 {bX2). 285t-1(akb). and/or 286(a44}.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Madmizing Access to Research Careers (MARC) at autharity and contrary to statute—end also violate the separatlan-of-powers principte of tha U.S.
126 5T34GM141986-04 y of Hawall st Manoa Consthutle f, among other statutes: 42 U.S.C. §$ 282(h}, 2830 (bN2), 2851-1 fad), and/or 288 (a}(4}.
Regulation of zine-d hot 1 | See REASONS FOR EVERY GRANT. (n addRtion, the Directives and terminations are also in excess of statutory
5K99GM146016/4R00GM | restructuting, zinc tratticking and tow zinc homeostasis in authority and contrary to statute—end also violate the separatlon-of-powers principle of the U.S,
127 146016-03 iC. elegans and human model systems Consthuton—because of, among ather 42U.S.C. §8 282 (hj, 2830 (D2), 285t-1 (ay), and/or28s (aya).
Sea REASONS FOR EVERY GRANT. In addhion, the Directives and terminations are also in excess of statutory
authorky and contrary to statute—and also violate the sepatation-of-powers principle of the U.S.
128 K99GM146243-01 The genetic control of number and behavior Constitution—because of, among other statutes: 42 U.S.C. §8 282(h), 2890 (b)(2), 285t-1(a}(b), and/or 28a! (a}(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
| Understanding end rewiring cellular behavior with authorty and contrary to statute—end also violate the ifthe U.S.
129 5K99GM147825-02 [synthetic biology approaches Consttution—becsuse of, among other statutes: 42 U.S.C. 58 262(h), 2830 (}(2). 285t-1(a}(), and/or 288(a%4).
See REASONS FOR EVERY GRANT. In addhion, the Directives and ae also in excess of
Etuck the of matrix and contrary to statute—and also violate p f-p tinciple of tha U.S.
130 5K996M148619-02 Jand virus-induced fibroblast activation Constitution—because of, among other statutes: 42 U.S.C. $8 282{h), 2830 (u)(2), 285t-1(a}(b), and/or 268{ay(4).
See REASONS FOR EVERY GRANT. In addkton, the Directives and terminations are also in excess of statutory
Cardiovascular Health of Sexual and Gender Minorities In Jauthortty and contrary to Statute—and also violate ” f-p i MtheU.S.
the Hispanic Communhty Health Study/Study of Latinos = | C: z 42U.8.C. 89 282{b} HBOS), 282(j(2KB)(El), 263p. 285t, and/or
131 5RO1HL149778-05 SGM HCHS/SOL) 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso fn excess of statutory
Nuclearand ib during pop y and contrary to statute—and also oftha.s.
132 ]K99GM151487-02 cell death in C. elegans ang Gonstttution—because of, among other statutes: 42 U.S.C, #8 282(n), 2630 (b}(2), 285t-1 {a)(b), and/or 288(a)(4).
Charactertring tha role of tumorsuppressor phase Se REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso in excess of statutary
andch In authorty and contrary to statute—and also violate the sepzration-of-powers principle of tha U.S,
133 K99GM151473 fenomic in! Constkution—=because of, among other statutes: 42 U.S.C. 83 282(h), 2830 (b'2}, 285t-1 {a){b), and/or 288(ay4).
See REASONS FOR EVEAY GRANT. tn addition, the Directives and terminations are aiso in excass of statutory
SX99GM152634- R ot by tyrosine authority and contrary to statute—and also t pleofthev.s,
134 02/4ROOGM152834-03 yy ofan enzymes Consttuton—because of, among other statutes: 42 U.S.C, $3 262(h), 2830 { §b}2), 285t-1{a}(b}, and/or 288(a}(4).
See REASONS FOR EVERY GRANT. ta addition, the Directives and terminations are also in excess of statutory
Testing the 7 ofrapid and contrary to statute—and also violate ple oftheU.s.
135 SK99GM152835-02 DNA and protein evolution Constitutho: ft, among others - 42 U.S. .C. 35 262{h), 2830 bH2), 2851-1 (a}fb}, and/or 286(a}(4).
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
RNA and genome regionalization in giant singte cells: atthorky and contray to statute—and also violate the sep fp le ofthe U.S.
136 1K9SGM154059-01A1 implications for cellular pareming Constitutlon—because of, among other statutes: 42 U.S.C. 88 282{h), 2830 (bK2), 285t-1(a}(b), and/or 288{a}(4),
Se¢ REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
tnvestigating UPF3 paralog function in Nonsense- jautharty and contrary to statut d also violate the fp ifthe U.S.
137 K59GM154061 Mediated mRNA Decay and Genet Compensation

Consttution—because of, among other statutes: 42 U.S.C. 86 202{n), 2830 {b}{2}, 285t-1 (ahd), and/or 286(a}(4).
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Diversity Supp f See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in axcess of statutory
albendazole resistance markers in human infective authority and contrary to statute—and also violate the sep fp plo of theU.S.

138 3R01AI155739-0451 Jhelminths using dual ampticon metabarcoding Consttution—because of, among other statutes: 42 U.S.C. 38 282(h), 2830 Vb 2). 2a5t-1 (aj{b). and/or 288(2}(4).
See REASONS FOR EVERY GRANT. tn addition, the Diectives and terminations are also in excess of statutory
authorty and contrary to statute—and also violate top fthel.S.

139 1KS9GM157463-01 Buliding Dendrite Architecture via Microtubule Nucleation |Constttuton—because of, among other statutes: 42 U.S.C. 88 262(h), 2830 (b}(2), 285t-1 (a}(b), and/or 288(a}(4).
See REASONS FOR EVERY GRANT. tn eddition, the Chectives and terminations are alsa tn excess of statutory

tt youc p and contrary to status \d also viclate the ofthev.s.

140 K99GM157504 regulation Constttution: f, among other statutes: 42 U.S.C. $8 262{h), 2830 (b}{2), 285t-1 {a}(b), and/or 268{a)(4).

See REASONS FOR EVERY GRANT. tn addition, the Directves and terminations are also In excess of statutory
atp k plasia and and contrary to statute—and aso violate the {-powers principle of the U.S.

141 1KSSGM159354-01A1 neoplasia cs f, among other 3 62 U.S.C. $8 282{h), 2830 {b}(2), 285t-1{a}(b), and/or 288(a)(4).
See REASONS FOR EVERY GRANT. tn addition, the Directives ond terminations are alsa in excess of statutory
authanty and contrary to Statuto—and also violate the ofthe U.S.

Stigma and th: disease in f, among other 42.U,S.C, 88 282(0}(8O}, 282(m\(2)(B){i5), 283p, 285t, and/or

142 5RO1HL160326-05 aging HIV positive and HIV negative MSM 289-2.

143 3P01AI165075-0181 Broad neutralization of pandemic threat coronaviruses See REASONS FOR EVERY GRANT,

Uptake, safety and of COVID-19 Vacch
144 RO1A1169239 during Pregnancy See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, the Dkectives and terminations axa also In excess of statutory
authory and contrary to statute—and atsa violate f the U.S,
| Examining the Rote of Structural Factors In Racial end Cc f, among other 42.5.0. 88 282ioKE HNO}, 282(h), 282(em)(2HB\(E), 2830/ b){2),
145 SKS9HL169908-02 Ethnic Disparities in Cardiovascutar Disease 283p, 265%, 285t-1(ak{b), 288(a)(4), and/or 2894-2,
‘See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Pp 1g Phage-based with }eutharity and contrary to statute—and also violate th ifthe U.S.

146 SKS9AI173544-02 immunoengincering Consttution—because of, among other statutes: 42 U.S. C. 8 282(n), 2830 (bh 2), 285t-1(a}(b), and/or 288(a}(4).

‘See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also in excess of statutory
a E theF and Ti of and contrary to statute—and also viotate the sep t-p fple of the U.S,

147 1KS9HL173668-01 Heart Fakure wih Preserved Ejection Fraction (HFpEF) Constiuton—hecause of, among other statutes: 42 U.S.C. 88 282{h), 2830 (b){2), 2851-1 (afb), and/or 288(a}(4).

‘See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
d ding of hority and contrary to statute—and atso violate the fp tthe U.S.

148 1K99AI182451-01 to Cc of, among ather statutes: 42 U.S.C. 88 262(h}, 2830 , 2951-1 (ab), and/or 268(a}(4)

See REASONS FOR EVERY GRANT. In addition, the Directives end terminations ap also in excess of statutory
Project RESIST: to Tob hority and contrary to statute—and also violate th ifthe U.S.
Marketing Amiong Young Adult Seasal Minortty Wamen Cc f, 8 42.5.0. 58 282{bN8 HONE), 22imN2NKBNE), 283p, 285k, and/or

149 RO1CA237670 Using the Inoculation Message Approaches 2892-2.

Fostering (nsttutional Resources for Science See REASONS FOR EVERY GRANT. In addition, the D end ase also In excess of
Transformation: The FLORIDA-FIRST Health-sclence authoitty and contrary to statute—and also violate th finciple of the U.S.

150 1U54CA267730-01 Brigade Constitution —because of, among other 42.5. .c, age2m, 2830 (b}{2), 285t-1 (a}{b), and/or 268(a)(4).

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
NIH FIRST Cohort Cluster t aticahn School and contrary to statute—and also violate th rincipie of the U.S.

151 SUS4CA267776-04 lof Medicine at Mount Sinai Consttution—because of, among other statutes: 42 U.S. C. as 282%), 2830 (b}{2), 285t-1(3){b), and/or 266 {aN4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations art also In excess of statutory
authostty and contrary to statute—and also violate th fp rincipte of the U.S.

f, among other 42U,S.C.45 282(018KOKH, 282(m\2MBNE), 283p, 285t, and/or

152 1UC2CA293786 ComPASS Heazith Equity Research Hub at Vale 2892-2.

See REASONS FOR EVERY GRANT. [n addhion, the DirectWes and terminations are also in excess of statutory
authority and contrary to statute—and also violate tthe U.S.

183 W54MD007598 Acceterating Excettence in Translational Science (AXIS) Consttution—because of, among other statutes: 42 U.S.C. #8 282(h), 2830(b)(2), 265t-1(a}(b), end/or 268(2)(4}.
See REASONS FOR EVERY GRANT. [11 addition, the Directives and terminations are also in excess of statutory
authorky and contrary to statute—end aiso violate the sep tp ofthel.s.

plinary Heath Disp: Re Trainingtor | f, among other 42.U.S.C. 88 282(08KDKA, 282(h), 282(mK2)KBNE). 2830 (bH2),

154 |sT37MDc086a6-10 Nativet and Pacific 283p, 285t, 2851-1 fayd). 288(3)(4), and/or 2892-2.

Sea REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and atso violate the fp pleotthe U.S.
[Integrated Networks of Scholars in Global Health « f, among other 42U,S.C. 88 282(dK8NOKM, 282(m}{2KB}U), 283p, 28St, andfar

155 5D43TW012274-03 [Research Training (INSIGHT) 289a-2.

See REASONS FOR EVERY GRANT. tn addition, tha Directives and terminations are aso in excess of statutory
jauthorky and contrary to statuto—and aso violate the sep ners, ithe U.S.
TranséForming Genomics: Gui. Constituth f, among other 420U.S.C. & 282(OKSNDKA, 282(mMN2KB)G). 283p, 265%, and/or

186 1R01HG013145-01 ig and Gender Diverse Peapte 2892-2.

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authorky and contrary to statute—and atso violate the separatlon-of-powers principte of the U.S.
Health disparties, stress pathways, and stress-related —[C f, among other 42.U.S.C. $8 282(bHSNO}H), 282(mK2KB)E), 283p, 265t, and/or

157 SROIMD013495-05 comorbidities among MSM Uving with HIV 2892-2.

+58 5RO1MD016864-03 K-VAC: Kentucky Vaccinating Appalactian C Ses REASONS FOR EVERY GRANT.

COVID-19 ine uptake armnong Latinos
through a targeted clinteal and communtty-behaviaral
169 RO1MD016880-03 Seo REASONS FOR EVERY GRANT.
[See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ara atso in excess of statutory
c analysis of gs d and convary to statute—and also rincipte of the U.S.
differences with African = [C amongother 42U.S.C. $5 2B2{bNBKOKM, 282{h), 282{(mH2KBKe), 2830/b}{2},
160 4ROOMO016964.03 Jeng European ancesties across fourbrain regions 2863p, 285t, 285t-1 (a){b), 288(a}{4), and/or289a-2.

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
euthory and contrary to statute—and also violate th: ple of the U.S.
f, among other 42U,S.C. 88 282 HBO}, 282{MK2KBKE), 283p, 285t, and/or
161 PSOMD017349 Chicago Chronic Condon Equity Network 2892-2.
REDES: a peer network and mobie health (mHeatth)
enhanced CHW model to maimbke COVID-19
162 SROIMD017364.03 vaccination among low ncome Latinos Seo REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. tn addition. the 2 Directives and terminations are also in excess cf statutory
authortty and Contrary to statute—and also violate th f the U.S.
Advancing Indigenous Cancer Health Equity through a Ci of, among other 42,8. C, S5 2a2{b)(@KO)E, 282(h), 282(mK2){BMt), 2B30/b)(2),
163 1K99MD018451-01A1 Communtty-Centaered Framework 283p, 285t, 285t-1(a)(b), 288{ay(4), and/or 269a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
Et the high and tiskof thy and contrary to statute—and also violate the f the U.S.
diab among Aslan an Integratlvo approach |{ f, among other 42,5. C. 85 2E2tdHE)(O HU, 282{m}(2HB)ii), 283p, 285t, and/or
164 ROIMD018459 of Westyles, and social determinants 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statuteantd also violate th fp f the U.S.
AMuttRevel, Multiphase Optimization Stategy forPsEP: | C f, among other 42U,5.C, 85 282(b)(8}(0900, 282{(m}(2X8KE), 283p, 285t, and/or
165 RO1MD018523 Patients and Providers in Primary Care 2892-2.
See REASONS FOR EVEAY GRANT. In addition, the Directives and terminations are also In excess of statutory
Understanding the Rote of Structural Oppression for aucharty and contrary to statute—and also violate th tthe U.S,
Suicide Risk among Black Sexual and Gender Minority f, among other 42U,5.C. 85 2a2(b@HOMi, 282(mn M2KB}E), 2863p, 265t, and/or
166 '5ROIMO018679-02 and Young Adutts vese2,
See REASONS FOR EVERY GRANT. tn addition, tha Directves and terminations are also in excess of statutory
authorty and contrary to statute—and also violate rinciple of the U.S.
A Dighal Health Intervention to Increase Condom Use f, among other 4205.6. 85 262(dH6}(D Ii, 282{h), 262 (mH2\B}(lt), 2830/b)(2),
167 'SK99MD019060 Among Adolescent Sexzal Minorfty Mates 283p, 28St, 285t-1(a) (a;(4), and/or 2894-2.
Seo REASONS FOR EVERYGRANT. tn addnion, the DiectWes and terminations are also in excess of statutory
A Multhevel Social Capital Approach to Address Cervical authortty and contrary to statute—and also violate the fp i ithe U.S,
Cancer Screening and Foltow Up Delays among Latinas in |G f, among other 42U,S.C, 85 282(o}6}(D}(0, 282(h), 262{mi2KBHK), 2630/b}(2},
168 1K99MD019292.01 Safety-Net Settings 283p, 285t, 285t-1(ayb), 288(a)(4), and/or289a-2.
Sea REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in excess of statutory
Ei of daily minority authortly and contrary to statute—and atso violate the f-powers p wthe U.S.
‘stressors and cannabis and tobacco co-use among C if, among other 3 42 U.S.C. $3 282 (bYSHONI), 282(m}H2)(B}ti}, 2863p, 2851, and/or
169 R21MD019345-01A1 feeruat falnorty adults 2890-2.
See REASONS FOR EVERY GRANT. [n addition, the Dt and are also in excess of
and contrary to statute—and atso violate the separation-of-powers principte of the U.S.
Consthution—because of, among other statutes: 42 U.S.C. $3 282(bXS(D)i), 282%), 262¢m)2NBNK), 2030/bH2),
170 1P50MD019475-01 Tha tnstitute for Health Equity Research Catalyst Center |283p, 2651, 285t-1(a}(b), 268 (a4), and/or 289a-2,
Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
The Roles of Parental Mental Health and Help-Seeking: — fauthortty and contrary to statute—and also violate the seperation-of-powers principie of the U.S.
Utkting a Femky tol Suicide [fC of, among other 42 U.S.C. 88 282{(b}H8 DYE), 282imH2NBKH), 2393p. 26St. and/or
171 1f21MD019829-01 P tor Sexual Minomty Youth 28922.
See REASONS FOR EVERY GRANT. In addition, the Directves and terminations are atso In excess of statutory
authorty and contrary to statute—and also violate the separation-of-powers principle of the U.S.
Advancing Perinatal Health Equity through ac f, among other 42U.S.C. 88 282(b){BNOMI), 282th), 282(m)(2KB\(k, 28S0/5}{2),
172 1F31M0019996-01 engaged Model of 2699. 265t, 285t-1(a}(b), 298(a4), and/or 289-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are atso in excess of statutory
euthacty and contrary to statuto—and also violate tha tp ofthe U.S.
( h Drivers of C: f, among other :42U,S.C. 59 2eaibNeyOMh, 202(h), 262(m}2)(B)(a, 2630/b)(2),
173 1F31MD020261-01 Heatth in the Rural South 2850, 285t, 285t-1(a)(b), 288(a)(4), and/or 283a-2.
See REASONS FOR EVERY GRANT. In addhion, th and jh ae also in excess of
authortly and contrary te statute—and also f-p oftheU.S,
h the power of ogy to devetop a Consttution—because of, among other statutes: 42 U.S.C. 58 262(b} MSO), 262(mH2HBME), 263p, 285t, and/or
174 5RO1NRO20309-04 Jpopulation-based HIV prevention program fortrans girls [289a-2.
See REASONS FOR EVERY GRANT. [hn addition, the and are also in excess of statutory
SX989DC020570- authorty and contrary to statute--and also violate ple ofthe U.S.
176 o2/4R00DC020570-03 __ [Identifying neural circuits that support effortfullistening [C: hocause of, among other statutes: 42 U.S.C. 58 zazinh 283o/b)(2), 285t-1(a}(b), and/or 288{a)(4).
‘See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ara atso in excess of statutory
jauthorty and contrary to statute—=and also violate ofthe U.S,
Jealth gan LGB+ teen |o of, among other 42US.C.88 282(KaKDNE), 282(m}(2KB)(E), 283p, 285t, and/or
176 SRO1NRO20846-02 ancy preventian pro: tor transgender boys 2898-2.
Advancing Health Equity Through Innovate Community |See REASONS FOR EVERY GRANT. In addhion, the Directives and terminations are also in excess of statutory
Capacity Buliding, Data Sek aod ig Ci and contrary to statud d atso vialate the sep t-powers tthe U.S.
Centered ao Orexet’s | C b of, among other 42. U.S.C. $8 282(b})(8 (DX), 282(m}(2}{B)(ts}. 2863p, 2HSt, and/or
177 1U24NR021014-02 ComPASS Center (C3} 2893-2.
Sse REASONS FOR EVERY GRANT. In addition, the Directives and temtinations are also in excess of statutory
authority and contrary to statute—and also violate the sep f-p sincipte of the U.S.
of, among other 42U.S.C. 68 282(0){8 HOH), 282(m)(21B}(), 283p, 285t, and/or
178 01200025276 PRIDEnet tor the All of Us Research Program 2892-2.
See REASONS FOR EVERY GRANT. In eddhion, the Di and ae also in excess of
Level Health authority and contrary to statute—end also viol thou. S$.
Research: Role of HIV Risk and Mental Health nAlcohol |[C of, among other 5 42U.S.C, 66 2a2teye HOME, 2862(m)(2XBE), 283p, 285t, and/or
179 SRO1AA029044-04 Use Disparties among Diversa Sexual Minemty Youth 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violats th Fincipie of the U.S.
Auntfied protocol to address sexual minortty women's ¢ f, among other 42U,8.C. 85 2820K8)(O}0, 282(m M2XBKE), 283p, 285t, and/or
180 5RO1 9088-03 stress, mentat heatth and hazardous drinking 2890-2.
Sea REASONS FOR EVERY GRANT, [n addition, the Directives and terminations are also in excess of statutory
suthorty and contrary to statute—and also violate the rincipic of the U.S.
Stigma, Romantic Relationships, and Alcohol Use Among [Ci f, among other 42 U.S.C. 85 2B2(0NB}(O}G, 262(h), 282(MH2NBHE). 2830/b}(2).
181 }4#ROOAAN30601-03 Transgender and Nonbinary Young Adults 283p, 285t, 285t-1(ayb), 288(2)(4), end/or 2993-2.
Examining ditferential effects of state cquatity-promating [Seo REASONS FOR EVERY GRANT. (n addtton, the Directives and terminations are also in excess of statutory
policies on harmful alcohol use among seat and puthorty and contrary to statute—and also violate the separation-of-powers principle of the U.S.
gender minority adults in the U.S.: an Tt, among other 42U,5,C, 88 282 (b)8HD HA), 282(h}, 282(¢mK2KBKtl), 2830/b}{2),
182 SF31AA030722-02 F Torcausal es 1, 2851, 2851-1 (aX), 288{a)(4}, and/or289a-2.
Sea REASONS FOR EVERY GRANT. [n addition, the Directives and are also in excess of y
Examining Proximal Associations between Minority Stress, / authority and contrary to statute—and aso violate the separatlan-of-powers prineipte of the U.S.
PTSD Symptoms, end Alcohol UseamangBit College | Ci of, among other 42 U.S.C. 89 282(bKENOMH), 282(h), 262(m\(2KBNM), 26S0/ D2),
183 1F31AA031420-01A1 Students with Trauma Histortoa 283p, 285t, 285t- -1{s}(b), 288(a) {4), and/or 289-2.

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]Reseerch y y and See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of Statutory
Occupational Health Policy Anatyses to the and contrary to statute—atd also ple of the U.S.
Impact of Structural Racism on Agricultural Workers and = jf f, among other 42U,S.C. 59 282(b}(BXONM, 282(m)(2}HB\El), 283p, 285t, and/or
184 SROTES 3-03 Ther Resp Health {RESPIRAR) 2898-2.
[Sea REASONS FOR EVERY GRANT. [n addition, the Diectves and terminations ate also In excess of statutory
authorty and contrary to statute—and also vielat tinciple of the U.S.
M devel Heatth ¢ of Ci and ci » f, anong other 42U,5S.C. 88 252(b}(BYONG, 282(r0}(2)(B)(), 283p, 285t, and/or
185 OT2¢ 1 Criminal fustice System ps in North Texas 2898-2.
AN ADAPTIVE FRAMEWORK TO SYNTHESIZE AND See REASONS FOR EVERY GRANT. In addttion, the Directves andite are also in excess of ry
RECONAGURE BACTERIAL VIRUSES (PHAGES) TO authority and contrary to statute—and also violate ple of the U.S.
186 1K99EB036553-01 COUNTER ANTIBIOTIC RESISTANCE Consttution. ft, among other statutes: 42 U.S.C. 58 aah, 2830/b¥2), 285t-1(a}(b}, and/or 26.8(s)(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
and contrary to statute—and also violate ifthe U.S.
HIV and Usena Cc of, among 42U,S.C. 45 282(DK3 ONE), 282(m\C2XBKE), 283p, 265%, and/or
187 5U01DA036939-10 YMSM cohort 2893-2.
‘See REASONS FOR EVERY GAANT. In addition, the D! and terminations are also in excess of ry
autharty and contrary to statute—and also viotate the sep t-p f the U.S.
“Minnesota Poputation Center” (Note: this Is aDNersity = {Ci at, tatutes: 42 U.S.C. $8282{0K8}(01, 282(h), 282(mY2KBKH), 2830/52),
188 3P2CHO04 1023-2451 Supplement of tha Parent Grant) 283p, 285t, 285t-1{a)(b), 288()4), and/or 28922.
See REASONS FOR EVERY GRANT. In addition, the Directives and are also in excess of y
authartly and contrary to statute—and also violate th f-p f the U.S.
if, among other 142U.S.C, 59 282(6)8K0 DH}, S2(MISKBI{it), 283p, 285t, and/or
188 3P30A1050409-2651 Center tor AIDS Research at Emary e002,
See REASONS FOR EVERY GRANT. tn addition, theD Olrectives and terminations are also In excess of statutory
authortty and contrary to statute—and also violate th f the U.S.
b end ONA y atth: of |G f, among other + 42U,S.C, 55 282(b)@}{0V08, 282{m}(2HB]it, 2683p, 285t, and/or
190 RO1DA0S2016 sexand gend er 2892-2.
ip Seaial Minorfty Health: Differences in See REASONS FOR EVERY GRANT. tn addition, the Directves and tenningtions are alsa In excess of statutory
$s Use and fand contraty to statute—and also vielate fthe U.S,
Associated Chronic Diseases among Rural versus Urban = | Ci ft, among other 2 42.5.0. 38 282¢b)(axDMM, 282(m}[2KB}S), 283p, 265t, and/or
191 ResDA052651 P 2899-2.
entitled, Aity, See REASONS FOR EVERY GRANT. In addition, tho DireetWes and terminations are also in excess of statutory
acceptability, and utilization ofa: based ham end Contrary to statute—and atsa violate the sep pie atthe U.S.
reduction vending machine among persons with timked | C f, amiong other 420.S.C, &8 282{18XDKE, 282(h}, 262(m)(2KBKH), 2830/ b}H2),
192 3R01DA055673-03S1 opportuntty structures.” 283p, 2651, 265t-1(aXb), 28S(a}(4}, and/or 269a-2.
‘See REASONS FOR EVERY GRANT. In addition, th and hs are also in excess of y
y and contrary to statute—and atso viotate the separation-of-powers prineipte of the U.S,
on Useamong |¢ of, among other 42.U.5.C. 68 282(b}(8}{O}{i), 282¢m]{2}(B)(i), 283p, 265t, and/or
193 RO1DA0S6235 Stack Gay and Bisexual Men tn Atlanta 2892-2.
Comparatve- and cost-effectlveness research See REASONS FOR EVERY GRANT. In addition, the Directives and arealso In excess of
tinal for Ing Y and contrary to statut id also violate the fp tthe U.S.
transgender women tlving with HIV to futl viral c f, goth: 42U,S.C. 64 282{bKBND\N, 282(m){2}(B}Gl), 283p, Z85t, and/or
194 5R01BA0S6287-02 suppression 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directves and teminations are also In excess of statutory
0; PréP and Cost- ang contrary to statute—and also violate the ithe U.S.
among Sexual and Gender Minority { witha ci f, among ather 42U,S.C. 86 282(0KE KD}, 282(m)(2)(BXE), 2683p, 285t, and/or
195 SRO1L 03 Substence Use Disorder 2698-2.
Testing amultistage model of risk factors for cannabis use [See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory
utilizing a messurementourst design among sextal and contrary to statute—and also tthe U.S.
minorty women, sexual minority gender diverse KC f, among other statutes: 42 U.S.C. $9 282(DKeNDNA, 282(m}2KBE), 283p, 2651, and/or
196 5RO1DAQS8542-02 indviduals, and hieterosexval women 289a2,
See REASONS FOA EVERY GRANT. tn addition, the Directives and temninations are also In excess of statutory
A Rovel and analyze y and contrary to Statute—and also violate ifthe ls.
multiple types of discrrmination forpopulation health f, among other of, smong Jother statutes: 42 U.S.C. $8 282(bhSHO)a),
197 5RO1MD012793-05 research 282(m)(2}(B){il), 263p, 265¢, and/or 2890-2.

See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are atso in excess of statutory
authorty and contrary ko statute—and also violate the separation-of-powers principle of the U.S.

Muttievel Physical Activtty intervention forLowlncome |: of, among ather 42 U.S.C. $8 282(b){S}(OHi), 282(h), 282(m)(2HBHls), 2830 (b){2),
198 3RO1MD015165.0481_| Public Housing Residents 283p, 285t, 285t-1 {a)(b), 268(ay¢4), nd/or289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authortty and contrary to statute—and also violate th fthe U.S.
199 [sT32MHo20004 Research Training In Late-Life NeutoPsychiatic Disorders |Consthution—because of, among other statutes: 42 U.S.C. 88 202th), 2830 (b){2), 285%-1 (ab), and/or 288 {a}4).
Ending theHiV Epidemic with Equity: An All-fackity See REASONS FOR EVERY GRANT. In addition, the Directves and lerminations arealso in excess of statutory
wR Raeism and authorty and contrary to statute—and aso violate the fthe U.S.
Discrimination and tts lmpacton Patent and Heattheare | C f, among other 42U.S.C. 88 282(¥8XDK, 282¢m}2KONED, 283p, 285t, and/or
200 1RO1NRO20583-01 Staff Weltbekig 2892-2.
h and Di
of Pandemic Era SNAP Expansion Poticies 0 on Diet and
201 RoiNRo21098 Health: A Miked Methods Project See REASONS FOR EVERY GRANT.
Seo REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violate the sapatation-of-powers ptinciple of tha U.S.
Personal Healthcare N and ( f, among other 42U,8.C. 68 282{b)(SKO}H), 262(m)(2HBHE), 263p, 266t, and/or
202 AF31NRO21239-01 Gonder-Diversa Adutts Atter Gender Attming Surgery 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also tn excess of statutory
authority and contrary to statute—and also fthe U.S.
Amixed. to stress and [C f, 1g 42U,S.C, 59 282{0H8)D\E, 282(m)(2KBXE), 2683p, 265t, and/or
203 IRODAAD28049 Jhazerdous drinking among same-sexfemate couples 2898-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Ab Ry Training Program authortty and contrary to statute—and also violate th (the Us.
204 T32DA037099-13. {SAETP) at Cotumbla University Constituten—because of, among other statutes: 42 U.S.C. 85 262(n), 2830 (bH2), 265t-1 (ob), endvor: 288{2)(4).
inthe tion and See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations aeatso in excess of statutory
tunedin of sensory-motor circuits for rity and contrary to statute—and atso violate th: rinciple of the U.S.
205 1K01DE033040-01A1 suckling and mastication. Consttution—because of, among other statutes: 42 U.S.C. &8 202¢h), 2830 (b){2), 285t~ eU(ei, and/or288(3}(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara atso in excess of statutory
authorty and contrary to statute—and also violate th rinciple of the U.S.
TransHealthGUIDE: Transfenning Health forGender- of, among other 42U.5.C. 68 2B24DNE}O\U, 282{m}(2}B) fli), 2B3p, 285t, and/or

206 Uoto0b033248 DWverse Youth Using Interventions to Drive Equity 89 a2.

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
and contrary to statute—end also violate tthe U.S.
f, amang ather 242 U.S.C. 53 282{DHEND IE, 282(m}{2}(BKG), 2683p, 285t, and/or

207 307200035592 Proyecto Juntos 2892-2.

See REASONS FOR EVERY GRANT. In addition, the Directives and are also in excess of
Integrating HIV Prevention, Gender-Affirmative Medical and contrary to statute—and also violate the ration-of-powers tthe U.S.
Care, and PeerHeaith tor Women {Ci f, a statutes: 42 U.S.C. 58 282{b}(8}{D)(H), 282im}2}HB)i), 263p, 2651, and/or

208 SUM1AI068619-19 Jin the Americas: A Vanguard Study 289a-2.

See REASONS FOR EVERY GRANT. In addkion, the Directives and teem Inations are also in excess of statutory
Training the Long-Term Servkes and Supports L and contrary to statuto—and also violate ftha U.S,
Care Workforce In Provision of Care to Sexual and Gender JC f, B 42 U.S.C. $8 282{b} S)D IE}, 2B2(m}{2MBKU, 2683p, 285t, and/or

209 3R01AG075734 Minorty Residents 2892-2.

Operations and CenterA
Medicine Trials Network for HIV/AIDS Interventions (ATN)}
Operations and Collaborations Center {UM2 Clinicat Trial
210 SUM2HD111076-03 Optionat) See REASONS FOR EVERY GRANT.
Caregiver decision making for seasonal respiratory
2114 1K23HD112599-01A1 vaccines forchidren See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are aso in excess of statutory
my and contrary to statute—and also violate fp pleoftheuU.Ss,
Contigentiatity in use of health in age for c f, among other i, among g other statutes: 42 U.S.C. $§ 282(b18)D)G),

212 1R21HD116080-01 |reproductive health services 282(n)(2(8)(E), 2863p, 285t, and/or289a-2.

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara also in excess of statutory
authorty and contrary to statute—and atso violate th plaof the U.S.
z playb ParentangChid |G of, among other 42U.S.C, 88 282(b NBO), 282(h), 282(m}(2}B)(E), 2830 (b}{2),

213 R01MH130007 Contributions in Parent-Chid Anxety 283p, 285t, 285t-1 (ab), 288{ay{4), and/or 2894-2.

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara atso In excess of statutory
Cc and of rity and contrary to statute—and also violate thi ft the U.S.
f214 5K99MH133994-02 memory-guided decision-making Constitutlon—hecause of, among other statutes: 42 U.S.C. §5 2621 a, 2830 (b}{2}, 285t-1 (a)(b), and/or 288(aj(4).
An Intersectional epproach to transgender and/or See REASONS FOR EVERY GRANT. In addition, the Directives and tanminations ara also In excess of statutory
nonbinary college student mental health: The rote of authorly & and contrary to statute—and also violate ple of the U.S.
gender Kdenthy, y and [Ci D of, among other statutes: 42 U.S.C. 58 282(0)(8KON, 282(m}(2KB){Hi), 2863p, 285t, and/or
215 1736MH135608-01 campus poticy 2892-2.
See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also in excess of statutory
¢ for Precise t Control ithasky and contrary to statute—and also violate t-powers principle of the U.S.

216 SKI9NS135649-02 jand Mapping of Neural Cleutts Constiution—becausa of, among other statutes: 42 U.S.C. 86 282(h), 2830 (b}(2}. 2851-1 (aX(b), and/or 288(a}4),

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Dynamic ip L y snd contrary to statute—and atso violate fp Mnelpleof the U.S.
217 SK99GM144750-02 Jfunction fn Noten signating ¢ because of, among other statutes: 42 U.S.C. 88 282{n), 2830 (b}(2), 2851-1 (a}{b). and/or 288(a}{4).
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ere aiso in excess of statutory
Stress tolerant annual killtfish: a new model forthe authorty and contrary to statute—and also violate the sep aratlon-of-powers principte of the U.S.
218 5K9SGM148723-.02 cellular stress response Consthution—because of, among other statutes: 42 U.S.C, 59 262(h), 2830 (b)(2), 285t-1 (aytd), and/or 288(a}i4).
“Mathematical Modeling and Scientific Computing for
219 1R1SGM152943-01 tnfectious Disease See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, th and i are also in excess of
Dk the pic and circuit y and contrary to statute—and also violate the fp rncipte of the U.S.

220 $K99GM15372002 Underlying offactory-trven social Cc Heceuse of, among other statutes: 42 U.S.C. 58 282(h), 2830 (h)(2}, 2B5t-1 {2}(b), and/or 288(a){4).
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations ore also in excess of statutory
authorky and contrary to statute—and also vial tthe ls,

221 1K99GM154060-01 TULPS integrates essential cKiary functions Constkution—because of, among other statutes: 42 U.S.C. 88 282(h), 2830 (bY2}, 285t-1(a)(b), and/or 288{aX4).

4 ig the role of p thatobscure [Sce REASONS FOR EVERY GRANT, [n addition, the Directives and terminations are also in excess of statutory
tic. variation in during the and contrary to statute—and also violate f the U.S.

222 1K99GM157508-01 ofeystoss Consttutlon—because of, among other statutes: 42 U.S.C. 38 282(h), 2839 (b}{2), 285t-1(a}(b), andvor 288(a)i4}.

‘See REASONS FOR EVERY GRANT, In addition, the Directives and terminations ara also In excess of statutory
8 Ips b naturalistic light authonty and contrary to statute—and also violate the f-powers f the U.S.

223 SKS8HL166700-02 ‘exposure and sleep because of, among other statutes: 42 U.S.C. 88 282th), 2830

224 5P01Al168149-02 Leptospiral Phagocyte Dynamics In Leptasp See REASONS FOA EVERY GRANT.

225 1U19A1171401-01 Metropottian AntMiral Drug. See REASONS FOR EVERY GRANT.

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
suthorty and contraty to statute—and atso violate the p Ss ifthe U.S.
f, among other 42U.S.C. &8 282(b48\DKR, 282(h), 282(MK2KBKE), 2830 (bX2),

226 }RO1 CA251475 Local Ravor Policies to enhance equhy In tobacco asp, 26St, 285t-7 fax), 268(ay4), and/or289a-2.

MuttHevel school-based intervention to improve HPV
227 RI4CA283483-02 vaccine uptake and completion in South Africa | See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addttion, the Directives and teminations ate also In excess of statutory
Racism-selated stress and bith outcomes among Latinas: autnonty and contrary te Statute—end also vielate ipte of the U.S,
for 2 ptual and tatutes: 42 U.S.C. 58 282(b}8YO}E, 282(h), 282(m){2)(B\(E), 2830 (}(2),
228 §X99MD01862902 walldhy 263p, 285t, 285t- -1{a)(b), 288(aK4), and/or289a-2.
See REASONS FOR EVERY GRANT. in eddition, the Directives and terminations are also In excess of statutory
The Epidemlotogy of Alzhetmer's Disease and Related euthorty and contrary to statute—and also fp rinciple of the U.S.
Dementas In Sexual and Gender Minority OlderAdults: | Consttuton—because of, among other statutes: 42 U.S. .C. 3 282(b}aNONN, 282(ra}(2}{BH(ti}, 2863p, 28St, and/or
229 5KO1AG056669-05 Jidentiying Risk and Protective Factors 2898-2.

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1:25-cv-10787-4WGY: APHAY. NIH Pleindifs’ Supp 1 Sp ofGrant dune 13,2025
See REASONS FOR EVERY GRANT. In additia nN tha Directives and terminations are also in excess of statutory
Bullding Ce and among y and contrary to statute—and aiso violate th fp leofthe U.S.
Sexual end Gender Minority Older Adutts at Risk for c f, among other 42U,S.C. 83 2B2{bKOKONG, 282(m)}(2B)(U), 283p, 2851, and/or
230 SR24AG066599.03 #’s Disease end Related D 2898-2.
and Cl ofRoles |See REASONS FOR EVERY GRANT. In addhion, the D Directives and terminations are also in excess of statutory
and Expertences of Sexual and Gender Minorty Caregivers Jauthorty and cantrary to statute—and also violate th tthe U.S,
ot Persons (ving with Alzheimer's Disease and Related == [C of, among other :42US.C.85 282(D}{8NDKE, 282(m)(2KB}(G}, 2983p, 2851, and/or
231 6R01AG08317702 Dementlas 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violate the sepzration-of-powers principle of tho U.S.
232 2732GM135742-06 ucsc MSD Constituton—because of, among other statutes: 42 U.S.C. £8 282(h), 2830 (b}{2), 285t-1 (a)(b), and/or 288{aX4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are piso in excess of statutory
aathorty and contrary to statute—and also violate th rinciple of the U.S.
Assessing Cervical Cancest fn 1, among other statutes: 42 U.S.C. 85 282(b{EKD), 282(m}(2KB)(), 283p, 285, and/or
233 J5Ro1MD018250-03 OiverseF Tha ACHIEVE Study. 7890-2,
See REASONS FOR EVERY GRANT. In addition, the Di are alsa in y
authomy and contrary to Statute—and also violate the sep: ftheW.s.
Impactot Load and Neigh Cc f, among other 242 U.S.C. $8 2o2eNeNDIR. 282 (mX2){B)(}, 283p, 285t, and/or
234 5RO1CA274564-03 Factors on Breast Cancer in the Women’s Heatth Initiative 2002,
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and atso violate the sap fp pla of the U.S.
235 132GM141862 Genotk Approaches to Development and Disease Consttuton—because of, among other statutes: 42 U.S.C. 38 282th), 2830 | (b}{2), 285t-1 (eb), and/or 288 (a4).
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
Oigtat, LimRed Interaction Efficacy Trial of LifeSkits aurhorny and contrary to stztute—and also violate th fthe U.S.
Mobite to Reduce HIVE in Young ss of, is 42U.5.C. 38 282(bK8)(OKG), 282(m\2)\(B)(G), 283p, 285t, and/or
236 U01AI156875-04 Women 30002.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
A gths-Based,, Pp to Suicide and contrary to statute—and atso violate the ifthe U.S,
Prevention Among Black Sexual and Gender Minorty Constitutlon—because of, among other statutes: 42 U.S.C. 28 282(b) 80}, 282(mX2}B}(M), 283p, 285%, and/or
237 SRO1MH134051-02 Youth 2892-2.
See REASONS FOR EVERY GRANT. En addition, the Directives and teminations ara also in excess of statutory
Assessment Protocol to Assess the Linkages Between authomy and contrary to statute—and also violate the ifthe U.S.
intersectionel Discrimination and CVD Risk Among Sexual |C of, among other 42U,5.C. 85 2a2(b}.aKOK, 282 (m}{2)(B)(9}, 283p, 285t, and/or
238 1R01HL169503-01A1 and Gender Minortties 289%2.
Bulding a Diverse Network to Support and Butd
f ys fort in | See REASONS FOR EVERY GRANT. In addition, She Directives and terminations are atso in excess of statutory
Quantttative-Focused Research Areas Wthin theAllofUs |authorty and contrary to statute—and also violate th ifthe U.S.
239 1012000376551 Research Program Constitutlon—because of, among other statutes: 42 U.S.C. 86 282th}, 2830 tb }2), 285t-1(ay(b), and/or 28B(a)(4).
A to and = | See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
clreutt basis ofthe: foleofthe comticospinal tractin moter | authodty and contrary to statute—and also violate the plooftheU.S.
240 1K99N5S133031-01A1__|skitl Consttutlon—because of, among other statutes: 42 U.S.C. 95 282{h}, 2830 (b}{2), 285t-1 (ab), andvor 288(a}(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations aro also in excess of statutory
Processing of visual information by spatial memory authority and contrary to statute—and also violate th fthe U.S.
241 1K99EY034700-01 ckcutts in the evian brain Consttution—because of, smong other statutes: 42 U.S.C. 98 202th), 2830 (}{2), 285t-1 (ay), and/or 288 (a}{4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authortty and contrary to statute—and also violate th fthe U.S.
to Enhance PreP P Among Atrcan- 1c of, among other statutes: 42 U.S.C, 88 2B24ONB)D IE, 2ez{m)(2xBKe, 283p, 285t, and/or
242 5RO1MH131475-02 Amertcan Men Who Have Sexwith Men 2893-2.
| Integrated Network Analysis of RADX-UP Datato Increasa
COVID-19 Testing and Vaccination Among Persons
243 5R21MD019388 | lnvotved wih Caminal Legal Systems (PCLS) See REASONS FORA EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
autharty ang contrary to statute—and also violate th f-powers ft the U.S.
ip % Mental Health Among the LGBTQ+ ¢ f, among other statutes: 42 U.S.C. §§ 282(b BDH}, 262(mK2NBNH), 283p, 285t, and/or
244 iRF1MH132348-01 impacted by the COVID-19 Pandemic seee2.
Ses REASONS FOR EVERY GRANT. In addition, the Directives and temainations are also In excess of statutory
autharty and contrary to statute—and also violate the ple of the U.S.
245 [5T32MHO13043-53 Research Training Program in Psychtatic Epidemiology | Constitution—bocauise of, among other statutes: 42 U.S.C, 85 282th), 2830  (b)(2}, 285t-1 (a)(b), and/or 288{a}{4).
See REASONS FOR EVERY GRANT. in addition, the D. and are also in f si
authortly and contrary to statute—and also violate the F-powers: tthe U.S.
246 §T32A1148099-04 Tratnicvg tn Translational ey Research Constitution—becausa of, zmong other statutes: 42 U.S.C. 85 282th), 2630 (b}(2}. 285t-' 1 {ad}, and/or 28B(244).
See REASONS FOR EVERY GRANT. In addition, the Directives and teminatons are also in excess of statutory
authority and contrary to statute—and atso violate the fthe U.S.
Stigma, drug use, and HV vulnerability among Hispanic | C yf, among other 3 42 U.S.C. 8 2e2(oyeNDKM, 282(m}(2)(8)(H}, 283p, 28St, and/or
247 1K01DA0S7880-01A1 and Latino seal minority men 2892-2.
]See REASONS FOR EVERY GRANT. In addtion, tho Dveetves and terminations are alse in excess of statutory
| Mentoring the next of use, HIV, and and contrary to statute—and atso violate the separation-of-powers principle of the U.S.
epigenetic researchers in sexual and gender minorty Cc f, among other + 42. U.S.C, $8 282 (bMS DH), 22imH2NBKH}, 283p, 28St, and/or
248 K24DA057874 health 2892-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
Circutt of ly-tdentified and convary to statute—and atso viotate the separation-of-powers principte of the U.S.
249 1 05 la deep brain regions: application to grid cells Constitution—beesuse of, among other: statutes: 42 U.S.C. §$ 282[(h), 2830 (b)(2), 285t-1 (ay), and/or 288 (24).
The SUSTAIN 2 study -SUStained HIV treatment for
260 f01MH128297-01 adherence after Intenupticn in care See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, tho Directves and terminations aro algo In excess of statutory
authority and contrary te statute—and also vialate the fincipte of the U.S.
Specific Diff HIV Care: An ci f, among other 42 U.S.C, 58 282{oH8)(OKN, 282(m}2)(B)E), 263p, 285t, and/or
251 5RO1MH130277-05 Imptementation Science Stu 2892-2.
Ce [See REASONS FOR EVERY GRANT. tn addition, the DI and arealsoin f
y and contrary to statute—and also viol fn Hincipte of the U.S.
Creating Access to Ri and pp iC if, among other 2 42 U.S.C. 88 282(018 ND), 282(m\{2B}(E), 2863p, 285t, and/or
252 SRO1MD016755-05 (CARES) 2898-2.

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ofacolt model for mental
health services into HIV care for pregnantand postpartum
263 SRO1MH133260-02 women in Kenya {the Tunawin Study) See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, th and aro also In excess of
authority end contrary to statute—and also viotate the separatkan-of-powers principle of the U.S.
Stress4induced tansposon mobilization in the human Constitution—because of, among other statutes: 42 U.S.C. 68 282(b){8}{D){il), 282(h)}, 262(m}(2HBMi), 2830 (bh2),
254 SRODAI1G6094.03 fungal pathogen tococcus 283p, 285t, 285t-1 (a)(b), 288{a}{4), and/or 2834-2.
See REASONS FOR EVERY GRANT. tn addhtion, the Directives and terminathons are also in excess of statutory
E g Comp y in School-Based gutharity and contrary to statute—end also violate the powers ithe U.S.
Heatth Centers to Address LGBTQ Health ¢ f, 8 statutes: 42 U.S.C. §$ 282{b)(SXD)(4), 282(m){2{BHbl), 2863p, 265t, and/or
285 5ROINRO21019-03 Equi 2892-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are atso in excess of statutory
autharty and contrary to statute—end also violate the separation-of-powers principle of the U.S.
f, ig 42 U.S.C. 68 282(bNSKD)i). 22(mK2NBME), 283p, 28S, and/or
256 T3a20C000038 Training for Speech and Hearing Sciences lise
See REASONS FOR EVERY GRANT. In addttion, the Directives and terminations are also in excess of statutory
suthartty and contrary to statute—and also violate the f-powers principle of the U.S.
Humantazian Health Care Bringing the Mi 2 42 U.S.C. &8 2B2(b)BYD)H), 282(m){2NBKH), 263p, 285t, and/ar
257 OT200035645-01 Vulnerabte to Care ned,
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statuta—ard also violate the pte of the U.S.
onPrEPand [c ft, 2 42U,S.C. 54 2a2{5)(8 ND), 262(m\2XBKE), 283p, 285t, and/or
258 TRZTAII83907-01A1 Hormone Options among Transgender Women 289a2.
See REASONS FOR EVERY GRANT. th addition, the Directives and temninations are also in excess of statutory
atharty and contrary to stetutp—and also tincipte of the U.S.
42U,S.C. 58 2B2(DNBXON, 282(h), 282(mH2NBNH}, 2830 2},
259 SP30CA015704-49 Cancer Center Support Grant Resp 285t, 265t-1(a}(o), 2antayia } and/or289a-2.
See REASONS FOR EVERY GRANT. [n addition, the E and are also ln of
authorty and contrary to statute—and also rincipte of the U.S,
Advancing Gender and Health Justice Research and Cc ft, among other 42S. C. a 2B2(HBYDN, 282(h), 282{mK2KBXE}, 2830 (D2),
260 R25LM014575 Education 42e3e 285t, 285t-1(a)fb), 238(2){4), and/or269a-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and nations are also in excess of
mathorty and contrary to statute—and also fp ple of the U.S.
Achieving Optimal Sexual and ft Health 1, among other 42U,S.C. 59 282(b} ENON, 282(m\(2XB\(E), 283p, 285t, and/or
261 (oT20D035877-01 {SRWH Project} 289a-2.
[See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also In excess of statutory
lautharty and contrary to statute—and at also tin #the U.S.
Toward disease in ic f, among other : 42U.S.C. 88 282{b {EXD}, 282(h), 262{mK2KBXE), 2830 (bH2},
262 4ROOHL15761 1-03 Hispanic/Latinos: Modeling Risk and Reslence Factors | 263p. 286t, 285t-1(ayb), 288(a}(4), arid/or289a-2,
Leveraging acommuntty-driven approach to addressthe |See REASONS FOR EVERY GRANT. tn addition, the Directives and teminations are also In excess of statutory
impact of social of health on and cantray ta statute—and also ipte of the U.S.
inequities among MiamHDade County's ic th ft, among other 42.8. C. a 2B2(bHBNDNA, 282(r)(2B)(), 283p, 285t, and/or
263 10T200035935-01 LGBTQ+ Communhy 289-2.
See REASONS FOR EVERY GRANT. [n eddition, the Directives and teminadons are also in excess of statutory
authortty and contrary to statute—and also oftheu.s.
Developing muttimodal Somarkers of cognitve ability in [Ci 1. among other 42US.C. 58 28 2(bNBKOXD, 282(h), 282(mK2NB)(H). 2830 }(2),
264 SKOOMH1 OS of 283p, 2851, 285-1 (ay), 289(}(4), and/or 2893-2.
Enlace Familiar: Combating Mental Heaith Stigma, See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
(mpraving Mental Health Literecy, Mental y and contrasy to statuto—and aso violate aftheu.s.
Health Discussions at Home, and Access to carsamong =| Ci of, among other 42U.8.C. 38 282(b/(@NDHI, 282(m}(2){B)(ii}, 283p, 265t, and/or
265 5K01MD019325-02 Latinx Adolescents from Mixed Status Families 289%2.
Ses REASONS FOR EVERY GRANT. In addition, the Directives and teminations are also in excess of statutory
Unking endoplasmic reticulum calcium handing to authonty and contrary to statute—and also violate the sep t-power oftheU.S.
266 5F31EY035165-02 function in vivo in tha Drosophila visual system |Consttutlon—because of, among other statutes: 42 uw S.C. 38 282{n), 2830 (bH2), 285t-1(a}{b), end/ar 286(a)(4),
See REASONS FOR EVERY GRANT. In addition, the Directives and tecminations are atso in excess of statutory
NEXUS: A novel social network approach to study the authorty g and contrary to statute—and also violate the separation-of-powers principle of the U.S.
effects of intersectional stigma on HIV p! among {C of, among other 42. U.S.C. $8 282(b){8 (ONL), 262(m}(2{B}(ii), 2S3p, 285, and/or
267 §ROIMH123282-45. Latino MSM 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authortty and contrary to statute—and also viotate the iple of the U.S.
268 1K99MH135212-01A1 Mapping Neural Dynamics tn t Consttution: f, among other statutes: 42 U. 5.0. §8 202(h), 2830 (b){2), 2851-1 (a)(b), and/or 288{ay4).
Sea REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory
putharty and contrary to Statute—and also violate th f the U.S.
(MSO atthe University of Massachusetts Chen Medical ft, emong other 42U.S.C. 85 282fo}18)(D}(U, 282{h), 282(mK2){G)(M), 2830 (b)(2),
269 T32GM1435751 School 283p, 285t, 286t-1{a}(b), 288(a)(4), and/or 2690-2.
Seo REASONS FOR EVERY GRANT. In addition, the Ghectives and terminations are alsa In excess of statutory
authorty and contrary to Statute—end atso violate the fthe U.S.
Using the continuum of genctic causality to tig: f, among other 742 U.S.C, 88 282(0N8)(D}, 262(h), 262{(mH2)(BHE), 2830 {b)(2),
270 1K89HG013676-01 trans regulatory Loe. 2051, 25t-1 (ak), 288(8)(4}, and/or 289a-2.
Ses REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara also in excess of statutory
authorfty and contrary to statuto—end also violate the separation-of-powers principle of the U.S.
oO is L p networkforobject [Ci f, amang other 42.U.S.C, 88 282(b)(S}{D}{i), 282(h}, 26.2(m)(2KBHE), 2890 (b}(2},
271 KSSEYO36650 recognition 283p, 285t, 285t-1(a)(b), 288(a}(4), and/or 2692-2.
See REASONS FOR EVERY GRANT. in addition, tha Directlves and terminations are also in excess of statutory
D i peptide S Modulation of OFC: tty and contrary to statute—and also violate the Separation-of-powers principle of the U.S.
272 SK9SDAC59613 Reward Seeking Constkution—because of, amang other 42U,S.C, 88 262(h}, 2830 (bH2), 2851-1 (a)(b), and/or 288(a)(4).
See REASONS FOR EVERY GRANT. tn addition, tha Directives and terminations are also in excess of statutory
authonty and contrary to statuto—end also viotate the separation-of-powers principte of the U.S.
Malaystan Implementation Science Training (MIST) Cc f, among other 42 U.S.C, §8 282 (bKSNONI), 282(¢m){2}(B)tl], 283p, 285%, and/or
273 D43TW011324 Program In HIV 2890-2.
Reducing Stigma in Peopte Who tnject Drugs with HIV
274 ‘SRO1TWO12674-02 Using a Rapid Start Antiretroviral Therapy Intervention [See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are alsa In excess af statutory
Delineating the Rote of the Homocysteine-Folate- satrory and cantrary to statute—and also violate Tinciple of the U.S.
Synthase As end Urock in f, among other 2 42. U.S.C. §§ 282(d{8)1D), 252th), 2B2{rn 2 KBE}, 2830 (b){2),
276 [K99M001 8671 African American Prostate Tumors 2e3p, 285t, 285-4 (a}{d). 288 (a) (4), and/or 2893-2.

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authonty and contrary to statute—and atso violate the Fp ithe U.S,
f, among other 425.0, $8 282{bNSKOMM, 282(h), 282imK2KBKH). 2830 (o}{2),
2768 1326M148391-02 [IMSD at Emery University 28%p, 285t, 285t-1(aXb), 288(2}(4), and/or 2893-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
autharty and contrary to stature “and atso violate the f-powers principle of the U.S.
f, among other 42 U.S.C. 8% 282(b}{8)[D}{I}, 282h}, 282{m)(2 BH), 2830 4b}(2},
277 5T34GM149511.02 MARC at Emory Unversity 7839, 28581, 286t-1(aXb), 288(a}(4}, and/or 2890-2.
Sea REASONS FOR EVERY GRANT. In addition, tie Directves and terminations are also in excess of statutory
authority and contrary to statute—and also violate the sep iple of the U.S.
m 1, among other 42U.8.C, 88 282(b8YDNM, 282(h), 282{m\2KBKE), 2830 {b}X2),
278 1R25A1175048-01A1 2639, 205t, 265t-1 (aX), 288(a)(4), and/or 289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and atso violate the ofthe U.S.
(RACDA Fellowships in Research and Sclence Training cs f, among other 42U,8.C, 85 2a2(b}fay{D}i, 282{h}, 282{m)(2)(BY ti}, 2830 {b}(2),
279 SK12Gb {FIRST} 2803p, 285t, 265t-1 (ab), 268(a)(4}, and/or 2692-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives end terminations are also In excess of statutory
Using digital photovoice to explore the ip and contrary to statute—and also violate ple of the U.S.
between social media content and among Cc f, among other statutes: 42 U.S.C. 88 282{0N8HDWG, 2B2({m}(2KB)(iz), 2863p, 285t, and/or
280 1R01MH135498-01A1 transgender adolescents 2892-2.
See REASONS FOR EVERY GRANT. In eddittion, the Directives and teminations are also in excess of statutory
authory and contrary to statutomand atso violate the sthe U.S.
CALING: AG ly Adapted Care C Suicide |C f, among other 42.5.6, 85 2a2(b)(a}DHM, 282{m}(2)(B){ti}, 2833p, 2851, and/or
281 1R34MH129782 Detection and Intervention Model for Black Youth 2899-2.
]see REASONS FOR EVERY GRANT. Ih addition, the Directives and terminations are also In excess of statutory
authority and contrary to statute—and atso violate the ifthe U.S.
Neural cireuttry snd p torp f, among other 42U.S.C. 88 282{b)aXDHe, 282(h}, 282(m2KBHE), 2830 (b}{2),
282 K99/R00DC021581 ‘of sactal vocalizations in the audttory pathway seo, 28St, 28St-1(aXb), 283(ay4}, and/or 269a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations am alsa in excess of statutory
authorty and contrary to statute—and also violate the ple of the U.S.
Buddhism and HIV Stigma in Thatland: An f, among other 42U,S.C. 88 282(bK8NOXM, 282(m}2)BXii), 283p, 28St, andéar
233 RO1TWO12392 Study 2892-2.
See REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are alsa in excess of statutory
authorty and contrary to statute—and atso violate the separation-ol-powers principle of the U.S.
and HIV Stigmain Thailand: Ant f, among other 42.U.S.C. 88 282(b}8){DH), 282(m)l2KB}E}, 283p, 285, and/or
$284 RO1TW012392-03S1 Study 2895-2.
‘See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Stress and contrary to statute—2nd also violate the sep f-pawers principe of the U.S.
286 3737MH119194-0551__[Vulnerabitty during Adolescence Constitution—because of, among other statutes: 42 U.S.C. 88 282 (hy, 2830 (DH. 285t-1{ayib), and/or 2a8(a}{4).
See REASONS FOR EVERY GRANT. In eddhion, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violate the seperation-of-powers principle of the U.S.
Health and tt of federal |Constiuth f, amongother 42.U.S.C. 88 282(b8)DHi), 282(m}(2KBKii}, 283p, 295t, andéar
286 TROTHDI12464-01A1 and state on rep bealth 2892-2.
TSce REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authomty and contrary to statute—and also violate tha ifthe U.S.
Project SCORE (Student-Centered O f, amang other 142 U.S.C. 68 262tb\aDYI), 282(h), 282(m){2 KB), 2830 (b}{2),
287 SA25GM142065-04 E 283n, 285t, 265t-1 (a) d), 288(a}(4). and/or 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—end also violate the separatlon-of-powers principle of the U.S.
The Role of Racism on Disp inCtinkat — |C of, among other 42.U.S.C. 89 262(b)[8(OMIN, 282(m}2}(8K(ti), 283p, 285t, and/or
288 1R010K135835-01 Outcomes for Diabetes: A Mbed Methods Study 2892-2.
See REASONS FOR EVERY GRANT. In addition, th and are also In excess of y
The Effects of and an and contrary to statute—and also violate the tp ipte of the U.S.
Willingness to Participate in HIV Research among Black 42 U.S.C. 68 282{SNON, 282(h), 262(mH2KBKM}, 2830 (bX2),
289 4A36MH134774-01A1 Women 2830, 285t, 285t-1 fax), 288 (aKa), and/or 289a-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutory
authorty and contrary te statute—and also violate i fthe U.S.
290 5T34GM145511 U-RISE @ UC Merced Constitution—decause af, among other statutes: 42 U.S.C. §8 202ih), 2830 (by(2), 28St-1 (axXb). and/or 268(ay4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Administrative Core: Pacific Center for Genomic Research - | authority and contrary to statute—and also vi ttho U.S.
291 5US4HG013243-02 Centers in Genomic Research Consttution—because of, among other statutes: 42 U.S.C. 8 282in), 2830 (b}(2), 285t-1{a}(b), snd/or286{aX4).
3U24MD016253-
0382/5U24MD018258-
292 03 RADX-UP CDCC [See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. ta addition, the Directives and terminations are alse in excess of statutory
asthorty and contrary to statute—and also viol oftheU.S.
f, among other 742 U.S.C. 88 282(D}[8KD}B), 282(m)(2KB)(E), 283p, 2081, endfor
293 3734GM141986-03S1 One Hezith Training for Heaith Disparities 36902.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are aiso in excess of statutory
Network drivers of regional vulnerability to earty authority and contrary to statute—and also violate principle of tho U.S.
294 F31AG087648-01 Alzheimer's disease pathology Constituton—because of, among other statutes: 42 U.S.C. $8 252th), 2830 (b}(2), 285t-1 {a}(b), and/or 268(a}(4).
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and also violate ple atthe U.S,
{Mapping the cellutas impacts of Chas hap ficken cy 242 U.S.C. $9 282(bK KOKA), 282(h), 282(m\2KBK). 2630 (bY2).
295 1F31HD143328-01A1 and characterzing Mnicrogtlal activity in Chd8 mutantmica 2030, 285t, 2BSt-1(a}D): . {ay{4), and/or 289-2.
Sea REASONS FOR EVERY GRANT. In addition, the Directives and are atso in excess of
authority and contrary to statute—and also violate th: fp ifthe U.S.
\Pattems and Ui Somatic c of, among oth 42U.S.C, 98 262{b}18 (OH), 282(h), 282(m\2HBHiN), 2630 (b)t2),
2396 1K9! 1-01 Across Long-Lived Bats 283p, 285t, 285t-1 (a)(b), 288{a)(4), and/or 2890-2,
\ how whh other |SeeREASONS FOR EVERY GRANT. tn addition, th and are atso in excess of
pigment (RPE) affect and contrary to statute—and also violate th p tthe U.S.
297 SKOSEYO35758-02 tts function In the cuterretina Consthution—because of, among other 42U.S.C. §§ 282(h), 2830 ), 285-1 (ab), and/or 288(2}{4).
See REASONS FOR EVERY GRANT. In addition, the Directives end terminations are also in excess of statutory
the metat-d ry and horty and contrary to statute—and also violate f the U.S,
298 3RO1GM141329-0451 inhibition of CRISPR-Caso Constiution—because of, among other statutes: 42 U.S.C, £5 292th), 1), 2830 | (2}, 285t-1 (al(b), and/or 288fa){4).

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| Hardship and Survival: The impact of Migration-Related
Trauma, Communal Coping, and Social Stressors on the

See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutory
author 2 and contrary to statute—and also ftheU.s.

‘Sulcide and Mental Health O of Latin
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of, among other 42US.C.35 282(b)(KDXE, 282(h), 282{(mH2KBXii), 2830 (bN2},

cose, 295t, 285¢- (a}{b), 288(a)(4), and/or 2892-2.

See REASONS FOR EVERY GRANT. In addition, tha Directives and terminations are also in excess of statutory
authorty and contrary to Statute—and aso violate fy) oftheU.s,

oftheunique profile of

1, among other 42U,5.C, 85 282(b/(8)(D\60, 282(h), 282{m)}{2KBHEl), 2630 (b){2),

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reap, 2851, 286t-1 (ah), 284(a}i4}, and/or299a-2.

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ara also in excess of statutory
authorty and cantrary to statute—and elso violate th f-pow rinciple of tne U.S.

Health Disp in theuse of
Cell Transplants for HIV-related L

of, among other statutes: 42 U.S. .C. $8 2BA(_HS DYN), 292(h), ZB2MKIHBNEY). 2830 (b}{2},
383 . 2851, 2851-1 (ab), 288(a)(4}, and/or289a-2.

302

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Training in

See REASONS FOR EVERY GRANT. tn addition, the Directives and teminations are also in excess of statutory
Jauthority and contrary to statute—and also fthe U.S.
Consthuton—because of, among other 42U,S.C. 59 282{h), 2830 (O}(2}, 285t-1(aXb), and/or 288{aji4)

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See REASONS FOR EVERY GRANT. [n addition, the Directives and termliations are also In excess of statutory

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HIV-related outcames among sexial minority men in the
Unked States and Canada

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GSH Training Grant

and contrary to statuto—and also f-p fincipte of the U.S,
Consttution—because of, among other statutes: 42 U.S.C. §& 282(0H8NDNG, 292(m}2}(BKE), 2B3p, 285t, and/or
2698-2.

TSee REASONS FOR EVERY GRANT. (n addition, the Directives and terminations are also In excess of statutory

asthorky and cantrary to statuto—and also violate ipte of the U.S.
ft, among other 42U.S.C. 88 282(b}(8XDXH}, 282(h), 28.2(mK2)(BXBi), 2830 2),

2030, 285t, 285t-1(aHb), 288(a4), and/or 2893-2.

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U-RISE Training the Next Generation of Basic Blomedical
Researchers a Holistic Approach

See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory
authorty and contrary to statute—and also fp rincipte of the U.S.

Constitution—because of, among other statutes: 42 U. S.C. 38 282th), 2830 (b 12) 285t-1{a)(b), and/or 288{ay{4),

306

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Soctal Determinants of HIV

307

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See REASONS FOR EVERY GRANT, tn addition, the Directives and tem nations are also In excess of statutory
authorty and contrary to statute—and also viol tthe .s.

Constitution—because of, among other statutes: 42 U.S.C. $8 282th), 2830 (b)(2), 285t-1 {a}(b), and/or 288{aX4).

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See REASONS FOR EVEAY GRANT. [n addition, the Directives and terminations arealso in excess of statutory
authomty and contrary to statute—and aiso pleotthov.s.

of, among other 42U,S.C. 88 2a2{b}{SYON, 282(h), 282(mK2NBKG), 2830 (0)(2},
soa, 2851, 285t- -1 (ad), 288(a}{4). and/or 289a-2.

308

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See REASONS FOR EVERY GRANT. [n addition, the Directives and teminations are also in excess of statutory

and contrary to statute—and also tthel.s.

1 dinal Data to DI gi Bh
of Social Media and Mental Health

Effects

cc f, among other 420,58. c. 8 282(0 (HOME, 282 (m)2KB)(9), 283p, 285t, and/or
2892-2.

309

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authorky and contrary to statuto—and also vielate ip ipleottho U.S,
Consthution—because of, among other statutes: 42 U.S.C, $8 282{h), 2630 | yz) 285t-1(aXb), and/or 288{ayx4).
‘See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authony and contrary ta statuto—and also violate fthol.s.

Memory Development

of, among other 42U.S.C. 88 282(b}{8 DYN, 282(h}, 282{mN2NGNEN, 2830 (0y12),

203p, 285t, 285t-4(a}{b), 288(a}(4), and/or 289-2.

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See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory

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lism perturbation

y and contrary to statut d aiso violate th incl tthel.s,

ci Hecause of, among other stetutes: 42 U.S. .C. 55 2682{h) 2830 (b}(2}, 285t-1 (a)(b), and/or 288{ay4).

312

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meiosis

See REASONS FOR EVERY GRANT. tn addition, the Directves and terminations arpalso in excess of statutory
authority and contrary to statute—and also viol tthe U.S.

Consthutlon. of, among other si 2 42 U.S.C. $8 262{h), 2830 (bY 2). 285t-1(a)(b), endfor 288{ay4).

313

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See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory

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and contrary to statute—and also violate th: tthe Us.
Consthution—because of, smong other statutes: 42 U. SA C. 58 282{h), 2830 (bH2), 285t-1(ay{b), andfor 288(aX4).
See REASONS FOR EVERY GRANT, In addition, the Dircettves and terminations are also in excess of statutory
authority and oorae, a also violate pleat the U.S.

C goth 42.5.0. 85 282{018}(0)f), 282(h), 282(m)2HBNED, 2830 (bH2),

tniked Homeotic Hotspot

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283p, 2861, Zest) '288{0N4), and/or 2882-2.

Research Training tn Bi Ok

Sce REASONS FOR EVERY GRANT. In addition, the Directives and terminations am atso In excess of statutory

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and contrary to statute—and also violate ftheu. 5.

Constitution —becausa of, among other statutes: 42 U.S.C. 55 202(h), 2830 (b){2), 265t-1(a}{b), and/or 288(a)(4).

316

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Contextual Beterminants of Sexual Minority Health in the

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
authority and contrary to statute—and also viotate th tthe U.S.

United States

cs of, among other 425.0. 55 282(0NS (ONE, 282(m2HB{il), 283p, 286k, and/or
2893-2.

317

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‘Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations aso also [In micess of statutory
authartly and contrary to statute—and also f the U.S.

Randomized Controlled Trl of Dyadic Financiat Incentive
Treatment for Dual Smoker Couples: of
EI Mechanisms, and Cost Effectveness

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Cc f, among other 42 U.S. c. &5 28200NS OW, 282(m)(2KBHE, 283p, 285t, and/or
2098-2.

See REASONS FOR EVERY GRANT. (n addition, the Directives end terminations aro also In excess of statutory

and contrary to statute—and also violate i-powers fthe.s.

Constkution—because of, among other statutes: 42 U.S.C. 85 282{h). 2830 (b){2), 285t-1{a}ib), and/or 286(a4).

319

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ALIVE: Development and feasiittty of

See REASONS FOR EVERY GRANT. [n addhion, the Directives and terminations are also In excess of statutory
authory ant contrary to statute—and also violate tthe U.S.

320

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f, among other statutes: 42 U.S.C. 38 282{b){8HDHM, 262(m\(2XB}i}, 263p, 285, and/or

forsexual and gender minonty autistic adults s0002
TSce REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory

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Frugal Science Academy: Training K-12 and
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321

{Spatiotemporal effects and associations between

of, among other 42.US.C, 88 282(b{SNDMI), 282¢h}, 282{my2KBKE, 2830 (2),
283p, 286t, 2BSt- (a}{b), 288(a}{4), and/or289a-2.

See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
authority and contrary to statute—and aiso violate the separation-of-powers principle of the U.S.

tation end alcohol and tobacco use in Indonesta

Constitution—because of, among other statutes: 42 U.S.C. 8 282(h), 2830 {b}2). 285t-1 {ay{b), and/or 288(ay4).

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See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
A mbed-methads app to and contrary to statute—and also violate the f-powers thes.
depression, suicide risks, and atcohol and other druguse |C f, among other 42. U.S.C. $8 282 (BHD HE}, 262¢mH2KENB}, 283p, 285t, and/or
322 L604A031839 among seme-sextemale couples 2893-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Mutltitevel strategles to understand and modify tha rola of and contrary to statute—and alsa violate the separation-of-powers principle of the U.S.
structural and enviranmental context an HIV 4 ties for |C of, among other 2 AZ U.S.C. $3282 (b)(8){DHil), 282(m)}[2 (8), 23p, 2851, and/or
323 UH3AI169655-03 sexual and gender minorties of cotar 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations ase aiso in excess of statutory
impactot racism and ¥ and contrary to statute—and also violate the fp ipte of the U.S.
during use, c Vf, ig 42. U.S.C. 58 282{oKB)(O\a), 282(mK2KBKE), 263p, 285t, and/or
324 RO1DA05626403 [psychological distress 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
and contrary to statute—and also violate tt tthe U.S.
Hamessing the power of peer navigation and mHealthto = |C + f, among other 42U.S.C, 58 282{6K6 KOEN, 282{m){2}(BYGl), 283p, 285t, and/or
325 RO1NRO19912.03 reduce health disparties In Appatachia eee.
See REASONS FOR EVERY GRANT. In addition, the Directives and term Inations are also in excess of statutory
How sp fi h other's health in same- and and contrary to statute—and also vk WtheU.s.
diferent: A and dyadic Ci f, among other 42U,S.C. 88 2e2(bKeNONa, 242(m}{2XBXE), 2683p, 285t, and/or
326 R37AG076057 Jassessment from mid to later tife 2893-2.
See REASONS FOR EVERY GRANT. In addkion, the Directives and terminations are also in excess of statutory
and contrary to statute=and also f-p s principle of the U.S.
a27 T32GM141862 G-RISE at UC Merced Constiution—because of, among other statutes: 42 U.S. C. 54 282{h), 2830 (b}(2}, 285t-1 faj(b), and/or 288(a)(4).
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also In excess of statutory
fand contrary ta statute—and also violate ofthev.S,
impact of Biomass Burning Aerosol and Humictike f, among other 2 42 U.S.C. $4 262(b}(8XDNE, 282(h), 282(mK2XBXH), 2830 (bH2},
328 5KS9ES034819-02 Substances an tron Homeostasis and Atherosclerosis 2039. 285t, 285t-1 (ab), 288(a)(4}, and/or 289a-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
Training in Schtzophrenis and Psy ss From | authority and contrary to statute=and also violate the sep S-HOWEIS fi oftheu.s.
329 T32MHO18870 Antmal Models to Patients cs because of, among other statutes: 42 U.S.C. 88 282(h), 2830 (b}{2), 285t-1(a)(b), and/or 2BB{ayi4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Cc D of Vi and and contrary to statute—and also violate p t-p fi fthe U.S.
Satety Disparities Among Sexual and Gender Diverse c of, among 42 U.S.C. 98 282(bHayOKE, 282(h), 282(m)(2KBKE). 2830 (D2),
330 1F731MD019985-01 F 283p, 285t, 285¢-1 {ab}, 288(aN4), and/or 2894-2.
See REASONS FOR EVERY GRANT. In addition, the Directlves and terminations are also in excess of statutory
Processing of visual information by spatial memory authorty and contrary to statute—and also violate th ple of the U.S,
331 SKISEYO34700 cheults in the avian brain Constttution—hecause of, amang other statutes: 42 U.S.C. $6 202(h), 2830 (){2), 285-4 (a)(b), and/or 288(a}(4}.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
‘Testing the effect of ant-tobacco message framing an and contrary to statute—and also violate th powers ple of the U.S.
Ppotytobacco use in lesbian, gay, bisexual, and c sth f, among other 42U.S.C. 85 282(0NS HOV, 282{m}(24B)\E), 283p, 285t, and/or
332 SROOCA260718-04 trensgenderyoung adult adults 2892-2.
E to Address Low See REASONS FOR EVERY GRANT. tn sddition, the Directives and teminations are also In excess of statutory
Adhevence to Lung Cancer Screening Fottow-up in authorky and contrary to statute—~and also violate tthe U.S.
333 1R01Ci Settings Constiution—because of, among other statutes: 42 U.S.C. 8528 2th) 2830 (b)2}, 285t-1 {a)(b), and/or 286{ahi4).
Englincering Satutions tor Better Health: Genetic See REASONS FOR EVERY GRANT. In addition, the Directives and teminations ara also in excess of statutory
T gy and Bh gi tor d y and contrary to statute—and atsa violate the pleat thes.
334 §R25GM142087-04 Classrooms c ft, among other statutes: 42 U.S.C, 89 282(n), 2830 b}2), 2851-1 {ano}, and/or 2a8(a}i4).
The Biology of Climate Change: impacts on Human
338 1R25GM154387-01 Health and the Sctence of Sotutions See REASONS FOR EVERY GRANT.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
and contrary to statute—and also violate the tincipte of the U.S.
336 T34GM149493 U-Rise at Cal State Fulteston Consttution—decause of, among athes statutes: 42 U.S.C. 5$ 202(h), 2830 {oy{2). 285t-1(aXb), sndfor268(a)4}.
See REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also in excess of statutory
authomy and contrary to statute—and also violate ip rincipte of the U.S.
337 SK99N5129759-02 Investigating Descending Control of Walking Hecause of, among otter statutes: 42 U.S.C. 59 282m), 2830 (b}(2), 285t-1(a}{b), and/or 288(a}(4).
See REASONS FOR EVERY GRANT. {n addition, the Directives and terminations are also In excess of statutory
The TAIL-PreP Study: Acceptabillty and Feasibitty of a my and contrary to statute~and also vialat Fp rin ithe U.S.
Tallored A forsete it b 1, amongother 42U.S.C. 88 282(bH8{D)o, 282(m\(2HBHUH), 283p, 205t, and/or
a8 R21MH133755.01 of Long-acting PrEP 2892-2.
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statute—and also violate ple ofthe U.S.
P: forthe, of Cancer f, among 42U,S.C. 86 282(DH8)ONN, 282(mX2)8}(5), 283p, 285t, andfor
339 §U54CA132381-18 NMSU & Fred Huteh 70902,
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Sridges to the Doctorate Research Training Program at authority and contrary te statute—and also violate th oftheU.S,
340 |5132GM138075-04 Calltomia State University Long Beach Constitution—because af, among other statutes: 42 U.S.C. $8.202%n), 2830 }{2), 2e5t-4 (aj{d). and/or 288(a}(4).
See REASONS FOR EVERY GRANT. tn addition, the Directlves and terminations are also in excess of statutory
authority and contrary to slatute—and also violate th th The U.S.
42U.S.C. 58 282(0N8 D)(F), 282(h}, 262(mH2KBHE), 2830 (b}{2),
341 T32ES007142 Graduate Training in Blestatistics nean 285t, 285t- fax), 258{aK4) and/or269a-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations aro also In excess of statutory
A Gender-Affining Stigma to and contrary to statute—and also violate th F the U.S.
Substance Misuse and HIV Risk among Cc if, is 428.0, 8§ 2a2(b\e}(D¥, 282(m}(2}(B)(ti), 2683p, 285t, and/or
342 4R00DA955508-03 Women 2898-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso in excess of statutory
of from and contrary to statute—and atso violate the fp ithe U.S.
343 F99NS129176-02 optolds in the peraventricularnuteus of the thatamus Consthution—because of, emong other statutes: 42 U.S.C. $8 282 1h). 2830 ( (b}2), 285t-1 (ay), and/or 288(ayi4).
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
authartty and contrary to statute—and also viotate the separation-of-powers principte of the U.S.
344 1K9900021727-01 Neuroplasticity and early cochlearimplant use Constitution—because of, among other statutes: 42 U.S.C. §8 282(h), 2830 (b)(2). 285t-1(aytb), and/or268(ay{s}.

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See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
y and contrary to statute—end atso violate the sep f- ftheU.s.
348 1F99NS139546-01 Neuro-Evolutionary Basis of Vertebrate Social Constrution—because of, among other statutes: 42 U.S.C. $$ 282th), 2830 (o)(2}, 285t-1 {aNd}, and/or 256{a}4).
See REASONS FOR EVERY GRANT. In addition, the Dkectives and terminations are also in excess of statutosy
The Role of the Fructose-1 G-BE 2ande-Myc and contrary to statute—and atso violate the fp ftheu.s.
346 SF31CA275157 in Progression Constkution—becauso of, among other statutes: 42 U.S.C. $$ 282th), 2830/ bH2), 265t-1 (a}{b}, and/or 288(ali4).
Sea REASONS FOR EVERY GRANT. In addition, the Directives and terminations are atso in excess of statutory
and contrary to statute—and also violate the separation-of-powers principle of the U.S.
Native Spit: © use f, among other statutes: 42 U.S.C. §$ 282(b)(8DOHA), 262(h), 282(mH2KBKE), 2830 (oH2),
347 ROODA056842 [prevention forindigenous adolescents 2839, 28St. 285t-t (ayo), 288(2}(4), and/or 2892-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
8 as a Multi P and contrary to statuto—and also violate the separation-of-powers principle of the U.S.
Factor forT der Health Consthuth f, among other 42U.S.C, 68 282(b}{8){DKI), 262(mY2KE)G), 283p, 29St, and/or
348 5RO1MD018051-03 Development and Longitudinal Evaluation of Resih 2892-2.
Hitting Close to Home: A Mutt-Method Investigation of See REASONS FOR EVERY GAANT. In addttlon, th and are atso In excess of
Neighborhood Characteristics and Drinking Motves on and contrary to statute—and also violate the lon-of-p tthe U.S.
349 5F31AA030907-02 Alcehol-Related Health Disparities Constiuton—because ot, among other statutes: 42 U.S.C. 53 2e2th}, 2890 {b)(2), 285t-1 (ab), and/or 288(a){4).
See REASONS FOR EVERY GRANT. In addkton, the Directives and terminations are also in excess of statutory
Meet Me on the Pitch: Developing and testing a and contrary te statut id also violate the sep f-powers teofthe U.S,
ty-based sports and health Constituth {, among other 42U.8.0. 98 2e2(0 OHO}, 282(m){2KB)(l). 2863p, 28St, and/or
350 VO1NRO21576 intervention for ryouth 2893-2.
See REASONS FOR EVERY GRANT. In addition, the DI and are also tn excess of
Distributed neurat activity pattems ying practic y and contrary to statute—and also f-p tthe U.$.
351 KS9/RODKSSMH127471 [based leaming ¢ because of, among other statutes: 42 U.S. ©. $9 282th) ), 2830 (b}(2), 285t-1(a){b), and/or 288(a}{4).
See REASONS FOR EVERY GRANT. tn addition, the Diectves and terminations are also In excess of statutory
Sex, Physiclogical State, and Genetic ity and contrary to statut d also vk f-power pleofthe U.S.
t of c f, among other 42.U.S.C. 89 282(b}(8)(0)t5), 282(h), 282(mHZ)(BNE), 2830 (b)(2),
352 5K99HD108601-02 CircuttsGoverning Parental Behavior 283p, 285t, 285t-1(ayh), 288(a}{4}, and/or 289a-2.
See REASONS FOR EVERY GRANT. In addition, the DirectNves and terminations are also in excess of statutory
and contrary to statute—and also vk rincipte of the U.S,
The basis of Avirus strain ft, among other statutes: 42 U.S.C. §8 282(bH8)DXH, 2820), 282(mH2KBXE), 2830 (bY2},
353 SRO1A1179873-02 feassortment potential 2830, 285t, 285t-1 (ab), 288(a}(4), and/or 2890-2.
See REASONS FOR EVERY GRANT. tn addition, the Directives and terminations are also in excess of statutory
and contrary ta statute—and also violate th htheU.S.
354 8T34GM149492.02 U-RISE at Cal Poly Consthution—because of, among other statutes: 42 U.: $A C. 35 282th), 2830 (b}(2), 285t-1(a)(b). and/or 268(aX4).
See REASONS FOR EVERY GRANT. tn addition, the Di and i are also in if
authorty and contrary to statuto—and also vielate the scp f-p fthe U.S.
356 '3R010%133453-0251 Levi early-tife microbes to preventtype I diabetes | Consthution—because of, among other statutes: 42 U.S.C. $$ 282(h), 2830 (bY2), 285t-1(a}(b), and/or 26B(aX4).
See REASONS FOR EVERY GRANT. [n addition, the Directives and terminations are also in excess of statutory
authorty and contrary to statute—and also violate th fp leaf the U.S.
gand Cancer-Related Health Disparities among [Co of, amongother 42U.S.C. 88 282(bHENDKO, 282(my2}{B)(1d}, 283p, 2B5t, and/or
356 5RO1CA276500-02 Sexual and Gender Minority Adults 2892-2.
Se REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in excess of statutory
Addressing System-tevel Bamiers to COPD Guideline authorty and contrary to statule—and also violate the ion-ot-powers pri ft the U.S,
357 3R01HL161049-03S1 Concordant Care Consthution—because of, among other statutes: 42 U.S.C. $8 282{h), 2630 (b{2), 285t-1 (a}(b), and/or 286{a)(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and teminations are also In excess of statutory
The Rote of Post-Translational Modifications In Bacterial | authority and contrary to statute—end also violate th i plaoftheU.S.
353 1F31GM154412-01 Responses to Methylgtyoxal Consttution—becausa af, among other statutes: 42 U.S.C. 55 §262{h), 2830  (b){2), 2851-1(a}{b), and/or 288(a)(4).
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
authority and contrary to statut id also violate th ifthe U.S.
Et gthep videlmpactofsexand gender {€ f, among other 42,5. .C, §8 202(0NEKDME, 282(m)(2 8H), 283p, 2B5t, and/or
359 SRO1HGO11405-04 jon disease 2898-2.
A arven 1S hfortdenttying  |See REASONS FOR EVERY GRANT. In addition, the Disectives énd terminations ars also In ecess of statutory
icommunity & poticy-level interventions to address the authority and contrary to statute—and also violate th f-powers tthe U.S.
Impact of racism and on Ce ft, among otter 42 U.S.C. 48 282(bNSHOME, 282{m}2)KBNii), 283p, 285¢, end/or
360 fho1MD019763-01 Jacotescent use and mentat health 2892-2.
See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also In excess of statutory
Lang-term and Daly A dations among | y and contrary to statute—and alse violate th FtheU.s.
Minartty Stress, Structural Oppression, and AlcoholUse |Consttution—because of, among other statutes: 42 U.S. C. gs 2e2ONS}OND, 282(m}(2XBXE), 283p, 285t, and/or
361 5R01AA029989-04 Jand Misuse among Sexual Minorty Adolescents of Cotor_1269a-2.
See REASONS FOR EVERY GAANT. In addition, the Directives ts0 ft statutory authority and
Adh le heatth and data J also violate the of ef the LLS, ¢ be: ot,
362 §132ES007322-23 i! mo topoputations statutes: 42 U.S.C, $§262(h), 2630(b}(2}, 285t-1(a}(b), and/or 2B8{a){4}.
Sea REASONS FOR EVERY GRANT. In addition, the Directives and temminatlons are also in excess of statutory
authory end contrary to statute—and also violate the ip the U.S.
Family c f, among ather 42U.S.C. 55 282(0NSHDNA, 282{(h), 282{(m\2KBH), 2830 {b}{2).
363 1R0100021839-01 [among ¢eat and hard of earn chksten 283p, 2651, 285t-1(a}(b), 268(a)(4), and/or 2890-2.
Seo REASONS FOR EVERY GRANT. (n addition, tha Directives and terminations wealso in excess of statutory
authorty end contrary to statute—and also violate the rinciple af the U.S.
364 1P50MH129708-07At UW Practke-based Suicide F Center Constitution—becau f among otherstatutes: 422 U.S.C. §$ 2891h), 2830 [ (bX2), 285t-1{a)(b}, and/or 288(aX4).

See REASONS FOR EVERY GRANT. In addition, tha Directives and terminations are also in excess of statutory
jauthortty and contrary to statute—and atso violate the separatlon-of-powers principle of the U.S.

The Rote of Racism on DI in Clinkcat Ci f, among other 42U.5.C. 58 282(b}{8)(DKI), 262(m}{2)(B}(t}, 283p, 265t, and/or
365 3RO1DK135838-02 Ox tor Diabetes: A Mbed Methods Study 2890-2.

See REASONS FGA EVERY GRANT. In addition, tho Directives and terminations are also in excess of statutory
authority and contrary to statute—and also viotate tha separation-of-powers principte of the U.S.

Training tor Scientists Ci to Reduce c f, among other $2.U,S.C, 68 282(bBND)(i), 2B2imh2HBMH), 23p, 285t. and/or
386 R25MHOG7127 HIV/AIDS Health Olsparitles 2898-2.

Integration of stepped care for Perinatal Mood end Anxiety
367 6RO1MH133266-02 Disorders among Women Living with HIV in Kenya See REASONS FOR EVERY GRANT.

